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                 EXHIBIT 5
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                     IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF NEW JERSEY

         IN RE JOHNSON & JOHNSON              §
         TALCUM POWDER PRODUCTS               § MDL NO.:
         MARKETING, SALES                     §
         PRACTICES, AND PRODUCTS              § 16-2738(MAS)(RLS)
         LIABILITY LITIGATION                 §




                *******************************************

                   REMOTE VIDEOCONFERENCED DEPOSITION OF

                        LAURA MASSEY PLUNKETT, PH.D.
    1                           DECEMBER 21, 2023
    1           *******************************************
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    2    Job No. 348854


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                                                             Page 2                                                   Page 4
    1      REMOTE VIDEOCONFERENCED DEPOSITION OF LAURA                 1
                                                                                           INDEX
    2 MASSEY PLUNKETT, PH.D., produced as a witness at the             2
                                                                                                          PAGE
    3 instance of the Defendants, and remotely duly sworn              3
                                                                         Appearances                             3
    4 by agreement of all counsel, was taken in the above-             4
                                                                         Request for Production                      52
    5 styled and numbered cause on December 21, 2023, from             5
                                                                         Request for Production                      53
    6 9:03 a.m. to 1:40 p.m., before Karen L. D. Schoeve,              6
                                                                         Request for Production                      56
    7 RDR, CRR, RSA, reported remotely by computerized                 7
                                                                         Request for Production                      56
    8 machine shorthand, pursuant to the Federal Rules of              8
    9 Civil Procedure and the provisions stated on the                 9
   10 record or attached hereto.                                      10
                                                                           LAURA MASSEY PLUNKETT, Ph.D.
   11                                                                 11
                                                                             Examination By Mr. Hegarty                    9
   12                                                                 12
   13      REPORTER'S NOTE: Please note that due to the               13
   14 quality of a Zoom videoconference and transmission              14
                                                                           Changes and Signature                     200
   15 of data, overspeaking can cause audio distortion                15
   16 which disrupts the process of preparing a                       16
                                                                           Certified Stenographic
   17 videoconference transcript.                                     17
                                                                           Court Reporter's Certificate              202
   18                                                                 18
   19      Quotation marks are used for clarity and do                19
   20 not necessarily reflect a direct quote.                         20
   21                                                                 21
   22                                                                 22
   23                                                                 23
   24                                                                 24
   25                                                                 25
                                                             Page 3                                                   Page 5
    1             APPEARANCES                                          1                  EXHIBIT INDEX
    2    **********************************************                2
    3        ALL PARTIES APPEARED REMOTELY VIA ZOOM                    3 NO.   DESCRIPTION                      PAGE
    4    **********************************************                4 Exhibit 1                        38
                                                                           Document titled "List of Testimony for
    5 FOR THE PLAINTIFFS and THE WITNESS:                              5   Dr. Laura M. Plunkett, Ph.D, DABT"
                                                                           (7 pages)
    6     TED G. MEADOWS, ESQUIRE                                      6
          LEIGH O'DELL, ESQUIRE
    7     RYAN BEATTIE, ESQUIRE                                        7 Exhibit 2                      48
                                                                           Curriculum Vitae of Laura M. Plunkett,
          BEASLEY ALLEN, P.C.                                                 Ph.D., D.A.B.T.
    8     218 Commerce Street                                          8      (17 pages)
          Montgomery, Alabama 36104
    9     T: 800 898.2034                                              9
          F: 888.212.9702
   10     ted.meadows@beasleyallen.com                                10 Exhibit 3                      68
                                                                           Document titled "Materials Considered
          leigh.odell@beasleyallen.com                                        and/or relied on"
   11     ryan.beattie@beasleyallen.com                               11      (109 pages)
   12 FOR THE PLAINTIFFS:                                             12
   13     CHRISTOPHER V. TISI, ESQUIRE                                13 Exhibit 4
                                                                           Invoices to Beasley Allen, P.C.
                                                                                                          70
          LEVIN PAPANTONIO RAFFERTY                                           (6 pages)
   14     316 South Baylen Street                                     14
          Pensacola, Florida 32502
   15     T: 850.435.7000                                             15 Exhibit 5                          71
          F: 850.435.7000                                                     Second Amended Expert Report of Laura
   16     ctisi@levinlaw.com                                          16      M. Plunkett, Ph.D., D.A.B.T., dated
   17 FOR THE DEFENDANTS:                                             17      11/15/23
                                                                              (110 pages)
   18     MARK C. HEGARTY, ESQUIRE                                    18
          SHOOK, HARDY & BACON L.L.P.
   19     2555 Grand Boulevard                                        19 Exhibit 6                        159
                                                                           Federal Register, dated 05/06/22
          Kansas City, Missouri 64108                                         (22 pages)
   20     T: 816.474.6550                                             20
          F: 816.421.5547
   21     mhegarty@shb.com                                            21 Exhibit 7                            159
   22 ALSO PRESENT:                                                   22      Johnson & Johnson press release titled
                                                                              "Johnson & Johnson Consumer Health to
   23     Katie Tucker, Paralegal                                     23      Transition Global Baby Powder
           Beasley Allen, P.C.
                                                                              Portfolio to Cornstarch," dated
   24                                                                 24      08/11/22
        CERTIFIED STENOGRAPHIC COURT REPORTER:
                                                                              (1 page)
   25     Karen L. D. Schoeve, CRR, RDR, RSA                          25




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    1                                                1
      Exhibit 8                          159           Exhibit 23                        163
    2   Johnson & Johnson press release titled       2   Document titled "Appendix C"
        "Johnson & Johnson Consumer Health               (11 pages)
    3   Announces Discontinuation of                 3
        Talc-based Johnson's Baby Powder in
    4   U.S. and Canada," dated 05/19/20             4 Exhibit 24                        163
        (1 page)                                         Invoices to Beasley Allen, P.C.
    5                                                5   (3 pages)
      Exhibit 9                          160
    6   Medical literature titled "Effects of        6
        risk factors for ovarian cancer in             Exhibit 25                        163
    7   women    with and  without  endometriosis,"  7   Curriculum Vitae of Laura M. Plunkett,
        dated 01/11/22                                   Ph.D., D.A.B.T.
    8   (16 pages)                                   8   (17 pages)
    9 Exhibit 10                          160        9
        Medical literature titled "Genital             Exhibit 26                        164
   10   Powder Use and Risk of Epithelial           10   Excerpts of depositions of Laura M.
        Ovarian Cancer in the Ovarian Cancer             Plunkett, Ph.D.
   11   in Women of African Ancestry                11   (11 pages)
        Consortium," dated 2021
   12   (9 pages)                                   12
                                                       Exhibit 27                        164
   13 Exhibit 11                          160       13   Notice of Oral Deposition of Laura M.
        Medical literature titled                        Plunkett, Ph.D. and Duces Tecum, dated
   14   "Transcriptomic and epigenomic effects 14        12/13/23
        of insoluble particles on J774                   (9 pages)
   15   macrophages,"    dated 07/17/20             15
        (18 pages)
   16                                               16
      Exhibit 12                          160
   17   Medical literature titled "Talc, body
        powder, and ovarian cancer: A summary 17
   18   of the epidemiologic evidence," dated       18
        04/11/21
   19   (10 pages)                                  19
   20 Exhibit 13                          161       20
        FDA Compliance Policy for Cosmetic
   21   Product Facility Registration and           21
        Cosmetic Product Listing, dated 11/23
   22   (5 pages)                                   22
   23 Exhibit 14                          161       23
        Medical literature titled "Johnson &
   24   Johnson   "regrets" 1971  study that        24
        injected asbestos into US prisoners"
   25   dated 03/15/22                              25
        (1 page)
                                               Page 7                                             Page 9
    1                                              1             PROCEEDINGS
      Exhibit 15                          161
    2   Medical literature titled "A critical      2           THE COURT REPORTER: Today is
        review of talc and ovarian cancer"
    3   (31 pages)                                 3 December 21st, 2023. The time is 9:03 a.m.
    4 Exhibit 16                          161      4           If the attorneys could please
        Medical literature titled "Systemic
    5   review   of the association between  talc  5 introduce themselves for the record and the parties
        and female reproductive tract
    6   cancers," dated 02/03/23 (16 pages)        6 on Zoom, then I'll swear in the witness.
    7 Exhibit 17                          161      7           MR. MEADOWS: Ted Meadows on behalf of
        Medical literature titled "Talc powder
    8   and ovarian cancer: What is the            8 MDL plaintiffs and with Dr. Laura Plunkett.
        evidence?" (3 pages)
    9                                              9           MR. TISI: Chris Tisi on behalf of MDL
      Exhibit 18                          162
   10   Medical literature titled "Talcum         10 plaintiffs.
        powder induces malignant
   11   transformation in normal human primary 11              MR. BEATTIE: Ryan Beattie on behalf
        ovarian epithelial cells," dated 04/23
   12   (8 pages)                                 12 of MDL plaintiffs.
   13 Exhibit 19                          162     13           MS. O'DELL: Leigh O'Dell on behalf of
        Medical literature titled "Insights
   14   into the Role of Oxidative Stress in      14 the MDL plaintiffs.
        Ovarian Cancer," dated 05/08/21
   15   (20 pages)                                15           MR. HEGARTY: Mark Hegarty on behalf
   16 Exhibit 20                          162     16 of the Johnson & Johnson defendants.
        Medical literature titled "Association
   17   of Powder Use in the General Area With 17            LAURA MASSEY PLUNKETT, PH.D.,
        Risk of Ovarian Cancer"
   18   (18 pages)                                18 having been first duly sworn to tell the truth, the
   19 Exhibit 21                          162     19 whole truth, and nothing but the truth, so help her
        Medical literature titled "Association
   20   Between    the Frequent  Use of Perineal  20 God, testified as follows:
        Talcum Powder Products and Ovarian
   21   Cancer: A Systematic Review and           21                EXAMINATION
        Meta-analysis," dated 02/02/22
   22   (16  pages)                               22 BY MR. HEGARTY:
   23 Exhibit 22                          163
        Second Amended Expert Report of Laura 23 Q. Good morning, Dr. Plunkett.
   24   M.  Plunkett,  Ph.D., D.A.B.T.,  dated    24     A. Good morning.
        11/15/23
   25   (111 pages)                               25     Q. Would you please start by telling us your


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    1 name.                                                   1            I have a copy of my revised CV, my new
    2     A. Laura Massey Plunkett.                           2 CV, and I have a copy of the new articles,
    3     Q. Again, good morning. My name is Mark             3 scientific articles, that I identified that are
    4 Hegarty. I think you know that. I represent the         4 cited in the second amended report that weren't
    5 Johnson & Johnson defendants. We're here today to       5 cited in my report from June of 2021.
    6 take your deposition in the NRA Johnson & Johnson       6            And I also have a copy of some
    7 talcum powder products' MDL action. You and I have      7 articles that were listed in my Appendix C reliance
    8 been together for depositions before on several         8 list. I also have that with me, the new one from
    9 occasions.                                              9 the second amended report as well. So things that
   10          Do you recall that?                           10 were not listed in the Appendix C from the June 2021
   11     A. I do.                                           11 report.
   12     Q. We're here today to discuss the amendments      12     Q. As far as the articles, approximately how
   13 to your prior MDL report from June 2021 as set out     13 many articles do you have with you?
   14 in your November 15th, 2023, second amended MDL        14     A. There's seven articles that are cited in
   15 report.                                                15 the second amended report that were not cited in the
   16          Do you understand that?                       16 August 2021 report that are also listed in -- you
   17     A. Yes, I do.                                      17 know, I have a reliance list for cited references,
   18     Q. Related, we're here today to determine if       18 those seven.
   19 any of your opinions have changed or are new and/or    19            And then I have, in addition to that,
   20 if you intend to refer to any additional literature    20 nine documents. They're not all published articles,
   21 or materials that were not identified as of when you   21 but there's nine additional documents that are --
   22 were last deposed and testified in your MDL            22 were cited in the Appendix C from the second amended
   23 deposition back in August of 2021.                     23 report that I also copied and brought.
   24          Do you understand that?                       24     Q. Okay. As far as the seven articles go,
   25     A. Yes, I do.                                      25 can you read for me the first author's last name and
                                                   Page 11                                                   Page 13
    1     Q. So are you prepared today to discuss the       1 the date of publication?
    2 latest amendments to your MDL report and -- as well 2       A. Yes, I can. Do you want me to start?
    3 as any changed or new opinions and to identify any    3     Q. Please.
    4 additional literature or materials as support for     4     A. There's Harper -- Amy K. Harper, et al.,
    5 your opinions that were not identified as of your     5 2023.
    6 last deposition?                                      6           There's Emi, E-m-i, initial T, et al.,
    7     A. I am.                                          7 2021.
    8     Q. Where are you testifying from today?           8           There's an article by Ding, D-i-n-g,
    9     A. I'm in Houston, Texas, at a conference         9 initials D. N., et al., from 2021.
   10 room at a hotel, the JW Marriott, in the Galleria    10           There's an article by O'Brien, K. D.
   11 area, Houston, Texas.                                11 M., from 2020 in JAMA.
   12     Q. Is anyone with you in the room?               12           There's an article by first author
   13     A. Yes.                                          13 Woolen, S., as in "Sam," A. initials, from 202- --
   14     Q. Who is with you?                              14 published 2022.
   15     A. Mr. Meadows, who's already introduced         15           And there's an article Davis, C. P.,
   16 himself; Mr. Beattie; Mr. Tisi; and Ms. Tucker.      16 the initials, et al., from 2021.
   17     Q. Did you bring any materials with you to       17           And finally, an article; last name
   18 the deposition; that is, do you have copies of any   18 Phung, P-h-u-n-g, initials M. T., et al., from 2022.
   19 materials or documents with you?                     19     Q. Can you do the same for me with regard to
   20     A. Yes, some.                                    20 the nine articles that are not specifically called
   21     Q. What do you have with you today?              21 out in the body of your report that are -- but that
   22     A. I have a copy of my second amended expert 22 are on your "Materials Considered" list?
   23 report. I have a copy of my bills. I have a copy     23     A. Sure.
   24 of the CV, the bills that we sent to you, the new -- 24     Q. Whatever shorthand way is best to identify
   25 the additional billing.                              25 them.




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    1     A. Okay. So I -- and actually, these --             1     A. No.
    2 these two -- first two are actually footnotes with      2     Q. As we've been discussing, you have been
    3 links in my report.                                     3 deposed prior to today in the MDL.
    4          There's two printouts of press                 4           And do you recall that the last
    5 releases from the Johnson & Johnson website. One is     5 deposition was back in August of 2021?
    6 dated May 19th, 2020, and one is a media statement      6     A. I do.
    7 dated August 11, 2022. And they were cited through      7     Q. Now, did you go back and review your
    8 a footnote in my report, but they're also in            8 testimony from -- I'm sorry.
    9 Appendix C.                                             9           MR. MEADOWS: Just for clarity's sake
   10          There's an article by Wentzensen,             10 for the record, and I -- I think I understand what
   11 W-e-n-t-z-e-n-s-e-n, and O'Brien from 2021.            11 you're saying when you keep referring to the last
   12          There's the -- also, there was a link         12 MDL deposition. But there has been testimony given
   13 to the FDA document called "Compliance Policy for      13 since then, both in court and in depositions, as
   14 Cosmetic Product Facility Registration and Cosmetic    14 recently as just a few weeks ago in this very same
   15 Product Listing, Guidance for Industry," November      15 hotel to J&J, at the request of J&J.
   16 2023. It's five pages. I printed that.                 16           The last deposition was in Mississippi
   17          I cited to, I think, a link to the EPA        17 AG case. So I'm sure you're aware of that. But I
   18 Federal Register Notice from May 6th, 2022, for a      18 just, for clarity's sake on the record, I just
   19 proposed rule related to asbestos, and I printed       19 wanted to make sure that -- so we're clear on that.
   20 that.                                                  20           MR. HEGARTY: And I was very, very
   21          There's an article by Dyer, D-y-e-r,          21 specific as to the MDL deposition in August 2021.
   22 Owen, from BMJ from 2022.                              22 BY MR. HEGARTY:
   23          There's an article -- the first author        23     Q. Did you go back and review your August
   24 Goodman, initials J. E., from 2020.                    24 2021 MDL deposition to prepare to testify today?
   25          There's an article by Lynch,                  25     A. No.
                                                   Page 15                                                   Page 17
    1 L-y-n-c-h, H. N., from 2023.                            1   Q. Do you recall reviewing that testimony at
    2          And there's an article by Micha,             2 some point in time?
    3 M-i-c-h-a, J. P., et al., from 2022.                  3     A. I did. After the deposition, I reviewed,
    4          And I should also point out in my            4 and I made -- may -- I think I may have even made
    5 Appendix C, for a couple of these articles, there     5 some small corrections to the transcript -- the copy
    6 were supplemental materials. And I also have those    6 of the transcript that was submitted back to the
    7 printed and attached to the articles.                 7 court.
    8    Q. Thank you.                                      8     Q. Other than those few small corrections,
    9          Have we now covered all of the               9 were you satisfied, as far as the accuracy goes, of
   10 materials that you have brought with you to today's  10 the transcription of that deposition?
   11 deposition?                                          11     A. I guess so. I don't -- don't know that I
   12    A. Other than the CV -- oh, I have -- I have      12 would -- I mean, I don't think I -- it's an issue of
   13 one other thing. I have the printout of three        13 being satisfied. But I believe it was -- reflected
   14 different, I guess, sections of depositions, which   14 what was discussed accurately at the deposition.
   15 actually I believe were between you and I in 2017.   15     Q. Was there any testimony that you recall
   16 Three days we spent in St. Louis together. And I     16 that you thought was inaccurate or that you wanted
   17 printed those out because they deal with some of the 17 to change?
   18 opinions I had already expressed about misbranding. 18      A. Only if I made a correction. No, there
   19    Q. So have we now covered all the materials       19 would be nothing else.
   20 that you brought with you today?                     20     Q. Thank you.
   21    A. Yes.                                           21           Have you reviewed any of your other
   22    Q. Have you prepared any notes or other           22 depositions in the talcum powder cases besides the
   23 materials for this case since your last MDL          23 August 2021 MDL deposition -- that had occurred
   24 deposition in 2021 besides your November 15, 2023, 24 since that date to prepare to testify here today?
   25 MDL report?                                          25     A. I didn't do -- not for the purpose of


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    1 preparing for today, but I have reviewed other           1  A. Not in any general terms. I mean, if you
    2 testimony since that time period.                     2 ask me to -- if you're asking me is to describe what
    3     Q. What other testimony have you reviewed         3 I typically do and how -- and how I spend my time,
    4 since August of 2021 in talcum powder cases?          4 it would be essentially the same.
    5     A. So I -- okay.                                  5     Q. Has there been any change in terms of the
    6           (Speaking simultaneously.)                  6 employees that you have in your business since
    7     A. Sorry, I didn't mean to talk over you. I       7 August of 2021? Any additions, anyone no longer
    8 apologize.                                            8 working there as of August of 2021?
    9           I reviewed the deposition from a few        9     A. The same people that are working there, I
   10 weeks ago, I believe. I think I have had that        10 do believe we added as a employee, an additional
   11 deposition to look at. I seem to recall that. And    11 person, Dr. Austin Mircheff because I don't think --
   12 then I also would have reviewed -- so there were --  12 I don't -- you'd have to remind me. I believe he
   13 there was at least one trial that occurred after my  13 joined as an employee, before he was just a
   14 August 2021 deposition in the MDL.                   14 contractor to us, after August of 2021.
   15           And before that trial testimony, I         15     Q. What was his last name, or what is his
   16 know I did look at transcripts of both -- some of my 16 last name?
   17 previous trial testimony. I can't tell you which     17     A. Mircheff, M-i-r-c-h-e-f-f. And I hope I'm
   18 ones. It's been a while. But I did do that. I        18 pronouncing that correctly. He's Macedonian.
   19 typically will -- when I'm getting ready for -- to   19     Q. What type of work does he do for your
   20 go on the stand in a trial.                          20 business?
   21     Q. Focusing just on your more -- most recent     21     A. So he has a Ph.D. in cellular physiology,
   22 deposition, which was in the Mississippi AG action, 22 and he does several things, depending on the need.
   23 which I believe was in October of 2023, do you       23 He will sometimes do research on topics related to
   24 recall seeing any testimony that you thought was     24 some of our clients in the regulatory space as far
   25 inaccurate or that needed to be changed?             25 as underlying mechanisms that could help support
                                                   Page 19                                                         Page 21
    1     A. No. I -- I believe I did make a few               1 safety assessments for some of the product
    2 typo-type corrections of misspellings to the             2 assessments that I do in my practice and we do
    3 transcript and submitted those. But, no, there was       3 as collectively as a company in our practice.
    4 nothing that I -- with that in mind, as long as          4          He also does do some article
    5 those changes were made, there's nothing else I          5 retrievals from -- he has privileges at the
    6 would point to.                                          6 University of Southern California. He is a retired
    7     Q. Has there been any change in your                 7 professor. So he can sometimes get articles that we
    8 employment status since August of 2021?                  8 can't get other places through his privileges at the
    9     A. No.                                               9 university library system.
   10     Q. Any change in your business or its               10    Q. Does he do any type of litigation work
   11 activity since August of 2021?                          11 through your business?
   12     A. So I need you to be clear what you mean by       12    A. No. He works strictly either in our
   13 "any changes." I obviously have different clients       13 intellectual property part of the practice, due
   14 at all different periods of time.                       14 diligence with investors, or he works in the
   15            But what are you asking?                     15 regulatory part of the practice.
   16     Q. Sure. Let me ask and be more specific.           16    Q. Did anyone at your business or otherwise
   17            Has there been any change in the type        17 assist you with any amendments that you made to your
   18 of business that you do or the type of business         18 last MDL report as reflected in your November 15th,
   19 activities that you do since August of 2021?            19 2023, second amended report?
   20     A. In general terms, no.                            20    A. Other than article retrieval, no.
   21     Q. Are you still working full-time?                 21    Q. What percentage of your business this
   22     A. Yes, I am.                                       22 year, that is in 2023, have you spent on litigation
   23     Q. Has there been any changes in the number         23 matters?
   24 of hours that you work on a weekly basis since          24    A. It's probably a little more than in 2021
   25 August of 2021?                                         25 because some of the work has come back. The courts




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    1 have opened back up.    So I'd say probably about     1 There are hours I don't bill, so I don't charge all
    2 30 percent of my time again, just like it used to     2 the time for looking at -- doing a lit search. If
    3 be, at least in 2023.                                 3 it only takes me 30 or 40 minutes, I may not charge
    4     Q. Same question as to 2022: What percentage      4 for that.
    5 of your work in 2022 was spent on litigation          5     Q. As far as your consulting outside of
    6 matters?                                              6 litigation, are you currently consulting as to any
    7     A. Less. Some -- I can't give you the exact       7 cosmetic?
    8 percentage, but it was less. 2023 is back to where    8     A. Currently right now, no. I have some work
    9 it was before COVID for me, before the shutdown in    9 for ingredients that may be used in cosmetics, but
   10 2020.                                                10 they're also used in over-the-counter drugs. And
   11     Q. What is the dollar figure of revenue          11 the issue I'm addressing is an over-the-counter drug
   12 received by your company for the year of 2022?       12 issue, not a -- as regulation as an OTC versus as a
   13     A. I don't have an exact figure for you. It      13 cosmetic.
   14 was less than a million dollars, but I don't have an 14     Q. What is it scientifically or medically in
   15 exact figure.                                        15 terms of the issue you're addressing for that over-
   16     Q. Are you able to estimate what your            16 the-counter ingredient in a drug?
   17 expected revenue is of your business for 2023?       17     A. I'm looking -- okay.
   18     A. It's about the same.                          18           (Speaking simultaneously.)
   19     Q. When you say "about the same," the same as    19     A. Sorry. Go ahead. I didn't mean to talk
   20 what?                                                20 over you.
   21     A. I'm sorry. It was -- it's less than a         21     Q. Yeah, let me restate the question.
   22 million dollars. I mean, I can't give you an exact   22           What scientific or medical issue or
   23 number, but it's somewhere between 800,000 and a     23 otherwise are you looking at with regard to the
   24 million dollars for the -- the revenues for the      24 ingredient in that over-the-counter product?
   25 company.                                             25     A. Doing a safety assessment for an
                                                    Page 23                                                     Page 25
    1      Q. With regard to the 30 percent of your time       1 ingredient.
    2 spent on litigation matters in 2023, what percentage     2    Q. When you say "safety assessment," is that
    3 of that time was spent on talc litigation?               3 the same thing that you have done in -- in the --
    4      A. I can't tell you. It's not been --               4 for purposes of your report in the MDL?
    5 it's -- you have the bills. I don't recall the           5    A. It's not in the context of litigation.
    6 time, how many hours, but it's not been a major          6 But, yeah, same basic methods I would be using,
    7 driver other than preparing this report. I took          7 that's correct.   Yeah, looking at scientific
    8 some -- a little bit of time. I haven't had any          8 literature, routes of exposure.   The same kinds of
    9 trials or -- the only deposition, I think, in talc       9 things would go into it, but this is not a
   10 in 2023, was the Mississippi AG case.                   10 litigation project. It's a regulatory project.
   11      Q. Did you spend any hours on talc cases in        11     Q. As far as your vernacular or terminology,
   12 2022?                                                   12 is "risk assessment" the same as a "safety
   13      A. Not at trial or deposition that I recall,       13 assessment"?
   14 no. I would have done some work in 2022 keeping up      14     A. No, they're not. They're different.
   15 with the literature over time, some small amounts.      15     Q. How are they different?
   16 But it was not a major part of my practice in 2022      16     A. So it depends on the context of -- of what
   17 either.                                                 17 you're -- what kind of product that you're doing
   18      Q. You mentioned the bills or the invoices of      18 them for.
   19 your talcum powder work, which we'll mark as            19           So, for example, if I'm doing a -- I'm
   20 exhibits.                                               20 doing an assessment of risk, okay? Not a risk
   21            Does that reflect the hours you spent        21 assessment, an assessment of risk. Risk goes into
   22 since 2021, except for today, on talcum powder          22 safety assessment, and also into risk safety
   23 cases? That is, do they reflect the hours you've        23 assessment. If I'm doing that kind of assessment
   24 spent since 2021 on talcum powder cases?                24 for a food -- or an ingredient to be used in food,
   25      A. They reflect the hours I billed, yes.           25 there -- it's all about safety.




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    1            So in other words, it's -- it's about                 1 product since the summer of 2021?
    2 the risk. There's no weighing benefits. So when I                2    A. I've given advice to clients on drafting
    3 do an over-the-counter drug product or I do a drug               3 of labels, yes, for consumer products since then.
    4 and I'm doing a risk assessment, I'm looking at                  4 And told them, you know, what would be required
    5 risks and benefits.                                              5 in terms of what the labeling would be.   It's for a
    6            It's just like cosmetics. It's a                      6 couple of different clients, the ingredients that
    7 safety assessment using the tool of risk assessment,             7 could have use in dietary supplement products.
    8 but it -- there's no such thing as benefit. It's                 8    Q. Are you able to disclose what those
    9 all about the risk.                                              9 ingredients are or what the over the -- what the
   10            Does that explain it for you?                        10 consumer product is?
   11     Q. Yes. Thank you.                                          11     A. Again, I have -- all my regulatory work, I
   12            Are you able -- able to estimate the                 12 sign NDAs.    So I can tell you generally that they
   13 percentage of times since August of 2021 through                13 are ingredients to be used in foods that are being
   14 today that you spent consulting outside of                      14 made by new technologies as either alternative
   15 litigation on cosmetic or an ingredient you know                15 proteins in the food supply or as cell-based meat
   16 that is going into a cosmetic?                                  16 products.
   17     A. I certainly couldn't give you a                          17     Q. Since August of 2021, have you advised any
   18 percentage, no. In 2022, there were a couple of                 18 client to make changes to a warning statement,
   19 projects I worked on that dealt with ingredients                19 pursuant to 21 CFR 740.1?
   20 used in cosmetics, but I can't give you a time right            20     A. Since August of 2021, no, I have not.
   21 now.                                                            21     Q. Have you done any consulting outside of
   22     Q. How about 2023? Have you worked on any                   22 litigation since August of 2021 on any chemicals
   23 projects dealing with any cosmetics or an ingredient            23 that are not related to food, consumer products, or
   24 that you know is going into a cosmetic?                         24 cosmetics?
   25     A. So the project that I'm describing for                   25     A. Yes.
                                                            Page 27                                                       Page 29
    1 you -- I mean, it is an ingredient found in                      1     Q. Are you able to -- what are you able to
    2 cosmetics. Although, my issue is it's going into an              2 identify, based on your consulting arrangements, as
    3 over-the-counter drug. So if you count that                      3 far as those chemicals?
    4 project, because it is something that's used in                  4     A. I can tell you that they're ingredients,
    5 cosmetics as well, it would probably be maybe --                 5 either inerts or actives, for use in pesticides or
    6 I've spent -- maybe have spent 40 or 50 hours on                 6 biocides.
    7 that project. And it's something that just came up               7     Q. Are you able to describe generally what
    8 about three months ago, so it's -- wasn't all year.              8 type of work you've done with regard to those
    9    Q. Is there anything confidential about the                   9 materials?
   10 ingredient?                                                     10     A. Yes, I can tell you generally.
   11    A. Yes, I have signed an NDA with the client,                11     Q. What can you tell me generally?
   12 so yes.                                                         12     A. So my issue has been looking at new
   13    Q. Is that the only project that you spent                   13 toxicology -- helping to design toxicology studies
   14 time on this year that concerned an ingredient that             14 to address questions that have been raised by
   15 may go into a cosmetic?                                         15 regulators about the safety of an active ingredient
   16    A. This year, that's what I can recall. That                 16 to be used in a pesticide product.
   17 it -- but I will say, there are a number of                     17           And then doing a safety assessment
   18 ingredients that I've looked at in the food space               18 under the auspices -- or the regulatory framework of
   19 that also have some use in cosmetic products as                 19 FIFRA for inert ingredients to be used in several
   20 well. Many ingredients have multiple uses depending             20 biochemical pesticide products.
   21 on, you know, what they are. Different                          21     Q. What kind of toxicology study are you
   22 preservatives, for example, and things like that.               22 talking about?
   23 But as a focus of my work, it would be that -- that             23     A. We've designed toxicology studies that are
   24 project that I just spoke to.                                   24 whole animal reproductive developmental studies I've
   25    Q. Have you drafted any labels for a consumer                25 helped design recently. I've also designed in vitro




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    1 studies to look at the mechanism of cancer             1    Q. Are you able to identify the industrial
    2 development due to inflammatory process in the        2 chemicals?
    3 stomach.                                              3     A. No. Again, having -- I -- all of my work
    4     Q. Are you talking about an inflammatory          4 has been under an NDA. It's nonlitigation but is
    5 process in the stomach from the ingredient of the     5 under an NDA.
    6 pesticide itself?                                     6     Q. Are you able to identify the -- any of the
    7     A. From the active ingredient, yes, exactly.      7 safety concerns, if any, that you're looking at for
    8     Q. What route of exposure would lead to in --     8 those industrial chemicals?
    9 are you talking about -- let me start over.           9     A. I can tell you generally.
   10           Are you talking about ingestion of the     10     Q. Okay. Thank you.
   11 material?                                            11     A. Generally, we'd be looking at the
   12     A. Yes, oral -- oral exposure. That's            12 potential for a dermal exposure and what -- and
   13 correct.                                             13 I'm -- my issues relate to pharmacokinetics, which
   14     Q. Are you able to identify the companies        14 is one of my expertise, in looking at pathways of
   15 that you're working for?                             15 dermal exposure and whether or not the chemicals are
   16     A. Again, I have NDAs. I can tell you that       16 ones that would potentially cross the skin at a high
   17 the product is used -- I can tell you generally what 17 enough dose in order to elicit an adverse effect.
   18 the product is used for. But generally, the product 18      Q. Have you consulted outside of litigation
   19 is being used to control fungal development on       19 with regard to any talcum powder product since
   20 spices and nuts.                                     20 August 2021?
   21     Q. Are you able to identify the name of the      21     A. No.
   22 pesticide?                                           22     Q. Since August of 2021, have you done any
   23     A. I'm trying to think if anything is public     23 consulting work outside of litigation with regard to
   24 that I've done. I -- yeah, I've done some public     24 any type of heavy metal?
   25 testimony or public things. I've worked for years    25     A. Yes.
                                                   Page 31                                                  Page 33
    1 on this project. It's propylene oxide.                1     Q. What type of heavy metal, if you can
    2     Q. Have you done any other consulting work        2 identify it?
    3 with regard to a chemical that's not a food additive  3     A. Heavy metals that are typically screened
    4 or an ingredient to an over-the-counter or cosmetic   4 for for use in food.
    5 since summer of -- since August of 2021?              5     Q. Are you able to --
    6     A. Could you repeat that? I thought I             6     A. Well, heavily screened for and not allowed
    7 just --                                               7 for use in food -- to be found in food.
    8     Q. Have you done any other -- have you done       8     Q. Are you able to identify the types of
    9 any other work with a chemical since August of 2021 9 heavy metals that you've worked on since
   10 besides what you just discussed?                     10 August 2021?
   11     A. Well, yes. I've done some other               11     A. Yes.
   12 consulting related to industrial chemicals, things   12     Q. What are they?
   13 that are workplace exposures -- or potential for     13     A. Lead, mercury, cadmium, and arsenic.
   14 workplace exposures. I've done some consulting       14     Q. Since August of 2021, have you done any
   15 related to drugs that are being developed as --      15 consulting work outside of litigation with regard to
   16 and -- and they -- that work was on active           16 any fragrance?
   17 ingredients.                                         17     A. I don't believe so, no.
   18     Q. We're just strictly limiting my question      18     Q. Since August of 2021, have you done any
   19 to chemicals that are not related to a cosmetic or a 19 consulting work outside of litigation with regard to
   20 drug or a food additive.                             20 any type of asbestos?
   21           Anything besides what you've already       21     A. No.
   22 provided to us since August of 2021?                 22     Q. Other than the safety assessment that you
   23     A. It would -- it would be some of the work      23 talked about earlier, have you conducted any other
   24 I've done with some of the industrial chemicals      24 safety assessments or risk assessments on any
   25 related to workplace safety.                         25 product since August of 2021 outside of litigation?




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    1    A. Well, everything in my regulatory practice         1 up to June or -- of 2022 or so, middle of 2022.
    2 deals -- has dealt with safety assessment in some        2 Since then, I've gone to contract work only with
    3 way. So I think I've covered the general topics for      3 that -- with the law firm.
    4 you already, the types of products that we look at       4    Q. Has that increased or decreased the
    5 in our practice.                                         5 approximate 50,000 a year you were making prior to
    6           But that's why they -- clients have            6 the contract agreement?
    7 come to us, two reasons. Either they're looking at       7    A. It's decreased it because I don't -- I'm
    8 regulatory strategies for emerging technologies with     8 not on call with them for -- all the time.But I
    9 new ways to look at safety, as well as regulatory        9 do -- still do projects with them. And then in
   10 approval pathways. Or new ways to test products in      10 addition to that, in my -- in my company, BioPolicy
   11 order to prove that things are safe to eat, for         11 Solutions, we work on patent issues but not
   12 example, or safe for human exposure.                    12 necessarily drafting patent applications.
   13    Q. Have you done any consulting work for the         13           We do due diligence and freedom to
   14 American Chemistry Council since the summer of 2021?    14 operate sometimes for investors and some of the
   15    A. 2021, no, I have not.                             15 small companies that are coming to us for advice.
   16    Q. Have you done any consulting work for any         16    Q. Have you communicated with any regulatory
   17 trade group or manufacturing group since August         17 agency that is public on behalf of a company or
   18 of 2021?                                                18 trade group since August 2021?
   19    A. Yes.                                              19    A. Yes.
   20    Q. Are you able to identify those trade or           20    Q. What communications have you done that are
   21 manufacturing groups?                                   21 public with any regulatory agency on behalf of a
   22    A. I can't give you the exact -- I -- through        22 company or a trade group since August 2021?
   23 the NDAs. I can tell you they're in the -- their        23    A. So I need you to clarify. I didn't hear
   24 trade groups are related to products in the food        24 the word "public." So there would probably be a
   25 space.                                                  25 public listing of some of these companies having had
                                                    Page 35                                                    Page 37
    1      Q. With regard to the consulting work you've        1 a meeting, but the discussions were not public.
    2 done, have you described that for us today?              2           So what are you asking me?
    3      A. I've tried to, yes. I think so.                  3     Q. I'm asking you: What is it you're able to
    4      Q. In other words, have we covered generally        4 disclose as far as any communications you've had
    5 the type of work you've done that would have been        5 with a regulatory body or agency on behalf of a
    6 for the trade or manufacturing groups?                   6 company or a trade group since August 2021?
    7      A. I think so. To clarify for you, the work         7     A. So I can tell you that I have had -- I
    8 that I've done for trade groups has usually been in      8 have multiple -- I've had multiple interactions.
    9 conjunction with companies that are regulated. So        9 And I would say in the last two years since that
   10 it's a -- kind of a cooperative work, looking, you      10 or -- well, I guess it hasn't been -- yeah, it has
   11 know, interacting with the trade organization as        11 over two years now -- routine interactions with my
   12 well as the individual companies at the same time.      12 clients in the emerging technology space with the
   13      Q. Since August 2021, have you been doing the      13 Food and Drug Administration, as well as with the
   14 patent work that you had previously discussed with      14 Singapore Food Agency, as well as at least one
   15 us?                                                     15 interaction with the European Food Safety
   16      A. Yes, I still do that as well.                   16 Administration, and also Health Canada.
   17      Q. For the same law firm, Licata & Tyrrell?        17     Q. Have you submitted any testimony or
   18      A. Yes, I work with them still. I now,             18 provided any testimony to any regulatory group or
   19 though, do it on a contract basis versus a -- I         19 body since August 2021?
   20 don't take a salary like I used to.                     20     A. Not testimony submitted, no. I have had
   21      Q. You previously told us that you typically       21 discussions, interactions, submitted documents,
   22 were making about 50,000 a year with regard to this     22 represented my clients, act as -- as an agent for a
   23 patent work.                                            23 client to submit a GRAS notice, for example, to the
   24            Has that been true since August 2021?        24 FDA.
   25      A. That was true -- that would have been true      25     Q. With regard to your consulting work,


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    1 you've provided to us as part of the -- a part of         1 my second amended report.   But it's regulated as a
    2 your second amended MDL report, a list of your       2 prescription drug, so it's a different regulatory
    3 testimony.                                           3 oversight issue.
    4            Do you recall preparing that list?        4           And it is not -- it did not deal -- it
    5     A. Yes.                                          5 does -- it deals with the active ingredient, not
    6     Q. I'm going to share my screen with you         6 with talc or asbestos or heavy metals or fibers,
    7 and show you that list. (Shared screen.)             7 none of that. And it is not a cancer issue. I'm
    8            Just let me know if you can see the       8 dealing with -- the safety issue has to do with
    9 document I'm showing you on the screen?              9 permanent hair loss in women being treated for
   10     A. (Examined exhibit.) I see it, yes.           10 adjuvant care for breast cancer.
   11 It's -- I don't -- it's -- I see part of it. It --  11     Q. Next case, Kahn versus Sanofi Aventis.
   12 you'll have to scroll if you want to ask me about a 12 That was trial testimony. Where was that testimony?
   13 specific page, but yes.                             13     A. So that is the -- also in New Orleans.
   14     Q. Understood.                                  14 This litigation for Taxotere, it has involved both
   15            MR. HEGARTY: I'm gonna mark as           15 the 505(b)(2) and Sanofi, who is the original NDA
   16 Exhibit Number 1 this "List of Testimony for        16 holder.
   17 Dr. Laura Plunkett" that was provided to us         17     Q. The next case listed is State of
   18 yesterday.                                          18 New Mexico versus Bristol-Myers Squibb.
   19            (Exhibit 1 marked.)                      19           Where is that case pending, if you
   20 BY MR. HEGARTY:                                     20 know?
   21     Q. I'm gonna scroll down to the testimony       21     A. So that one has been settled, as far as I
   22 listed starting with the Guilbault and Plaisance    22 know. It was in New Mexico. I was working on
   23 versus 505(b)(2) defendants' deposition in 2021.    23 behalf of the State AG, and it's my understanding a
   24            Do you see that entry, Dr. Plunkett?     24 settlement was reached.
   25     A. I do, yes.                                   25     Q. Did that case involve a product or
                                                    Page 39                                                       Page 41
    1     Q. First of all, before I ask you about that          1 substance?
    2 case, does this document represent all of your            2    A. Yes -- oh, I'm sorry. It involved the
    3 testimony for the last four years through today?          3 drug Plavix, and it had to do with consumer fraud,
    4     A. Yes. It's actually five -- I always --             4 consumer marketing of the product, and failure to
    5 for some reason I give you five years. But, yes, it       5 disclose information to consumers.
    6 does.                                                     6    Q. Were you testifying on behalf of the
    7     Q. As to the Guilbault case, who were you             7 plaintiff in that case?
    8 testifying for in that case?                              8      A. On behalf of the State, that's correct.
    9     A. I was testifying on behalf of the                  9      Q. The next case is Moneyham -- or Mooneyham
   10 plaintiffs, the injured parties.                         10 versus Bactolac.
   11     Q. Where was that -- let me start over again.        11            Where was that case pending -- or
   12           Do you know where that case was filed?         12 where is that case pending?
   13     A. It's in -- it's in New Orleans. I assume          13      A. So I don't know where it was pending. I
   14 federal court in New Orleans, yes.                       14 believe it has settled, but I do -- I -- you know
   15     Q. Is there a product or substance involved          15 what, I -- I'm not positive. And it involved a --
   16 in that case?                                            16 it involves a improper manufacturing of a product --
   17     A. Yes, this is the -- the 505(b)(2) are NDA         17 a dietary supplement product that injured -- caused
   18 holders for a generic version of Taxotere or             18 liver injury in an individual.
   19 docetaxel.                                               19      Q. You testified on behalf of the plaintiff
   20     Q. Did your testimony in that case touch on          20 in that case?
   21 any of the issues set out in your second amended MDL     21      A. Yes, the injured party.
   22 report?                                                  22      Q. Was that an over-the-counter product?
   23     A. There is certainly in that -- in that             23      A. It's a dietary supplement product. So
   24 testimony, and I certainly did talk about                24 it's not a drug, but it -- it's a consumer product
   25 limitations of the FDA generally. I think that's in      25 that's sold directly consume -- to consumers.




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    1     Q. The next case is Earnest case. That's             1 already in October, I guess.      There it is down --
    2 another Taxotere case; is that correct?                  2 just down below. So those -- we're waiting -- it's
    3     A. Yes, that's correct.                              3 a bench trial, so we're waiting on the judge's
    4     Q. The next case is Valsartan -- I mean, I'm         4 decision. And I was working on behalf of the State
    5 sorry. Valsartan MDL, 2021. Were you testifying on       5 of Hawaii. Again, this is Plavix and a consumer
    6 behalf of the plaintiff in that case?                    6 fraud issue in Hawaii.
    7     A. So this is 2023?                                  7     Q. Was that in state court in Hawaii?
    8     Q. I'm sorry. 2023.                                  8     A. Yes. It's -- yeah, it's in state court.
    9     A. Yes. So, yes, there's two -- there are            9 That's correct.
   10 two entries together. So there was a continuation       10     Q. The next case -- case is Blakely, et al.,
   11 of the deposition. It didn't finish in January. We      11 versus LifeCell, a deposition back in October 2023.
   12 had to carry over. But, yes, I was working -- I'm       12 Where is that case pending, if you know?
   13 working there on behalf of the injured parties and      13     A. I don't know where that is pending, to
   14 the MDL.                                                14 tell you the truth. Sorry.
   15     Q. That involved the product valsartan?             15     Q. Does that case involve a product or a
   16     A. Yes, the drug valsartan, yes.                    16 substance?
   17     Q. The next case on this list, 2023 again, is       17     A. It involves a medical device.
   18 the Earnest case, another Taxotere deposition; is       18     Q. What medical device?
   19 that correct?                                           19     A. I believe this is one of the -- you know
   20     A. It's the same -- it's a continuation.            20 what, I believe this is -- one of the mesh cases.
   21 There was an Earnest deposition before, I believe,      21 Yes, it is. It's a -- it's a hernia mesh case.
   22 so we continued it.                                     22     Q. Are you testifying on behalf of the
   23     Q. (Scrolling.)                                     23 plaintiff in that case?
   24     A. There you go, yes.                               24     A. Yes, another injured party.
   25     Q. The next case listed is Norwood versus           25     Q. The last case is the Mississippi AG case,
                                                    Page 43                                                       Page 45
    1 Albertson's, Inc.   Do you know where that case is       1 which we've mentioned already.
    2 pending?                                                 2              Do you -- have you -- do have any
    3     A. Yes. It's pending in Lake Charles,                3 other depositions that you've given, or have you
    4 Louisiana. It's supposed to go to trial next year,       4 given any other testimony since October 24, 2023,
    5 and I'm working on behalf of an injured party where      5 besides today?
    6 there was improper filling of a prescription related     6     A. No, this is my first deposition since
    7 to a drug and led to an overdose.                        7 then.
    8     Q. What drug did that involve?                       8     Q. Have there been any cases where you have
    9     A. Levaquin, levofloxacin, a fluoroquinolone         9 been identified, that is disclosed as an expert
   10 drug.                                                   10 witness, since August of 2021 where you've not
   11     Q. The next case listed is Jackson versus           11 testified or been deposed?
   12 Bayer HealthCare Pharmaceuticals, Inc. Where is         12     A. That you've not already gone through on
   13 that case pending?                                      13 this list?
   14     A. It's in Florida in federal court.                14     Q. Yes. You should be --
   15     Q. What substance or product is involved in         15     A. Oh, I guess -- no, I have been deposed --
   16 that matter?                                            16 I'm sorry.
   17     A. So it involves multiple fluoroquinolone          17     Q. These would be cases where you've been
   18 drugs, both ciprofloxacin and levofloxacin.             18 disclosed or identified as an expert since August
   19     Q. Are you testifying on behalf of the              19 of 2021.
   20 plaintiff in that case?                                 20          But you've not been deposed or
   21     A. Yes, the gentleman who was injured.              21 otherwise given testimony in any of those cases?
   22     Q. Next case is State of Hawaii versus              22     A. Okay. So the reason I ask that
   23 Bristol-Myers Squibb listing a deposition in            23 question -- and I realize I wasn't clear. On some
   24 August 2023. Where is that case pending?                24 of these cases that you've just gone over, there's
   25     A. So that case has -- the trial happened           25 multiple cases in the litigation. And I don't know




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    1 all the names of the cases, but I'm sure there's              1     A. (Examined exhibit.) I can.
    2 some others that I've been disclosed for other                2           MR. HEGARTY: And I'll mark this CV as
    3 cases, for example, in the -- with -- against                 3 Exhibit Number 2 for today's deposition.
    4 LifeCell for the hernia mesh product.                         4           (Exhibit 2 marked.)
    5          As far as different products, I have                 5 BY MR. HEGARTY:
    6 been disclosed publicly in the -- against the same            6     Q. (Scrolling.) This is the CV we were
    7 manufacturer for different cases.   So LifeCell for           7 provided last night.
    8 multiple because I have a couple of depositions that          8           Is this a current copy of your
    9 are coming up.                                                9 curriculum vitae?
   10    Q. Any other cases where you've been                      10     A. It is.
   11 identified since August of 2021 where you've not             11     Q. Since August of 2021, have you developed
   12 been deposed or testified besides what you've told           12 any new area of expertise?
   13 us already?                                                  13     A. I don't know quite how to answer that. I
   14    A. I don't know if I -- I have some other                 14 had done research in some new areas, but I don't
   15 things I've been working on, but I don't know.       I       15 know that -- I mean, my expertise remains the same
   16 can't tell you that I've been identified publicly,           16 in terms of pharmacology, toxicology,
   17 so I would say I can't answer that at this point.            17 pharmacokinetics, regulation of products by the Food
   18    Q. Other than the depositions you just said               18 and Drug Administration, regulation of food.
   19 you have coming up, do you have any other                    19           What are you asking, I guess?
   20 depositions scheduled in 2023 or 2024?                       20     Q. Well, have you developed any expertise
   21    A. I am sure I will, but right now, the only              21 that is new to you, outside of studying a particular
   22 other things I have scheduled is I have -- as I              22 product, that you did not have as of August 2021?
   23 mentioned, I know that there's a trial coming up in          23     A. No, I don't think I have -- have done
   24 the Norwood case.    And I believe there's some trials       24 any -- I have -- for example, I haven't -- I haven't
   25 coming up in talc.                                           25 taken any courses that introduce me to a new topic
                                                         Page 47                                                     Page 49
    1     Q. Have you attended any meetings of any                  1 generally that I haven't already covered before. I
    2 professional organizations in 2023?                           2 haven't gotten any new certifications, those kinds
    3     A. Yes.                                                   3 of things.
    4     Q. What professional organizations' meetings              4    Q. That was gonna be my next more specific
    5 have you attended in 2023?                                    5 question.
    6     A. The Society of Toxicology black -- back in             6          Do you have any certifications or
    7 March of 2023. That should be in my new CV that I             7 titles today that you didn't have back in August
    8 believe I had that -- a poster or something there.            8 2021?
    9 I need to look.                                               9     A. No, I do not.
   10           And then I've attended the -- a                    10     Q. Have you gone -- undergone any formal
   11 cultured meat symposium about two months ago. I              11 training in any subject area since August 2021?
   12 went to SynBioBeta which is a meeting -- a                   12     A. If by "formal training" you include
   13 scientific meeting related to alternative proteins.          13 webinars that I have -- that I do in order to
   14           And I've attended -- I attended via                14 maintain my toxicological certification, yes, I
   15 Zoom to a couple of sessions at the American                 15 have. I'm required to undertake educational courses
   16 Association of Scientists, AAS, last spring.                 16 through the scientific meeting, the annual meeting,
   17     Q. Have you presented at any professional                17 and/or online in order to maintain my D.A.B.T. and I
   18 organization meetings since August of 2021?                  18 have done that every year.
   19     A. Everything I've done would be listed in my            19     Q. Do you currently have any -- any
   20 CV. So it would be best to go to there if you want           20 publications in the works, that is, planned
   21 to find those to so -- to get a complete list.               21 publications?
   22     Q. We'll go ahead and look at your CV. I'll              22     A. Yes.
   23 share my screen with you. (Shared screen.)                   23     Q. What planned publications do you have in
   24           Please let me know if you can see the              24 the works that would go under the section in your --
   25 CV shown on your screen.                                     25 in your CV we're looking at called publications?




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    1    A. Yes, my peer-reviewed articles. I have a          1 on -- in samples taken in autopsy.
    2 paper that my business partner and I are writing        2    Q. Your CV lists three abstracts that are
    3 right now we plan to submit, I think, to Nature Food    3 2021 through today.
    4 on the intersection of regulation, policy, and          4          With regard to the first abstract,
    5 science for emerging technologies.                      5 lead author Woodall, what did that abstract concern?
    6    Q. Do you currently have plans as far as what        6    A. So George Woodall is -- all of these
    7 publication you're gonna submit that to?                7 individuals that are listed here where I'm listed
    8    A. I said we were -- we're -- we would like          8 with, we're all been former members of the risk
    9 to get it into the journal Nature Food.                 9 assessment, specialty section executive committee.
   10    Q. I'm sorry. I misheard that.                      10          I was president several years ago, and
   11            When do you plan on submitting that         11 we put together a training course called the Risk
   12 publication?                                           12 Assessment Syllabus.    And so this -- at the annual
   13    A. Well, it -- I'm trying to light a fire           13 meeting, we were -- put together a presentation to
   14 under my business partner. We have to get it           14 outline the topics we've covered, what topics we've
   15 submitted by February.                                 15 planned to cover, and described sort of the -- our
   16    Q. Do you have any other publications in the        16 experience based upon the information we've gained
   17 works?                                                 17 from the trainees.
   18    A. That's the only one that's in the works          18          We -- these webinars are trying to
   19 right now.                                             19 provide additional scientific expertise to graduate
   20    Q. Do you have any presentations that you           20 students and post-docs in the area of risk
   21 know you're going to give in 2004 --                   21 assessment.
   22    A. Yes.                                             22    Q. And do you have a copy of the abstract?
   23    Q. -- that are already scheduled?                   23    A. I probably do, yes.
   24    A. Yes.                                             24    Q. Did you prepare any type of PowerPoint or
   25    Q. What presentations do you have scheduled         25 other formal presentation in connection with that
                                                   Page 51                                                      Page 53
    1 for 2024?                                               1 abstract?
    2    A. I have two scheduled at the Society of the        2     A. I'm sorry. We had a poster that we put
    3 Toxicology meeting in Salt Lake City in March.          3 together.   I may have a copy. I'm not sure.
    4    Q. What are those two presentations?                 4     Q. Other than the abstract and perhaps the
    5    A. I'm speaking to two different topics. One         5 poster, do you have any other written materials
    6 I'm speaking to -- there's a workshop where I'm         6 related to Abstract Number 1 in your CV?
    7 moderating and speaking on disparities in ethnicity     7     A. That would be all there would be.
    8 and gender in the -- in science. And I'm speaking       8     Q. Do the other two abstracts have something
    9 to my experience as a woman in science and in           9 to do with cannabis?
   10 toxicology on some of the challenges in the area of    10     A. Yes. And now these were all before our
   11 professional development.                              11 last deposition in August of --
   12          And we also have speak -- we have a           12     Q. Okay.
   13 Native American, a woman speaking. We have a           13     A. -- yeah. So -- but yes.
   14 consumer advocate that's speaking. We have a person    14     Q. Good point. Your CV also lists -- and I
   15 who deals with research in the area of consumer        15 scrolled down -- (scrolling) book chapters -- book
   16 perception.                                            16 chapters since August of 2021. Those all relate to
   17          And then I have a second symposium I'm        17 defending pesticides in litigation, or at least --
   18 speaking at. And that one, I'm talking about my        18 I'm sorry. 2 and 3 refer to that.
   19 work that I do in the area of forensic toxicology      19           With regard to that book, is that an
   20 with drugs of abuse; and particularly cannabis and     20 update of the previous versions of those books -- of
   21 alcohol.                                               21 that book? I'm sorry.
   22          And I'll be speaking on the                   22     A. Yes. Every year, I try to revamp -- I
   23 pharmacokinetic challenges and the issue of            23 have, like, ten chapters that I edit. And every
   24 correlating impairment with measured levels of         24 year, I try to update and revamp several of them.
   25 different drugs. And particularly, I'm gonna focus     25 It's a big effort, so I don't do all ten every year.




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    1 But yes, the 2024 version that will be coming out --    1 it was in the paper.
    2 it's not out yet. That's why I didn't list it --      2    Q. Do you recall the last name of the lead
    3 will have -- I updated that in 2023. And then for     3 authors and the year of those two papers?
    4 2023 version, I update that in 2022, yes.             4    A. No. I'd have to get those -- pull those
    5     Q. Do you have one other book chapter listed      5 back out. I don't recall.
    6 here? Do you have any other book chapters in the      6    Q. Do you still have copies of them?
    7 works besides the "Defending Pesticides in            7    A. Yes, I do.
    8 Litigation" 2024 version?                             8    Q. Did you prepare any written materials for
    9     A. No. And the 2024 version is no longer in       9 this lecture at NYU?
   10 process. It's -- I mean, I've completed my work.     10    A. PowerPoint, yes.
   11 It just won't come out until 2024.                   11    Q. Do you still have the PowerPoint?
   12     Q. Okay. I gotcha. Thank you.                    12    A. Yes, I do.
   13          Since August of 2021, have you given        13    Q. What heavy metals did you discuss at this
   14 any presentations to any group where talcum powder 14 presentation?
   15 or talc was discussed?                               15    A. I don't know that I -- I don't think I
   16     A. No.                                           16 went into the toxicology of any particular one.
   17     Q. Since August 2021, have you given any         17 Again, it was a discussion in the paper about heavy
   18 presentation to any group where any of the following 18 metal exposure being relevant, as well as pesticide
   19 subjects were discussed: ovarian cancer, asbestos,   19 exposure for some of the injuries.
   20 heavy metals, silica, or fragrances?                 20           It was an issue related to human
   21     A. Heavy metals, yes. The others, no.            21 exposure through -- through the environmental
   22     Q. What presentation have you given since        22 pathways to -- when things -- pesticides have been
   23 August 2021 where heavy metals were discussed?       23 placed historically. So arsenical pesticides, for
   24     A. So I just -- and I just realized it should    24 example, I think were mentioned. And then that's --
   25 have been on the CV you just put up there. I gave a  25 I'm trying to remember was anything else mentioned.
                                                    Page 55                                                 Page 57
    1 lecture in the risk assessment course at NYU last       1         But there have been problems in the
    2 month, I guess in November, like three weeks ago.     2 past with -- in soil that arsenic remains around and
    3 And that should be on my CV. I apologize.             3 can -- if you plant a crop in a -- in a place where
    4           And there I talked -- I had some            4 arsenic is in the soil, you can end up with
    5 published papers that I -- I gave a presentation.     5 either -- arsenic either in the plants, but you also
    6 It was mainly focusing on the regulation of           6 have a groundwater contamination potential issue.
    7 pesticides in the U.S. in the risk assessment         7           We don't use these lead, arsenical
    8 course.                                               8 pesticides anymore, but historically, they've been
    9           But I had two papers, one of which --       9 used worldwide. And they were used very recently in
   10 that I discussed with the students, one of which was 10 developing countries. And then that's -- I think
   11 talking about exposure and safety assessment and     11 the paper was about Pakistan.
   12 had had a component of it related to heavy metals as 12           So a developing country where even
   13 well.                                                13 though we banned those things here in the U.S.,
   14     Q. When you say "two papers," are you talking 14 there are still people around the world that it can
   15 about two published papers?                          15 be exposed to those things.
   16     A. Yes. So in this course, I'm asked to give     16     Q. And since August 2021, have you discussed
   17 a didactic lecture for about 20, 25 minutes. And     17 your opinions in talcum powder cases with any
   18 then their -- the idea is for these grad students to 18 colleagues or groups that are not involved in the
   19 teach them analytical skills in reviewing published  19 talcum powder litigation?
   20 toxicology articles or risk assessment articles.     20     A. Only my business partner. She and I may
   21           So I chose two, and those two papers I     21 have a conversation about it generally. But it's --
   22 discussed with them. One of them had information     22 there's been -- she doesn't have input to my
   23 about heavy metals in it as far as risk assessment   23 reports.
   24 and exposure of individuals and the harm that it     24     Q. Since August 2021, have you communicated
   25 could cause. It was not the focus of the paper, but  25 with anyone outside of plaintiffs' counsel and




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    1 perhaps your partner concerning any of the -- any of        1 the -- I think after that or before that?
    2 the opinions you intend to offer in this case?              2          So the -- in my second amended report,
    3    A. No.                                                   3 I think that's why I highlighted the Canadian
    4    Q. Since August 2021, have you communicated              4 statements about this issue.   That's what I would
    5 with FDA about your opinions concerning talcum              5 point to right now.
    6 powder products?                                            6    Q. Since August of 2021, have you become
    7    A. No, not since August of 2021.                         7 aware of any -- a regulatory authority who was
    8    Q. Since August 2021, have you communicated              8 required warnings on talcum powder products with
    9 with Health Canada or any other foreign regulatory          9 regard to ovarian cancer?
   10 authority about talcum powder?                             10    A. Well, they can't do that in the U.S. So
   11    A. No, I have not.                                      11 other than that, I would say that in Canada, they
   12    Q. Since August 2021, have you communicated             12 have -- have added information on their website
   13 with any scientific group or body regarding your           13 about warnings about the product.     So outside of
   14 opinions in this case?                                     14 Canada, that's all I would point you to.
   15    A. No, I have not.                                      15    Q. Since your last MDL deposition in
   16    Q. Since August 2021, has any regulatory                16 August 2021, have you had any interaction with EPA
   17 authority or scientific body reached out to you            17 with regard to talcum powder?
   18 about your opinions with regard to talcum powder           18    A. No, not directly with EPA. I have not.
   19 products?                                                  19    Q. Have you had any interaction since
   20    A. No.                                                  20 August 2021 with EPA regarding asbestos?
   21    Q. Have you contacted any medical                       21    A. No, I have not. That did not come up in
   22 organization or society about your opinions in this        22 my interactions.
   23 case since August 2021?                                    23    Q. Since August of 2021, have you nominated
   24    A. I have not.                                          24 yourself or been nominated to any EPA committee?
   25    Q. Has FDA or any regulatory authority                  25    A. No, I have not.
                                                       Page 59                                                      Page 61
    1 reached out to you about talc or talcum powder              1    Q. Since August of 2021, have you nominated
    2 products since August 2021?                                 2 yourself or been nominated for any other group or
    3    A. No, they have not.                                    3 entity's committees?
    4    Q. Has any medical society, group, or                    4    A. Yes.
    5 organization reached out to you about talcum powder         5    Q. What other group or entity's committees
    6 or ovarian cancer since August of 2021?                     6 have you been nominated for or nominated yourself
    7    A. No.                                                   7 for since August of 2021?
    8    Q. Since August of 2021, have you become                 8    A. Yeah, so I -- I have -- I ran for
    9 aware of any scientific or medical group or medical         9 specialty section executive committee in the
   10 or scientific entity or organization who has made          10 eagle -- the ethical, legal, and forensic specialty
   11 the statement that talcum powder use can cause             11 section at SOT, and I'm on that. I have --
   12 ovarian cancer?                                            12           THE COURT REPORTER: I'm sorry.
   13    A. I don't know. I'd have to look at my --              13 Doctor, I'm sorry. I had some break up in that
   14 whether there were any exhibits or documents that          14 answer there. I want it to be clear. Do you mind
   15 came up at trials. I don't -- I don't recall. I            15 repeating your answer, please.
   16 haven't done any type of a -- of a search since            16    A. The -- the committee is -- I -- I ran for
   17 August of 2021 to look for such.                           17 and was -- I'm on the executive committee for the --
   18    Q. Since August 2021, have you become aware             18 SOT specialty section called -- I'll just give you
   19 of any regulatory authority who has stated that talc       19 the acronym. It's easier. ELFSI. And I'm a
   20 can cause ovarian cancer or increases the risk of          20 counselor to that.
   21 ovarian cancer? So this would be new statements by         21           I have been -- I have volunteered and,
   22 regulatory authorities about talcum powder and             22 I believe, been nominated for a different position
   23 ovarian cancer?                                            23 on that same executive committee when my term runs
   24    A. So the Health Canada, I don't know whether           24 up this year for the VP-elect position within that
   25 that -- the Health Canada assessment came out before       25 different committee.




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    1           I was appointed to the subcommittee                1    Q. Oh, I'm seeing a frozen screen.
    2 within the risk assessment specialty section at SOT          2          THE COURT REPORTER: Correct.
    3 dealing with this risk assessment webinar. That's            3          Ted, can you hear us?
    4 an ongoing appointment since 2021. So most of my             4          MR. HEGARTY: Looks like they're all
    5 work on committees that I have been appointed to             5 frozen.
    6 would be within my professional societies and mostly         6          THE COURT REPORTER: Ted, he can't --
    7 within the SOT.                                              7 yeah, he can't hear us because she's frozen.
    8 BY MR. HEGARTY:                                              8          Let's just wave at Ted.
    9     Q. Have you spoken to any expert in this                 9          Ted? Hello?
   10 case, that is the MDL litigation, regarding their           10          MR. HEGARTY: Let's go off the record.
   11 disclosure or testimony in the MDL since August             11          THE COURT REPORTER: We're going off
   12 of 2021?                                                    12 the record at 10:18 a.m.
   13     A. I don't think so, no.                                13          (A recess was taken from 10:18 a.m. to
   14     Q. Since August 2021, have you reviewed any             14           10:19 a.m.)
   15 other expert's amended or supplemental MDL reports?         15          THE COURT REPORTER: Back on the
   16     A. If it's -- if I have, it would be listed             16 record at 10:19 a.m.
   17 in my Appendix C, so I can't know. And actually,            17          MR. HEGARTY: So let's go back on the
   18 let me say one thing. I -- in the answer to the             18 record.
   19 question before.                                            19 BY MR. HEGARTY:
   20           I did attend a trial after August                 20    Q. I believe I'd asked you at the time that
   21 of 2021 in the talc litigation, and I would have had        21 your screen froze whether you have reviewed any
   22 conversations with any other experts that were there        22 other witness's testimony since August 2021 besides
   23 at the time. And I don't recall if anybody was.             23 yourself for purposes -- and to be more specific --
   24 That's all I would say to you.                              24 of preparing your MDL second amended report.
   25           It would not have been about my                   25    A. Again, I -- I would say to you if I have,
                                                        Page 63                                                   Page 65
    1 specific testimony necessarily, but sometimes I              1 it would be in Appendix C listed for you.
                                                                                                            I don't
    2 overlap with an expert, and I would have had          2 think any of those fit. I have think they're all
    3 conversations generally with them.                    3 older than August of 2021.
    4     Q. Was that a talcum powder trial of this         4     Q. Since August 2021, have you either spoken
    5 year?                                                 5 to or done any work specific to the plaintiffs whose
    6     A. No. You said since August of 2021. And         6 case is in the MDL are being worked up for potential
    7 there was a September -- I was at a trial in          7 trial?
    8 September of 2021 after my MDL deposition. I want     8     A. No, because I'm not case specific. So I
    9 to say it was in -- I don't -- was it -- in           9 don't know who those would be.
   10 St. Louis. It was the St. Louis trial.               10     Q. With regard to your second amended MDL
   11     Q. And my question was specifically if you       11 report, were you asked to do anything different in
   12 talked with any other MDL expert about any           12 updating that report than you had been asked to do
   13 amendments they had made to their MDL reports since 13 with regard to your prior reports?
   14 August of 2021.                                      14     A. I don't believe so, no.
   15     A. No, I would not have done that. But I         15     Q. With regard to any additional medical or
   16 don't -- again, I don't know whether these experts   16 scientific literature or research you did to prepare
   17 that overlap, I think they may be MDL experts, so I  17 your second amended supplemental report, can you
   18 just wanted to be clear that when I'm at a trial,    18 describe what you did?
   19 sometimes I might have a conversation with an expert 19     A. Yes. So some of the research had been --
   20 if we overlap.                                       20 some of the articles that are added to my report, I
   21     Q. Since August of 2021, other than your own     21 actually had -- I may have collected before I
   22 testimony, have you reviewed any of the testimony of 22 drafted the MDL report. Some of it was collected
   23 any other witness in talcum powder cases? That is,   23 after I began that work in the first -- right after
   24 reviewed for the first time?                         24 my -- I guess the -- the first of November. I think
   25     A. (Zoom frozen.)                                25 the billing reflects that around the first of




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    1 November when I started.                                       1  (Exhibit 3 marked.)
    2           So literature searches to look for          2 BY MR. HEGARTY:
    3 anything new related to the FDA website related to 3        Q. Generally what does this appendix
    4 talc or cosmetic regulation, I did pull some of that  4 represent?
    5 into my second amended report.                        5     A. It's a listing of documents that I have
    6           I also pulled in the EPA statement on       6 reviewed in the case, some of which I have relied
    7 asbestos at that point looking at other regulatory    7 upon and cited specifically in my reports. Others
    8 bodies that might have had something to say about 8 of which I may have talked about specifically at
    9 talc or its -- or the toxic constituents, such as     9 trial but not in the MDL report, for example, over
   10 asbestos.                                            10 time. And different -- some of them are -- are
   11           And then the literature itself, I          11 confidential documents, you notice the Bates
   12 would have just done a general search on talc and 12 numbers. And then others are public documents and
   13 looked for scientific papers that related to these   13 published literature.
   14 issues that I -- that I cover, which it has to do    14     Q. And what did you do to prepare for today's
   15 with the hazard of talc or its constituents.         15 deposition?
   16           Any studies that may additionally have     16     A. So for that document, I did go and --
   17 been done, I pulled in an additional review article 17      Q. Now let me stop -- let me stop just -- let
   18 on the role of inflammation in ovarian cancer        18 me stop you there.
   19 because I had a string of cites related to that. So  19     A. Okay.
   20 I pulled a more recent one in.                       20     Q. The question is a little bit different.
   21           So that's mainly what I did in order       21           What did you do to prepare to come
   22 to prepare the report. It -- the -- there were -- I  22 today to testify? What materials did you look at?
   23 don't think I've cited any new non -- nothing new    23 What did you do to prepare?
   24 nonpublic. There are no new -- I don't think. I      24     A. Okay. So I -- I read my report, and I
   25 think it's mainly new public sources. As a -- for    25 actually highlighted what was different in the new
                                                       Page 67                                                      Page 69
    1 example, the press releases by J&J and the -- the              1 report, what language.     So if you wanted to talk
    2 testing that had been done since August of 2021 on             2 about what's different, I can go right to it. I
    3 talc products.                                                 3 know what language or words are different from my
    4    Q. And has plaintiff counsel, in this                       4 August 20 -- no, I'm sorry, from my June 2021
    5 litigation, provided you with any articles since               5 report.
    6 August of 2021?                                                6           I did the same thing with Appendix C
    7    A. Yes. It's possible that they have sent                   7 to make it easy to know. That's why I was able to
    8 articles over time. Since then, I can't tell you               8 give you a listing of exactly which documents I
    9 necessarily which one -- I think the Dyer article              9 brought, which were the ones that would be new
   10 actually was sent through plaintiffs' counsel.                10 since 2021.
   11    Q. Have you done any searching across company              11           I re-reviewed those ones that were new
   12 documents produced in this -- in this litigation              12 in that -- the literature articles that I already
   13 since August of 2021?                                         13 dictated to you as well. And I gathered -- then I
   14    A. No, I have not. By myself, I have not.                  14 gathered the things that were being asked for in the
   15    Q. You've provided as part of your second                  15 subpoena notice. So I got my bills together that
   16 amended MDL report a "Materials Considered" list; is          16 were new, my new CV, my trial list. And then I had
   17 that correct?                                                 17 a short meeting yesterday with counsel.
   18    A. Yes, my -- what I call Appendix C, that's               18     Q. But who did you meet with yesterday in
   19 correct.                                                      19 that short meeting?
   20    Q. I want to show you that appendix. (Shared               20     A. Mr. Meadows mainly and Ms. Tucker. But
   21 screen.) Please let me know if you can see                    21 also Mr. Tisi was here and Mr. Beattie was here.
   22 Appendix C on your screen.                                    22     Q. How long was that meeting?
   23    A. (Examined exhibit.) Yes, I can.                         23     A. Probably two and a half to three hours.
   24          MR. HEGARTY: I'm gonna mark as                       24     Q. Was that the only meeting that you would
   25 Exhibit Number 3 this appendix.                               25 characterize with plaintiffs' counsel as being in




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    1 preparation for today's deposition?                         1
                                                                  A. (Examined exhibit.) I do, but to confirm
    2    A. Yes, and I should also say actually two         2 what it is, I need to go a little further.
    3 other attorneys Zoomed in. I don't want to leave      3     Q. (Scrolling.)
    4 them out. Ms. O'Dell and Ms. Parfitt and Mr. Green    4     A. There. Yes, that is it. That's correct.
    5 were also -- joined for a part of the time. They      5     Q. This is an update to your June 2021 MDL;
    6 weren't here the whole time, but they did Zoom in     6 is that correct?
    7 for an hour or so.                                    7     A. Yes, that's correct.
    8    Q. We talked earlier about the -- the              8     Q. Have you prepared any other reports for
    9 invoices that were provided, and I'll share my        9 any talc case different from your November 15, 2023,
   10 screen with you with regard to those invoices.       10 report since August of 2021?
   11 (Shared screen.) Please let me know if you can see   11     A. No.
   12 the invoices shown on my screen.                     12     Q. Have you changed or modified any of your
   13    A. (Examined exhibit.) I do.                      13 ultimate  opinions from your June 2021 report?
   14           MR. HEGARTY: I'm gonna mark the            14     A. No.
   15 entirety of the invoices provided -- there were      15     Q. You have testified several times that
   16 six -- as Exhibit Number 4.                          16 you're not providing a causation opinion in this MDL
   17           (Exhibit 4 marked.)                        17 litigation.
   18 BY MR. HEGARTY:                                      18           Do you recall that?
   19    Q. This is one invoice that is dated              19     A. Yes.
   20 October 2023.                                        20     Q. Is that still true?
   21           And as you note in the invoice, it         21     A. Yes.
   22 concerns the Mississippi AG case; is that correct?   22     Q. Do you intend to testify, as you have in
   23    A. Yes, this was the time preparing for the       23 the -- in the past, that exposure to talc after
   24 deposition -- or actually, this was -- may have been 24 genital dusting increases the risk of ovarian
   25 the deposition. I -- you need to go down further.    25 cancer?
                                                  Page 71                                                      Page 73
    1 And there may be another one. There may have been           1     A. Yes, I could if asked that question. Yes.
    2 two of these.                                               2     Q. Has this opinion changed or -- or been
    3    Q. As far as the invoices that were provided,            3 modified since August of 2021?
    4 they included the Mississippi AG case, two of them.         4     A. Not in terms of the opinions. Certainly,
    5 One MDL invoice, an invoice for the Cadagin case, an        5 there's some additional documents that I believe
    6 invoice for the Giese case, an invoice for the              6 support that opinion. But, no, the opinion is the
    7 Kleiner case.                                               7 same.
    8          Are you aware of any other invoices                8     Q. We discussed at your August 2021
    9 that you generated and submitted in connection with         9 deposition, your review of Johnson & Johnson's
   10 your talcum powder casework since August of 2021           10 comprehensive review document.
   11 besides those?                                             11           Do you recall that?
   12    A. No, I'm not. I -- we did a search of my              12     A. No, I don't recall that. But I know that
   13 billing system and pulled out anything that was --         13 there is such a document. But I don't recall that
   14 that was dated after that.                                 14 discussion.
   15    Q. Have you been paid for all the amounts in            15     Q. Since August of 2021, have you formed any
   16 those invoices?                                            16 additional opinions with regard to the Johnson &
   17    A. Yes.                                                 17 Johnson comprehensive review document?
   18          MR. HEGARTY: The next document I'm                18     A. No, because I don't believe I've looked at
   19 going to show you, which I'll mark as Exhibit              19 it. So it's --
   20 Number 5, is your November 15, 2023, MDL report.           20     Q. Since August of 2021 -- I'm sorry. I
   21 (Shared screen.)                                           21 didn't mean to interrupt.
   22          (Exhibit 5 marked.)                               22     A. I -- I don't -- yeah, it's okay. I don't
   23 BY MR. HEGARTY:                                            23 believe I've looked at it since. If you've shared
   24    Q. Please let me know if you can see the                24 it with me, that'd be the last time I would have
   25 document on my screen.                                     25 looked at it.




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    1    Q. Have you looked at any testimony by                       1 depositions or trial testimony I have given in
    2 Dr. Kuffner since August of 2021?                               2 this -- in these cases.
    3    A. No, I don't believe so, unless it's in my                 3          So I'd say all of that, plus what is
    4 Appendix C. But I don't recall that, no.                        4 in my report. But I do believe this second amended
    5    Q. We also discussed at your August 2021                     5 report covers all the general areas that I would be
    6 deposition the 2020 Mandarino -- or I'm sorry,                  6 prepared to discuss.
    7 Mandarino study.                                                7          MR. HEGARTY: If we can go off the
    8          Do you recall that?                                    8 record; let's take a break, about five minutes or
    9    A. I do recall a study. I don't recall you                   9 so.
   10 and I talking about it. But I do recall there is               10          Does that sound all right for
   11 such a study, yes.                                             11 everybody?
   12    Q. Okay. Are you able to recall -- or strike                12          MR. MEADOWS: Yeah, that's fine with
   13 that.                                                          13 me.
   14          Do you have any additional opinions                   14          THE COURT REPORTER: All right. We're
   15 you've developed concerning the Mandarino study                15 off the record at 10:34 a.m.
   16 since August of 2021?                                          16           (A recess was taken from 10:34 a.m. to
   17    A. No. If a -- if I had, I believe I -- if I                17            10:44 a.m.)
   18 had, I would have put that into my second amended              18           THE COURT REPORTER: We're back on the
   19 report.                                                        19 record at 10:44 a.m.
   20    Q. We also discussed at your August 2021                    20 BY MR. HEGARTY:
   21 deposition the 2019 Harper, Saed study.                        21     Q. Dr. Plunkett, I want to walk through the
   22          Do you recall that?                                   22 amendments to your -- at least many of the
   23    A. I don't really recall a specific                         23 amendments to your second amended expert report.
   24 discussion. I am aware of a -- of the 2019 Harper              24           You indicate you have that with you;
   25 and Saed that I -- then became a paper that I now              25 is that correct?
                                                           Page 75                                                          Page 77
    1 have discussed a little bit in my report, which is              1
                                                                  A. Yes, I have the version. And I -- and
    2 Harper, et al. Saed is the final author -- 2023.      2 like I said, the version I have I've marked --
    3 At least that's my understanding.                     3 highlighted in yellow what was different, so ...
    4      Q. Outside of what you have in your current      4     Q. And I'd previously designated that second
    5 report, do you have any other opinions with regard    5 amended expert report as Exhibit Number 5.
    6 to the 2019 Harper, Saed study?                       6            Would you please turn to paragraph 18
    7      A. Unless -- unless I expressed them to -- I     7 to start?
    8 can't think of her last name -- Jessica ... the       8     A. (Complied.) Yes, I'm there.
    9 attorney who --                                       9     Q. You added a line at the end of that
   10      Q. The attorney --                              10 paragraph that says, "This is true despite recent
   11      A. Yes, who took my -- took my deposition       11 changes to cosmetic law in 2022 (the Modernization
   12 back in October. She might have asked me questions   12 of Cosmetics Regulation Act of 2022 known as
   13 about that, so I'd refer you to that deposition      13 MoCRA)."
   14 testimony, if I said anything. But certainly, I      14            Why did you add that reference at the
   15 haven't added anything to my -- I think my MDL       15 end of paragraph 18?
   16 report about those specific things.                  16     A. Because I wanted to update so that
   17      Q. Are there any opinions you have formed       17 everyone understood that I'm aware of the fact that
   18 with regard to Johnson's Baby Powder or talcum       18 there have been changes to the law that have
   19 powder that you intend to testify that are not       19 occurred since August of 2021. And what was
   20 contained in your November 15, 2023, second amended 20 important -- the reason I say, "This is true
   21 report?                                              21 despite," it's the issue that -- if you go and look
   22      A. General areas, probably no, but I would --   22 at those changes and I think I talk about this a
   23 it's my understanding that you're aware that I would 23 little later as well -- there's still -- it's still
   24 be relying upon and point you to any of the          24 the responsibility of the company, not the FDA, to
   25 testimony I have given. In other words, any of the   25 substantiate safety.




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    1           There is no preapproval of a cosmetic               1            What recent FDA statements are you
    2 and cosmetic ingredients, even with the changes in            2 referring to?
    3 the law.                                                      3     A. So if you go to this footnote where
    4     Q. You may have just answered my next                     4 that -- it's the page where they're talking about
    5 question, but what comments do you have about these           5 the new law, they make the very specific statement
    6 changes that are pertinent to your opinions in this           6 that even with the changes in the law, manufacturers
    7 case?                                                         7 have a duty to not only establish safety, but to
    8           And, again, you may have just answered              8 conduct testing that is necessary to ensure safety.
    9 it, but please let me know if there's anything else           9            So that page, that web page, has that
   10 pertinent to your opinions as it relates to these            10 very specific information, and this is no different
   11 amendments besides what you just told me.                    11 than my original report. That was my opinion. That
   12     A. I think -- what I just said is my most                12 was the way it was, even before the changes to
   13 important observation by the law. I would also               13 the -- the law -- the regulations haven't been
   14 point out, however, unfortunately, even as of today,         14 codified -- but the changes to the law in 2022.
   15 the -- the provisions of the law, other than the             15     Q. Since August of 2021, have you kept
   16 facility registration, have not really been mandated         16 yourself up to date as far as what FDA has put on
   17 or implemented.                                              17 its website concerning talcum powder products?
   18           So this is a work in progress, even                18     A. Yes, I have tried to do that over time.
   19 though it passed in 2022. And I think if you                 19     Q. The FDA's website with regard to talcum
   20 look -- go to the FDA website, they've even put off          20 powder products, those comment on FDA's findings
   21 implementation of this law until 2025.                       21 with regard to the safety of talcum powder products;
   22     Q. Do these amendments, when enacted and put             22 is that correct?
   23 in place, give FDA authority different from or in            23     A. You'll need to show me what you're
   24 addition to what it already has?                             24 pointing to. They do talk about safety, but if you
   25     A. Gave them some additional authority in                25 have a specific statement, you'll need to point me
                                                         Page 79                                                   Page 81
    1 terms of what they can require but not with the               1 to it.
    2 issue of preapproval or of safety assessment. But             2     Q. Okay. Let me share my screen with you.
    3 yes, for example, they now have different recall              3 (Shared screen.)   Please let me know if you can see
    4 authority. That's an example.                                 4 what I'm showing you on my screen.
    5     Q. Please turn next to paragraph 21.                      5     A. (Examined screen.) I do see that, yes.
    6     A. (Complied.) Okay.                                      6     Q. You're familiar with this web page we're
    7     Q. You have added in this paragraph that with             7 looking at, which is the FDA's website on talc?
    8 regard to a manufacturer's "duty to conduct whatever          8     A. Yes. This was as of -- this was the
    9 testing necessary to ensure the safety of their               9 content that -- they haven't updated it since, I
   10 product and ingredients." The last line that reads,          10 believe, this date, which I think they list as
   11 "This has been confirmed in recent FDA statements as         11 December 2022.
   12 well."                                                       12     Q. Scrolling down in this part of FDA's
   13           Do you see that?                                   13 website (scrolling), it does make reference to
   14     A. I do not have that highlighted, so where              14 talcum powder and ovarian cancer, correct?
   15 are you? I need to find that. I apologize.                   15     A. Somewhere I believe it does, yes.
   16     Q. I'm at the end.                                       16     Q. In particular, this website says that as
   17     A. Ah. I -- yeah. I see it now. I'm sorry.               17 of December 7, 2022, "Published scientific
   18           Yeah, with Footnote 14?                            18 literature going back to the 1960s has suggested a
   19     Q. Yes. And that is new to -- to your                    19 possible association between the use of powders
   20 report; is that correct?                                     20 containing talc in the genital area and the
   21     A. Yes, because I'm referring to the issues              21 incidence of ovarian cancer. However, these studies
   22 related to the new law.                                      22 have not conclusively demonstrated such a link, or
   23     Q. And when you say "the issues related to               23 if such a link existed, what risk factors might be
   24 the new -- new law" -- or let me just start over             24 involved."
   25 again.                                                       25           Do you see where I'm reading?


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    1     A. I have -- I see that you have read that,       1     A. That's all right. That's okay. That I
    2 yes.                                                  2 believe may reference this page because some of
    3     Q. And is this -- you have seen this              3 the information that links through here goes to the
    4 statement before today, right?                        4 asbestos testing that the FDA has done.
    5     A. Yes, I've seen this statement before. And      5     Q. You do reference specifically in the body
    6 I would point to you that the statement by FDA is     6 of your report statements from Health Canada's risk
    7 consistent with my opinion when they mentioned        7 assessment, correct?
    8 possible association and why there should have been   8     A. Yes, I do. From their document, I do.
    9 a warning on the product.                             9     Q. You found that -- did you find that
   10     Q. So do you agree with this statement? That     10 statements from Health Canada with regard to talcum
   11 is, the statement I just read?                       11 powder and ovarian cancer were relevant to your
   12     A. I don't agree or disagree with this           12 opinions in this case?
   13 statement. It is FDA's statement. I'm not the        13     A. From the issues that I -- as I described
   14 causation expert. Others are addressing the issues   14 them, yes, I think I described it in my section
   15 related to the strength of the evidence. But as      15 where I'm talking about the known hazard of talc.
   16 I -- what I would use the statement for is -- I just 16 And so, yes, I do think it's relevant to my opinions
   17 told you. Is that it's -- when they describe it as   17 related to the hazard that exist to human health and
   18 a "possible association," that is the warning --     18 in the duty of a company to ensure that products are
   19 that is the standard for adding a warning that a     19 safe for consumers to be exposed to.
   20 company is supposed to comply with.                  20     Q. Do you agree that FDA and its finding are
   21     Q. Do you make a reference anywhere in your      21 as relevant to your opinions as Health Canada's
   22 second amended MDL report to this FDA statement? 22 findings, correct?
   23     A. No, although I do have in my reliance         23           MR. MEADOWS: Objection.
   24 materials things found at the FDA website, which     24     A. FDA's opinions were certainly part of the
   25 would -- this would be one of them.                  25 information that I'm aware of and I have considered
                                                   Page 83                                                  Page 85
    1     Q. Well, under your methodology for your            1 in forming my hazard opinions.      Yes, that is
    2 opinions in this latest report, did you consider or     2 correct. And my issues related to increased risk,
    3 factor into your opinions this statement?               3 yes.
    4     A. From the -- from the -- work that I did,         4 BY MR. HEGARTY:
    5 yes, as I just said to you. It is confirming the        5     Q. Well, do you agree that FDA's statements
    6 issue of the fact that there's a recognition of         6 as it relates to talc and ovarian cancer are as
    7 the -- of what FDA even has stated about the            7 relevant to your opinions as Health Canada's
    8 relationship.                                           8 statements relating to talc and ovarian cancer?
    9           And I'm saying to you it's                    9     A. No, I wouldn't say that. Not necessarily.
   10 consistent -- as I have stated, that's consistent      10 What Health Canada has done is provide you with a
   11 with the FDA standard for warnings. However, I'm       11 much more transparent discussion of all of the
   12 not a causation expert. So I think you should talk     12 literature that they've reviewed in a systematic
   13 to others to discuss whether or not they believe       13 matter -- systematic manner to do a risk assessment
   14 that that is an appropriate statement based on the     14 and safety assessment for talc.
   15 weight of -- their weight of the evidence from the     15           This one statement by FDA does not
   16 literature.                                            16 provide me with anywhere near the detail or the
   17     Q. You did not specifically reference in the       17 information that Health Canada does. So they're
   18 body of your second amended MDL report this            18 both relevant, but I wouldn't say it's as relevant
   19 statement from FDA's website, correct?                 19 because of the difference in the methodology or the
   20     A. I already answered that for you. I did          20 statement or the detail that I can get.
   21 not. I said -- but I do believe my reliance            21     Q. You do agree, though, that this statement
   22 materials point to the FDA website. That they          22 is relevant to a risk assessment with regard to
   23 even --                                                23 talcum powder and ovarian cancer?
   24     Q. Did you -- I'm sorry. I'm sorry to              24     A. No. I would say it's relevant to
   25 interrupt.                                             25 understanding what FDA has stated about the hazard




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    1 of the product.    And that's how I am pointing you      1 paragraph.
    2 to. I'm showing you that they are identifying a          2     Q. You are not an expert in the TEM tests
    3 hazard based upon the statement they have here.          3 conducted in 2019, correct?
    4     Q. When you say you're "showing" me that, but        4     A. I will not provide the expert opinions in
    5 you did not show me or the court that in the body of     5 that area, that is true. I -- I know what TEM is,
    6 your current MDL report, correct?                        6 but I'm not someone who would speak to that at
    7     A. I did not specifically point to this              7 trial. That's correct.
    8 statement. That is true. But I have many other           8     Q. You have no personal knowledge of how
    9 bases for -- for the statement I have made.              9 those tests were conducted, correct?
   10           Did I include this one in the body of         10     A. If by that you mean did I participate in
   11 my report? I did not. But it is not because it is       11 them, I did not. That is correct.
   12 irrelevant.                                             12     Q. Do you have any personal knowledge of any
   13           It's just that I pointed to actual            13 of the methods used by the testing lab to try to
   14 data and information that provides a more detailed      14 avoid contamination?
   15 analysis and also describe for you my method of         15     A. The only knowledge I would have is if they
   16 going through the information and actually looking      16 describe it in the report, and I don't recall that.
   17 at the actual studies versus just making a summary      17 So I -- but I was not there, so I wouldn't have been
   18 statement.                                              18 involved with the test or have that kind of personal
   19     Q. Please turn next to paragraph 29 of your         19 knowledge.
   20 report.                                                 20     Q. For purposes of your methodology in
   21     A. (Complied.) I'm there.                           21 preparing your second amended MDL report, did you
   22     Q. You added several statements in that             22 accept that any asbestos or talc fibers found came
   23 paragraph concerning the October 2019 testing of        23 from the bottle or bottles sampled?
   24 FDA -- by FDA -- by a lab hired by FDA.                 24     A. Yes, I would -- I would assume because
   25           And what followed was a recall of a           25 that's consistent with what FDA reported. I accept
                                                   Page 87                                                     Page 89
    1 lot of Johnson & Johnson Baby Powder, correct?           1 FDA's findings as they report them, and that is what
    2     A. I did add a discussion of the testing that        2 they report.
    3 FDA had done and their description of what they          3     Q. How did the test lab define "talc fibers"?
    4 found, yes, at -- at the second half of the              4     A. I'd have to go and pull the study to
    5 paragraph on page 19, paragraph 29.                      5 answer that kind of question.
    6     Q. How many bottles of Johnson's Baby Powder         6     Q. Do you recall if you compared the -- or
    7 did FDA test in connection with that finding -- or       7 let me back up.
    8 have tested, I should say?                               8           Did you look at the testing lab report
    9     A. So I can only -- I'll have to reread what         9 as a -- or other documents from the testing lab as
   10 is here. So they had two, I believe, in -- in           10 to how they define "talc fibers"?
   11 October of 2019. They did not test Johnson &            11     A. I looked at what was available through the
   12 Johnson Baby Powder in 2020, 2021. And they also        12 FDA website.
   13 did not test it in 2022.                                13     Q. Do you recall if you concluded that the
   14          And I think as I told -- I think I             14 definition that the lab applied for talc fibers was
   15 made this comment in my -- or statement in my           15 the same as your definition?
   16 deposition back in October that the testing in 2022     16     A. I didn't attempt to -- to make a
   17 for sure was done at a time when FDA was aware that     17 comparison because that wasn't the purpose of
   18 the company had stopped distribution of the product.    18 looking at this -- that wasn't the purpose of what I
   19 So that may have affected what was tested.              19 was doing in looking at the testing.
   20     Q. My question is specifically as to the 2019       20           Do you want me to explain?
   21 testing.                                                21     Q. No, I don't need that at the -- at the
   22          Do you know how many bottles of                22 moment. Thank you, though, for asking.
   23 Johnson's Baby Powder were tested in 2019?              23           Is it your methodology in this case to
   24     A. I believe there were two is what I'm             24 factor into your opinions about talc used in 2018
   25 saying to you based upon my sentence in that            25 and before test results from two bottles in 2019?




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    1     A. I don't think I understand your question. 1         A. I'd have to go to the report and see what
    2           Could you repeat it?                       2 they report. I don't recall.
    3           (Speaking simultaneously.)                 3     Q. Do you know what type of asbestos they
    4     Q. Sure. Do you consider relevant -- then --     4 reported finding?
    5 sure. Let me start over again.                       5     A. I think -- same answer. I'd have to go
    6           Do you consider relevant to your           6 and look.
    7 opinions as to any talc used before 2018 test        7     Q. As part of your methodology, did you
    8 results from talc on 2019 bottles?                   8 consider whether the volume of asbestos reported as
    9     A. I consider it relevant in one aspect.         9 being found in these test results was sufficient to
   10           Would you like me to explain?             10 cause ovarian cancer?
   11     Q. Please.                                      11     A. That's beyond the scope of what I did.
   12     A. So it's consistent with the fact that        12 I'm not a causation. I wasn't doing a causation
   13 the -- the records -- and this is not just -- this  13 opinion.
   14 isn't an issue of FDA testing.                      14     Q. As part of your methodology in preparing
   15           Looking at all the records I've looked    15 your second amended report and adding this part to
   16 at that go back in time in this case where it's     16 your report, did you review the information
   17 consistently showing -- it's consistent with the    17 Johnson & Johnson provided with regard to its
   18 showing that over time, there continue to be the 18 testing of the contents of the same bottles?
   19 presence of asbestos and/or talc fibers, fibrous    19     A. If it was on their website or it was a
   20 talc, within talc: either talc powder before it was 20 document that I -- was -- is something that was
   21 processed, talc powder after it was processed, or 21 produced to me or shown to me at trial, I have. I
   22 talc powder in bottles.                             22 don't recall. I do think there was information
   23           And I laid all that out and have          23 at -- on their website about some of this and maybe
   24 discussed that in great detail in my previous       24 even some discussion from them.
   25 testimony.                                          25           I went to the -- I presented at the
                                                    Page 91                                                           Page 93
    1           (Speaking simultaneously.)                     1 public hearing that was back in -- in February
    2     Q. What way -- I'm sorry.                            2 of 2020. And I believe that either J&J or someone
    3     A. Well, it's an issue -- I'm sorry. As I --         3 from the company, an expert who was speaking on
    4 the issue -- I guess the -- the short answer would       4 behalf of the company, may have talked about that.
    5 be the issue -- how I would say it to you is it's        5 But I don't recall the details.
    6 relevant because it's not surprising to me that you      6     Q. Let me share my screen with you. (Shared
    7 would have the existence of some talc with asbestos      7 screen.)
    8 or fibrous talc repeatedly over time.                    8             Did you review as part of your
    9     Q. As part of your methodology, what weight          9 methodology in this case and in adding this portion
   10 did you place on this 2019 test result finding?         10 that we're talking about to your second amended MDL
   11     A. I don't think I understand your question         11 report, the December 3rd, 2019, statement put out by
   12 because it's not just one finding. It's you give        12 Johnson & Johnson regarding the 155 tests that it
   13 weight to all of the evidence as it accumulates over    13 conducted by two different third-party labs?
   14 time.                                                   14     A. (Examined exhibit.) So this looks
   15           So I have in my hazard safety                 15 familiar. I can't tell you if it's in my reliance
   16 assessment, I gave weight to the fact that there was    16 list or not. But I -- if it -- if -- this might be
   17 analytical data over time consistently showing the      17 a document that I was shown at a trial. It looks
   18 presence of toxic constituents, such as asbestos,       18 familiar.
   19 fibrous talc, and different heavy metals.               19     Q. You indicated, though, you can't recall if
   20     Q. Do you know if any MDL plaintiff used            20 you include it on your reliance list?
   21 Johnson's Baby Powder from the lot tested in 2019?      21     A. No, I'd have to look. And you -- if it's
   22     A. I have no idea of that. Again, I'm not           22 there, it's something that I have -- I independently
   23 case specific, so I can't answer that.                  23 would have reviewed or relied upon. I -- again, it
   24     Q. Do you know what volume of asbestos in           24 looks very familiar. My guess is this is something
   25 talc fibers were found by the testing lab in 2019?      25 I have seen brought before me at trial by Ms. Brown.




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    1     Q. You included, as you mentioned -- as you            1           As part of your methodology, how have
    2 just talked about, a reference to the FDA's findings       2 you factored into your opinions about whether talc
    3 as to its testing of the two bottles from the lots         3 over the years has contained asbestos or fibrous
    4 that it -- that you reference.                             4 talc testing like what is reported here showing the
    5            Why did you not include the test                5 absence of asbestos in fibrous talc in Johnson's
    6 results that Johnson & Johnson provided with regard        6 Baby Powder?
    7 to its testing of the same bottles?                        7     A. My methodology has to do with collecting
    8     A. Because I don't have access to their                8 all of the information that I could from -- well, of
    9 reports in the same way that I do -- do when I wrote       9 course, the initial work I did was well before 2019.
   10 this report. I -- you know, again, I -- I --              10           Looking at the testing that has -- was
   11 this -- the whole part of this paragraph is to show       11 accumulated in the files by the company over time
   12 that there is evidence that asbestos has been found       12 and looking at the description of the methodology
   13 in talc over time. And that's consistent with what        13 that they use, looking at the context related to the
   14 has been in my reports.                                   14 limitations as FDA even describes it for the ability
   15            This section is called "Chemical               15 of the testing methods to be able to detect asbestos
   16 Components of Talcum Powder and Their Hazards." And       16 or fibers of talc.
   17 so that's what I'm doing here. I'm showing that --        17           This was the whole subject of that
   18 that indeed over time, they either have or haven't        18 meeting I participated in in February of 2020,
   19 detected asbestos in talc.                                19 understanding that there's more than just chrysotile
   20            But in addition to talc and asbestos,          20 asbestos that would be at issue based upon the
   21 if you want to talk asbestos, there's also other          21 occurrence of fibers in the talc powder. So all of
   22 things that I also discuss in my report, the issue        22 that information was part of my, quote/unquote,
   23 of fibrous talc versus different heavy metals. And        23 "weight of the evidence" for my hazard analysis and
   24 that's all I'm doing in the paragraph.                    24 the development of my opinions about increased risk.
   25            I'm not trying to -- I'm not the               25           But as you know, as I have told you --
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    1 person in the litigation who is providing all of the       1 I've told you specifically, Mr. Hegarty, during
    2 opinions on -- related to detection of asbestos.           2 deposition, you know, to me, the issue is not just
    3 It's my understanding -- and I've -- I've read the         3 asbestos.
    4 reports of some of those experts that will be              4          The issue is we have a complex mixture
    5 addressing these questions specifically for you.           5 of which all of the constituents within the mixture
    6     Q. Have you ever made a request for the           6 contribute, in my view, to the hazard posed to the
    7 testing documents from these 155 tests that are       7 consumer. And all of those things contribute to the
    8 discussed in this December 3rd, 2019, document?       8 increased risk, in my view, for ovarian cancer per
    9     A. I don't remember making a request, but I       9 the opinions I have expressed.
   10 also can't tell you that they're not somewhere in -- 10     Q. As part of your methodology, do you accept
   11 in the Bates numbered documents that I have          11 as true all of the negative test results you have
   12 reviewed. I can't answer that without looking.       12 seen from your document review that is negative for
   13     Q. Do you, as part of your methodology,          13 asbestos with regard to testing of Johnson's Baby
   14 accept as true the results reported of these 155     14 Powder?
   15 tests?                                               15     A. So I don't know what you mean by "true."
   16     A. I don't think I've formed that opinion.       16 I'd say to you -- I would say the scientific way.
   17     Q. Do you have any opinion with regard to the 17 I'd say that I have -- I have looked across all the
   18 validity or accuracy of the 155 tests referenced in  18 studies, and I have considered all of them if I see
   19 this December 3rd, 2019, statement?                  19 with the method some description of what was
   20     A. So I've not -- I have not cited to or         20 actually done and whether there was any quality
   21 stated such an opinion in my MDL report, and I don't 21 control done.
   22 believe I have it in prior testimony either. So      22           So, for example, many of the older
   23 that has not changed at this time.                   23 test results that are within the files that I have
   24     Q. How have as part -- let me start over         24 reviewed are ones where I see the laboratory that
   25 again.                                               25 did it. I see the date of the report on the




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    1 background, the quality, the method.                    1 constituents that include talc, both platy and
    2           So, yes, that goes into my weight of          2 fibrous, and as well as other things that can
    3 the evidence. And so I accept those as valid            3 potentially be there on -- at any given day on any
    4 results in terms of being able to consider them         4 given lot.
    5 because there is a basis scientifically for why         5    Q. Have you undertaken any methodology to
    6 the -- the studies were done in a manner that would     6 determine what percentage of Johnson's Baby Powder
    7 make them potentially reliable enough to include        7 sold over the years contain any amounts of asbestos
    8 within a weight of the evidence.                        8 based on the test results you cite to?
    9    Q. Are negative test results or test results         9     A. No, I haven't done that analysis.
   10 showing no presence of asbestos in Johnson's Baby      10     Q. You also make reference in this paragraph
   11 Power relevant to your methodology for your risk       11 to FDA testing of talcum powder products in 2020,
   12 assessment?                                            12 2021, and 2022, correct?
   13    A. I don't know what you mean by -- with that       13     A. Well, actually it was testing that was
   14 specific question.                                     14 reported, I believe, in 2021. But some of the
   15           Do you want me to try to answer it? I        15 testing may have been done in 2020, yes, and then
   16 think I -- I would -- where you're trying to go.       16 also 2022.
   17 But that -- that -- just the way you said it doesn't   17     Q. The products tested included loose and
   18 quite make sense to me.                                18 body powders, correct?
   19    Q. Sure. Do you consider test results on            19     A. Yes, they included samples from the
   20 Johnson's Baby Powder showing no asbestos relevant     20 marketplace that included a variety of different
   21 to your methodology for your risk assessment?          21 talc-containing cosmetics.
   22    A. I would say they're relevant to my               22     Q. These test results establish that talcum
   23 analysis. That -- that's -- I'm having a little        23 powder product -- that the talcum powder products
   24 problem with the methodology question. Methodology     24 tested did not contain asbestos, correct?
   25 wouldn't just be limited to looking at positive or     25     A. Well, I need you to be more specific.
                                                   Page 99                                                       Page 101
    1 negative.    The methodology is looking at what you     1 They didn't test body powders.
    2 can find, right? What is available.                     2          But are you asking for -- by Johnson &
    3           And then you -- then you weigh that           3 Johnson, are you just asking me about talc in a --
    4 information, and you analyze it based upon do you       4 either a loose powder, not just a body powder form?
    5 have enough information to know that the -- they        5 Is that what you're asking me?
    6 were done by a -- by a method that had the ability      6    Q. I'm talking about the tests themselves on
    7 to -- that's part of the problem with some of the       7 the products tested.
    8 older data.                                             8          Those test results establish that the
    9           Did they have the ability to detect           9 products tested did not contain asbestos, correct?
   10 certain things or not? What was the limit of           10     A. I'd have to go look and see if they were
   11 detection? What was the method of quantification?      11 all negative.  That I can't recall without looking.
   12 All that goes into it.                                 12 I didn't go into that in my -- in this paragraph, so
   13           But I -- to short-circuit this, that         13 I'd have to go and refresh my memory.
   14 is not the focus of my testimony. There are others     14     Q. As far as any test results that showed --
   15 I know that are going to be addressing the details     15 that reported negative, those test results show that
   16 on the methods used and the reliability of the         16 the products tested did not contain asbestos,
   17 methods. For me, this information is relevant for      17 correct?
   18 my weight of the evidence on hazard and increased      18     A. If the -- I would say it this way: If the
   19 risk, however.                                         19 test result reported states a negative, it would be
   20     Q. As part of your methodology, do you assume      20 based upon the method they used and the limited
   21 that all of the Johnson's Baby Powder used over the    21 detection they weren't detecting it. That is
   22 years by the plaintiffs in this litigation contained   22 correct.
   23 asbestos in some amount?                               23     Q. You are aware that there were talcum
   24     A. I have not assumed that, no. But I have         24 powder products tested, as you reference in this
   25 assumed that they're all a mixture of toxic            25 paragraph, by FDA after 2020 that did not -- where




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    1 they did not find asbestos.                              1            THE COURT REPORTER: All right. We're
    2           You agree with that, correct?                  2 back on the record at 11:19 a.m.
    3     A. Yes, but I believe most of what they              3            MR. MEADOWS: So, Mark, if you will,
    4 tested was not body powders. I believe they were         4 please, the documents that you're gonna put on the
    5 testing old school compacts with pressed powder to       5 screen, if you could drop those in the Chat for us
    6 put on the face, different things like that.             6 first so that Dr. Plunkett can have a chance to look
    7     Q. But as to these products, they were talcum        7 at those in total before you start asking questions.
    8 powder products, correct?                                8            MR. HEGARTY: Yeah. I appreciate
    9     A. Well, again, some people are gonna misuse         9 that. One, I don't necessarily know how to do that.
   10 that term as body powder. So I'm telling you that       10 And, two, I know it takes some time, but -- and --
   11 they're talc-based cosmetic products and that talcum    11 and I'll do that to the extent necessary. I promise
   12 body powder product were not tested. But they           12 I'll let her review the documents to the extent they
   13 were -- I'm aware that they did test talc-containing    13 need to -- she needs to.
   14 cosmetic products -- talc powder-containing cosmetic    14 BY MR. HEGARTY:
   15 products.                                               15      Q. I'm showing you --
   16     Q. What do you define as a "loose powder"?          16            MR. MEADOWS: I need you to figure
   17     A. So loose powder would be -- would be a --        17 that out because I -- I think it's important that
   18 well, loose powder, typically, would be a body          18 she have an opportunity to see these documents
   19 powder that you shake, right, out of something. But     19 before you start asking her questions.
   20 there is also powders that can be used on the face      20            (Speaking simultaneously.)
   21 that -- that can be applied through a brush where       21 BY MR. HEGARTY:
   22 you go over the surface and then, you know,             22      Q. Dr. Plunkett, do you see the document I'm
   23 different -- put different products on your face or     23 showing on my screen?
   24 other parts of your body.                               24            MR. MEADOWS: That's lawyer -- that's
   25           (Speaking simultaneously.)                    25 lawyer talk. So please -- please drop the document
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    1     Q. Is it your recollection -- I'm sorry. I'm         1 in the Chat.  And if you need to go take a lesson
    2 sorry to interrupt.                                      2 from somebody on it -- on how to do it, please do.
    3     A. It's different than a body powder. It's           3 We'll go off the record, and you go do that. We
    4 different than the body powder.                          4 need to see the document before you're gonna start
    5     Q. Is it your recollection that no loose or          5 asking her questions.
    6 body powders were tested by FDA in any of the test       6          MR. HEGARTY: So you're instructing
    7 results you reference in this paragraph?                 7 her not to answer my question unless I drop it in
    8     A. There were no Johnson & Johnson body              8 Dropbox -- in the Chat room?
    9 powders tested, as I have stated. In order to            9          MR. MEADOWS: We're not gonna go
   10 answer it more specifically, I have to pull the         10 forward with the deposition unless you can start
   11 tests out. That's what I'm answering for you. I         11 dropping these in the Dropbox so she can look at
   12 don't recall all the things that were tested at that    12 them.
   13 period of time. They had blushes and face powders       13          MR. HEGARTY: Okay.
   14 and a variety of other things tested.                   14          MR. MEADOWS: I mean, if you want to
   15     Q. Let me show you on my screen the FDA --          15 e-mail them to her, she can do that. But we want
   16           THE COURT REPORTER: Excuse me.                16 the document in our hand here or a way to look at it
   17 Excuse me, Mark. Mark, excuse me. Leigh is trying       17 before she's required to start -- before you start
   18 to join again, and I need to let her in. But can        18 asking her to answer your questions about it.
   19 you take --                                             19 BY MR. HEGARTY:
   20           MR. HEGARTY: Okay. Let's go off the           20    Q. Doctor, did you look at the test results
   21 record.                                                 21 put -- put on the website by FDA of its talcum
   22           THE COURT REPORTER: Okay. We're off           22 powder products tested?
   23 the record at 11:18 a.m.                                23    A. The ones I'm referencing in this
   24           (A recess was taken from 11:18 a.m. to        24 paragraph 29? Is that what you're asking me about?
   25            11:19 a.m.)                                  25    Q. Yes.


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    1    A. I did pull the documents and looked at               1     Q. Are you aware of any analysis EPA has done
    2 them, but I don't recall what's in them. So if             2 on any talcum powder product?
    3 you're gonna ask me questions about them, I would          3     A. On EPA done -- doing? Unless it's in the
    4 need to look at them again.                                4 Federal Register notice, I don't believe they have,
    5    Q. You do agree that all the products tested            5 no.
    6 were talc-containing products, correct?                    6     Q. What did the EPA cite or rely on, if
    7    A. Yes, based on the -- the -- based on the             7 anything, regarding any potential human health
    8 description of FDA at their website, yes.                  8 hazard of ovarian cancer as part of this proposed
    9    Q. All of those talc-containing products                9 rule?
   10 would have included talc from talc mines, correct?        10     A. I'd have to go back and look. You're
   11    A. I would assume they should have all -- I            11 asking a question that -- that -- with that, I'd
   12 don't think there's synthetic talc available              12 have to go back and look at the rule -- the
   13 commercially yet. So, yes, they should have been          13 document.
   14 mined.                                                    14          Do you want me to do that?
   15    Q. So you agree that talc can be mined and             15     Q. Would you have the -- do you have the
   16 used to make consumer products that contain talc          16 Federal Register document?
   17 that do not contain asbestos, correct?                    17     A. Yes, I do. That's one of the ones I read
   18    A. I think that's beyond the scope. I                  18 to you that I brought.
   19 haven't formed that opinion one way or the other.         19          (Speaking simultaneously.)
   20 I'm aware of the fact that there are testing showing      20     Q. And if you look at that document and you
   21 that at different times they don't find it under          21 cite two references --
   22 certain conditions.                                       22          MR. MEADOWS: You keep referring to
   23           But it is -- as I -- as I tell you in           23 it --
   24 my report -- and this is well -- well -- these are        24          THE COURT REPORTER: Excuse me.
   25 things that we've discussed multiple times at trial       25 Excuse me. Guys, guys. Ted. Ted. Ted. I can't
                                                     Page 107                                                    Page 109
    1 in the past.   This is not something since August          1 get anything that you're saying. You're completely
    2 of 2020.                                                   2 cut out. I can just -- I know that you are. So I'm
    3            But you -- you should know, I have the          3 not getting anything you're -- you're saying. I
    4 opinion that it's a -- there -- that talc is               4 need you by the speaker, sorry, of the computer.
    5 naturally occurring.    And when you mine it and you       5            MR. MEADOWS: Can you hear me now?
    6 process it, you end up with a mixture of                   6            THE COURT REPORTER: Yes, sir.
    7 constituents, some of which are toxic.                     7            MR. MEADOWS: Okay. Mark, you keep
    8    Q. You also reference in this paragraph the             8 referring to the proposed EPA rule, and I think the
    9 EPA; is that correct?                                      9 sentence makes clear that it -- maybe it was
   10     A. In paragraph 29?                                   10 proposed at once, but it's been made -- made final.
   11     Q. Paragraph 29, you make reference towards           11 BY MR. HEGARTY:
   12 the end to an EPA proposed rule?                          12    Q. Does your report refer to a proposed rule,
   13     A. Ah, yes. Yes, that's correct. I do.                13 Doctor?
   14     Q. And you have read that proposed rule,              14    A. It refers to both, and I printed out the
   15 correct?                                                  15 proposal. But it hasn't made final, and I give you
   16     A. Yes, I have.                                       16 this cite.
   17     Q. Did you --                                         17    Q. How are you using the EPA action that you
   18     A. That was one of the documents I told I --          18 reference in this paragraph as part of methodology
   19 I brought with me.                                        19 with regard to Johnson's Baby Powder and ovarian
   20     Q. And do you agree with EPA's definition of          20 cancer?
   21 "asbestos" as cited in the Federal Register that you      21    A. It has to do with the fact that they -- as
   22 reference?                                                22 my sentence says, "In addition to the actions taken
   23     A. I haven't formed an opinion one way or the         23 by FDA, the EPA has recognized the potential human
   24 other whether I agree or disagree. I'm aware they         24 health hazard posed by the presence of asbestos as
   25 define it.                                                25 an impurity in talc." And that's my citation to the




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    1 rule.                                                        1      Q. What from the Harper 2023 study do you
    2          I'm pointing out that it's -- there's               2 rely on for your opinions in this case?
    3 more than one regulatory agency that has identified          3      A. For this particular study, it's a -- it's
    4 a potential human health hazard posed by the                 4 a study that shows, as I cite in my bullet, that
    5 presence of asbestos as an impurity in talc.                 5 a -- talc has adverse effects. And this is a
    6     Q. And did FDA -- I'm sorry.                             6 cellular study.
    7           Did EPA make any finding with regard               7      Q. Are you finished with what you rely on
    8 to any potential human health hazard of ovarian              8 from this article for purposes of your opinions in
    9 cancer with asbestos?                                        9 this case?
   10     A. That's not -- to answer that question, I             10      A. In this particular paragraph, that's what
   11 need to go back and look what they state. They              11 I rely upon. I cite it later, I think, as well when
   12 focus, I believe, on -- on work -- on mesothelioma.         12 I talk about adverse effects and tissues a little
   13 But let me go and -- if you want me to answer that,         13 further. But if we're talking about this paragraph,
   14 I need to look.                                             14 it's cited there for that purpose. If you want to
   15     Q. How long would it take you to look?                  15 go into detail on Harper, I'll pull it out.
   16     A. Well, I need to pull up the -- the final             16      Q. Well, if we expand upon it, what in
   17 rule to see if it's changed. But I have the                 17 totality do you rely on from the Harper article for
   18 proposed rule. It'll take me a couple of minutes if         18 your opinions in this case?
   19 you want me to look and see.                                19      A. In -- in -- the totality of the article
   20     Q. We'll come back to that if we need to, if            20 shows that talc has adverse effects on macrophages.
   21 we have time. But sitting here today -- or let me           21 And in this particular -- I'm sorry. That's the Emi
   22 back up.                                                    22 study. This is the one that's looking at primary
   23           You reviewed that proposed rule to                23 human ovarian cancer cells.
   24 prepare for today's deposition, correct?                    24            So this particular study is looking
   25     A. And the -- well, I also reviewed the final           25 at -- like Dr. Saed showed in his earlier work as
                                                       Page 111                                                  Page 113
    1 rule.  That's correct.                               1 far back as, I think, 2017 -- that talc has adverse
    2     Q. And do you recall any reference in that       2 effects on this these cells that are consistent with
    3 proposed rule or final rule to any evaluation of a   3 types of effects that can lead to cellular changes
    4 health hazard that FDA did with regard to asbestos 4 associated with the progression into cancer.
    5 related to ovarian cancer?                           5     Q. Are you an expert in the -- the assay used
    6     A. I don't recall. I'd have to look.             6 by the authors in this study?
    7     Q. Do you recall that their risk assessment      7     A. I don't know what you mean by an "expert
    8 or -- their health hazard assessment was limited to  8 in the assay." Actually, though, this particular
    9 lung and mesothelioma risks?                         9 paper, by I way, I did cover to some extent with --
   10     A. I don't recall it was limited to that, but   10 in my previous deposition. But -- so I'd point you
   11 I know that was the focus. That is true. That I     11 to that. But I don't know what you mean by an
   12 recall.                                             12 "expert in the assay."
   13     Q. Was it limited to a particular type of       13           I'm an expert in mechanisms that have
   14 asbestos?                                           14 been associated with an increased risk of cancer
   15     A. I believe they looked at multiple types of 15 in -- in cells -- human cells and tissues, yes. But
   16 asbestos, but I'd need to go back and look. Again, 16 I'm not -- I don't -- have not ever performed this
   17 you're -- that's beyond the scope of the way I'm    17 assay.
   18 citing the document. But I can go and look.         18           Is that what you're asking me?
   19     Q. Please turn to paragraph 40 of your          19     Q. Well, what significance do you place on
   20 report.                                             20 the findings in this paper as to p53 and Ki-57?
   21     A. (Complied.) Okay. I'm there.                 21     A. I -- I put no specific evidence on that
   22     Q. You cite in that paragraph two new           22 particular finding, if that's what you're asking me.
   23 references: Harper 2021 and Emi 2021, correct?      23 Again, as part of my overall evidence for the fact
   24     A. Yes, but there's a typo. It should be        24 that the effects -- adverse effects that talc has on
   25 Harper, et al., 2023.                               25 cells and tissues include the types of effects you




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    1 would expect to see for a toxicant or a particle           1 but the papers -- I would point you to the paper
    2 that can initiate and then lead to cancer                  2 where, I believe, he discloses that conflict.
    3 development in tissues.                                    3    Q. Well, why did you refer to -- in your
    4    Q. You mentioned that you discussed the --              4 report to studies funded by Johnson & Johnson or
    5 the Harper paper at your October 2023 deposition?          5 PCPC, but you did not refer to your -- in your
    6     A. Yes.                                          6 report to this study being funded by counsel for
    7     Q. Have you done any further analysis or         7 plaintiffs?
    8 review of anything related to that study since your  8     A. It's a really long answer.
    9 October '23 -- 2023 deposition?                      9            Would you like me to go ahead? I can
   10     A. No.                                          10 tell you why very specifically. We've discussed
   11     Q. You were shown --                            11 this at trials, in fact, as well.
   12     A. Other than described -- other than           12     Q. How long of an answer is it because my
   13 described it and add it into this report.           13 time is limited.
   14     Q. You were shown at that deposition comments 14       A. Well, that's why I'm -- I'm saying to you.
   15 of reviewers.                                       15 I believe I've told you this -- or I may not you
   16           Do you recall that?                       16 specifically, Mr. Hegarty. I apologize. I've said
   17     A. The confidential comments back and forth     17 this at trial.
   18 between the editors and the reviewer -- of the      18            The issue is with the PCPC study and
   19 reviewers, yes. To the author, yes, I have seen     19 the work that was done was those studies were
   20 those.                                              20 being -- often being done or being initiated in
   21     Q. Have you done any further review of those    21 order to essentially change the narrative that the
   22 comments since your October 2023 deposition?        22 industry was trying to change around talc.
   23     A. No. Again, it's not the kind of thing        23            So it's a different issue, in -- in my
   24 that a scientist would have access to typically. As 24 view, than an investigator who may have been paid
   25 I told Ms. Davidson that the paper was published in 25 to -- to do a scientific study. And the study has a
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    1 a peer-reviewed journal that underwent peer review.        1 result, and he reports it as -- along with his
    2 And as a result, it's -- it is an appropriate              2 conflict.
    3 relevant paper to consider as part of weight of the        3             I would also -- I think I also pointed
    4 evidence.                                                  4 out in my testimony that there are papers by PCPC
    5    Q. Is it relevant as part of your methodology           5 funding that -- that were not disclosed as part of
    6 in citing this paper whether one of the authors was        6 the author's disclosure.    And so, again, I -- I have
    7 a paid -- is a paid plaintiffs' expert in this             7 to point you to my testimony.
    8 litigation?                                                8             I think this -- on direct and both on
    9     A. It is part of what you consider when you            9 cross, I've spent a lot of time talking about issues
   10 look at -- at the papers. Absolutely. It doesn't          10 related to the studies and the investigations and
   11 mean that it disqualifies a particular paper. Like        11 the work that was done by industry to essentially
   12 it just -- like it would not necessarily disqualify       12 block the truth about the hazard posed by talc.
   13 it if it had been written by a defense expert             13    Q. What from the Emi study do you rely on for
   14 either.                                                   14 your opinions?
   15     Q. In fact, you reference in various parts of         15     A. For the Emi study, that was the one on
   16 your report studies that were funded by PCPC,             16 macrophages.     So this study is, again, showing that
   17 studies funded by Huncharek and Muscat, among             17 there's an adverse effect in a cell, a macrophage
   18 others.                                                   18 cell, by the exposure to talc. They also compared
   19            Do you recall that?                            19 it with titanium dioxide. I think this is the study
   20     A. Yes, I do.                                         20 where they looked at it both with and without the
   21     Q. Do you make any reference in this part --          21 presence of estrogen as well.
   22 in your report to the fact that this study was            22           What was interesting about this study
   23 supported by -- or was supported by plaintiffs'           23 was it's just as consistent showing that talc has
   24 counsel in this litigation?                               24 adverse effects. Like other studies that looked at
   25     A. I don't make that statement in my report,          25 macrophages, they also are repeating, showing




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    1 reproducibility of the ability of talc to cause               1   They are an appropriate model to use
    2 toxic effects to the macrophage cell.                 2 to look at predicting the effects of mammalian cells
    3           And if you, again, remember my              3 to adverse effects with exposure to chemicals.
    4 testimony at trial, we've shown an animation video    4 They're not gonna be exactly the same. But they --
    5 where I've talked about the fact that toxic effects   5 they are a valid model, and there have been others
    6 of talc on macrophages would -- would be part of      6 that have looked at mouse models -- mouse macrophage
    7 this overall process where you get to an initiation   7 models in the same way.
    8 of the -- the carcinogenesis through -- and I also    8     Q. The changes reported then publish with
    9 think it had a -- I have a figure where I talk about  9 regard to human macrophages.
   10 carcinogenesis and I talk about the role of          10           In other words, how do you think -- go
   11 macrophages.                                         11 ahead. I'm sorry.
   12           So this data's relevant to that.           12     A. I believe there is a -- oh, no.
   13     Q. What toxic effects did this paper show on     13           I think one of my papers -- and I have
   14 macrophages?                                         14 to pull them back out. Let me -- if you want me to
   15     A. It shows that it had -- it changes these      15 look in my report. I believe that there is a paper
   16 transcription and the function of the macrophages.   16 that I have reviewed and relied upon that talks
   17 And that -- and if -- if you want more details, I'll 17 about human macrophages.
   18 pull it back out because I don't -- I can't tell you 18     Q. Let me be more specific.
   19 off the top of my head all the specific endpoints.   19           Have these same tests been done as to
   20           But it is looking at the function of       20 human macrophages?
   21 macrophages and their inability to respond in        21     A. The exact same methodology? I haven't
   22 certain ways when they've been -- when they have -- 22 seen them report that yet. It doesn't mean that
   23 when there's -- there's an exposure to talc,         23 they won't, but I haven't seen that -- that as -- as
   24 particularly in the -- in the presence of estrogen,  24 exactly what they did. No, I can't answer that
   25 I believe, as well.                                  25 without looking. But I haven't seen it that I
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    1     Q. Did this show the same changes in function             1 recall.
    2 resulting from titanium and dioxide exposure?                 2    Q. And as far as Emi -- the Emi paper, did
    3     A. Titanium saw some of the -- some of the                3 you assess or evaluate the strengths and weaknesses
    4 same changes, yes. So they talked about particles,            4 of the study?
    5 and I talked about that in my testimony. The issue            5     A. From its -- from my review of the paper, I
    6 of there can be an effect due to a particle alone.            6 always do.    I read -- I read the materials and
    7           But there's also very specific things               7 methods. I have read the overall discussion, look
    8 about talc that are unique as compared to titanium            8 at the conclusions whether or not -- my typical
    9 dioxide. The literature hasn't shown or hasn't gone           9 weight of the evidence, yes.
   10 into the same routes as we have with the -- the              10           It would go into my looking at the
   11 abundance of the literature looking at this issue.           11 quality of the paper, the way they describe the
   12           What is the plausible mechanism behind             12 data, whether they do appropriate statistics or not,
   13 the ability of talc -- baby powder in particular, in         13 whether or not they can do a statistics or not based
   14 a mixture, chemical mixture -- to induce changes             14 on the endpoints they -- they report.
   15 that can lead you to an increased risk of cancer.            15           So, yes, I did do that.
   16     Q. The Emi paper looked at mouse macrophages,            16     Q. Can you cite any study showing an
   17 correct?                                                     17 association between the findings from the Emi paper
   18     A. I'll have to pull it out. I think that's              18 and ovarian cancer risk?
   19 correct, but hold on.                                        19     A. A single study?
   20           (Examined exhibit.) Yes, they looked               20     Q. Or other numbers.
   21 at mouse cell lines. That's correct.                         21           (Speaking simultaneously.)
   22     Q. Do mouse macrophages act the same as human            22     A. On the macrophages -- do you want me to
   23 macrophages?                                                 23 explain why?
   24     A. So do you want an entire treatise about               24     Q. No. I just want you to tell me if you can
   25 changes and differences?                                     25 cite to a study that is shown an association between




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    1 the findings in the Emi paper and ovarian cancer         1  A. Yes, and I added a clause because I'm
    2 risk?                                                 2 pointing you to the part of that hot list that talks
    3     A. And I'm saying to you that doesn't make        3 about perineal use of talc.
    4 sense.                                                4     Q. And to date, Canada has not implemented
    5           Do you want me to explain why?              5 any restrictions on talcum powder as it relates to
    6     Q. My question does not make sense?               6 ovarian or other cancer, correct?
    7     A. No. What you're asking for would not make 7          A. What do you mean by "restrictions"? Have
    8 sense for a scientist to report.                      8 they banned it? Is that what you're saying?
    9           Would you like me to explain why?           9     Q. Well, have they restricted its use or
   10     Q. You're not aware of any science --            10 required any warnings on any talcum powder product
   11 scientist reporting that the type of findings in the 11 as it relates to ovarian cancer?
   12 Emi paper are related to ovarian cancer risk?        12     A. Well, that's what this hot list is meant
   13     A. I'm saying to you that's not an               13 to be. It's -- it's meant to be a -- a description
   14 appropriate question to ask.                         14 of -- for consumers to see what they have -- they,
   15           Would you like me to explain why?          15 Health Canada -- has identified as a risk associated
   16     Q. How long would it take you to explain why? 16 with use of a product.
   17     A. Hopefully not too long.                       17           But if -- if you're asking about
   18     Q. Why isn't it an inappropriate question?       18 requiring warning on a bottle, they've -- this --
   19     A. So you're asking a -- about a cellular        19 these products are no longer distributed in Canada.
   20 study looking at transcription and epigenetic        20 So I -- I -- that would also -- doesn't make sense
   21 changes, and then you're asking to extrapolate that  21 based on the -- when the decision was made.
   22 directly to ovarian cancer.                          22     Q. Well, the reference you've added is to
   23           And I'm saying to you: No one single       23 potentially revising or amending its talc listing is
   24 paper, one single opinion can do that. Instead you   24 subject to a comment period, correct?
   25 have to look across all of the evidence you have and 25     A. Yes, that's correct.
                                                  Page 123                                                    Page 125
    1 look at what you know about the mechanism, whether       1     Q. And did you submit any comment?
    2 or not this fits.                                        2     A. No, I did not.
    3           So the question you're asking me               3     Q. Do you know anyone who did?
    4 just -- I mean, it -- I -- I would never ask that        4     A. It's possible. I remember talking about
    5 question, as a scientist. That makes no sense. I         5 this with someone at a deposition in the past.
    6 would never expect to find a paper that says it the      6 Maybe it was the deposition I gave with Mr. Smith in
    7 way you're saying it.                                    7 St. Louis, not with you, where we went over this --
    8           What I would say instead is this is an         8 these -- the Canadian report and the initial
    9 appropriate paper. And it is entirely consistent         9 Canadian actions.
   10 the way a scientist would go about the process          10     Q. Now my question is simply limited to the
   11 building from the bottom up, looking at, you know,      11 proposed amendment to the hot list.
   12 what is happening in cells and tissues. Then what's     12           You agree that that's subject to
   13 happening in tact animals.                              13 comment, correct?
   14           I've talked about this before in my           14     A. And I answered that for you. And I'm
   15 testimony. And then looking at the correlation of       15 saying I'm -- I'd have to go back and look if I
   16 all of that information and the concordance of that     16 know. I believe this issue came up, though, in
   17 information with what we know about how ovarian         17 another deposition. And I'd have to go back and
   18 cancer can occur in humans.                             18 look. I'm -- I'm sure I know someone who has made a
   19     Q. Please turn to paragraph 41 of your              19 comment, yes, because I'm aware of a number of
   20 report.                                                 20 scientists who involve -- who are involved in this
   21     A. (Complied.) Okay.                                21 area.
   22     Q. You make reference to Health Canada or           22     Q. And what you're referring to in your
   23 Canada proposing to add -- or -- or amend its talc      23 report is a proposal, correct?
   24 listing on its cosmetic ingredient hot list; is that    24     A. They still have -- have not finalized it.
   25 correct?                                                25           Is that what you're asking me? That


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    1 is a --                                                  1  A. (Complied.) Yes.
    2     Q. Well, that's another way of asking it.        2      Q. You make reference in this paragraph to
    3     A. Well, that's how I would put it. That is      3 the Woolen 2022 article?
    4 correct. It is -- it has not been -- and it's not    4      A. Yes, it's one of the -- one of the three
    5 been identified yet as final.                        5 new ones that are -- are listed in this paragraph.
    6     Q. You cannot say, sitting here today, that      6      Q. And what does the Woolen 2022 article
    7 the final entry for talc is going to be what has     7 contribute to your opinions in this case?
    8 been proposed, correct?                              8      A. Well, it's, as cited in this paragraph,
    9     A. I can -- I can't tell you for sure. But I     9 it's the idea that -- that scientists have found
   10 can tell you that I believe it will, based upon my  10 that -- have -- have reported on an association of
   11 experience with how this process goes and the fact 11 an increased risk of ovarian cancer in women exposed
   12 this is -- this is something that hasn't changed in 12 to talc.
   13 the two years, I think, that it's been on the -- on 13            So it is a study that was done. And
   14 the Health Canada website.                          14 what was important about this -- I cite it later in
   15     Q. Please turn to paragraph 64 --               15 my report because it also reports -- I believe this
   16     A. Health Canada is consistent with their --    16 is the one that reports on frequency abuse. So the
   17 their screening assessment as well.                 17 issue of more frequent users being at a -- at a risk
   18     Q. Please turn to paragraph 64.                 18 of exposure -- I mean, sorry, at a risk of cancer
   19     A. (Complied.) Yes, I'm there.                  19 due to their exposure to talc.
   20     Q. You added a reference in that paragraph to 20        Q. As you just mentioned, this paper looks at
   21 Ding 2021, correct?                                 21 frequency of use, correct?
   22     A. Yes, that's correct.                         22      A. Yes, that's correct.
   23     Q. What does that paper add, or -- or in what   23      Q. It does not look at duration of use,
   24 way do you rely on that paper for the opinions you 24 correct?
   25 set out in this paragraph?                          25      A. It talks about frequency. And then -- and
                                                   Page 127                                                  Page 129
    1     A. So these citations are all talking about          1 the authors talk about why they did what they did,
    2 the fact that there appears to be a consensus on a       2 but that's correct.They talk -- their metric is
    3 general mechanism about chronic inflammation and         3 frequency.  I think greater than two times a week.
    4 cancer, including ovarian cancer.                        4     Q. So looking just at frequency as a valid
    5           It's another -- a more recent review           5 measure of whether an association exists between
    6 paper. I think the -- the most recent things that I      6 talcum powder use and ovarian cancer, correct?
    7 had cited here as far as a review paper may have         7     A. Well, I would say frequency and duration,
    8 been 2015. So I'm citing something more recent           8 as I describe in my report, are valid measures. And
    9 showing that over the years, that this is a              9 in the Woolen paper, she relies on studies that
   10 mechanism that appears to be a consensus or accepted    10 looked at both duration as well as frequency.
   11 by the community in terms of ovarian cancer.            11          But she reports as her metric the
   12           The idea that chronic inflammation and        12 way -- the selection of studies that had at least
   13 oxidative stress are mechanism underlying certain --    13 exposure for two times a week. And all of those
   14 certain forms of ovarian cancer.                        14 people in those studies had years of exposure if I
   15     Q. The Ding paper makes no reference to             15 remember. You can -- we can look at them.
   16 talcum powder or talc use, correct?                     16          She has 10, 12 studies she relies upon
   17     A. I believe that's true, yes. Again, it's          17 and looks at. So it's not just two times a week for
   18 an overall mechanism, and I cite -- as I cite to the    18 two weeks. It's much longer than that.
   19 issue of chronic inflammation, oxidative stress, and    19     Q. And you just said the metric -- the only
   20 ovarian cancer.                                         20 metric reported was the frequency of use, correct?
   21     Q. As you mention, this is a review paper.          21     A. Well, the only metric that she talks about
   22           It includes no original data, correct?        22 when -- when she -- so when the -- the Woolen
   23     A. It cites to original data, but it is -- it       23 authors report their studies, they talk about
   24 is a review paper. That is what review papers do.       24 frequency in terms of greater than two times a week.
   25     Q. Please turn to paragraph 72.                     25          But they do a very good job of laying


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    1 out for you what the basis of their data is.    And   1    Q. If Patricia Moorman is an MDL expert for
    2 their data includes studies that look at duration     2 the plaintiffs in this litigation, is that a
    3 and frequency.                                        3 sufficient disclosure for her?
    4           And these -- the -- the individuals in      4    A. I haven't formed an opinion one way or the
    5 the studies that are included in their analysis are   5 other. She tells me that she has -- has -- she's
    6 exposed for a very long period of time. Her           6 disclosed that she's working in litigation. So to
    7 whole -- it -- it -- I don't -- I don't know the      7 me, I don't think it would matter to me whether she
    8 person personally.                                    8 was plaintiffs or defense.
    9           But, to me, when you read the article,      9          She's disclosed that she works with
   10 what's important about it is they're looking at      10 law firms, and so that is part of your evaluation.
   11 trying to assess and identify a signal -- what       11 She's one of a group of -- of authors, though, so
   12 cancer signal there would be in people that have     12 she's not the only author in there. And if she's
   13 been exposed to a -- for a long period of time or to 13 the only one that has that affiliation, that's also
   14 a higher potential dose.                             14 part of what you consider.
   15           And "dose," as I say in my report, is      15    Q. So as you said, you don't have an opinion
   16 a function of both frequency and -- and duration of 16 as to the adequacy or sufficiency of that
   17 use.                                                 17 disclosure; is that correct?
   18     Q. You also mention in this article a 2021       18    A. I have not formed an opinion one way or
   19 Davis paper, correct?                                19 the other, no.
   20     A. Yes. Yes, that's correct.                     20    Q. You also cite in this part of your report
   21     Q. And what from that paper do you rely upon     21 the Phung 2022 article?
   22 for your opinions in this case?                      22    A. Yes.
   23     A. Just the overall findings that it's a --      23    Q. What is it from the Phung 2022 article
   24 one of the largest studies that looked -- has looked 24 that contributes to your opinions in this case?
   25 at this issue of ethnicity and looked at             25    A. It's, again, another one of the studies
                                                     Page 131                                                    Page 133
    1 African-American versus white women.                       1 that has come out more recently that shows that
    2           It -- it is consistent with other                2 there's an increased risk of cancer in women exposed
    3 studies that appeared in the literature. So I'm            3 to talc.
    4 adding these, not that any one of these papers --          4            This article also has a nice
    5 any one of these papers by themselves is the most          5 discussion about -- we were talking a little earlier
    6 important, but they add to the weight of the               6 about the Ding paper and inflammation. It's
    7 evidence, from my opinion, that there's an increased       7 talking -- when it talks about the issues of
    8 risk of cancer with exposure to talc with perineal         8 underlying mechanism, as it has on page 964, a nice
    9 use.                                                       9 discussion of the role of inflammation in ovarian
   10     Q. One of the authors is Patricia Moorman,            10 cancer.
   11 correct?                                                  11    Q. This is a case-control study, correct?
   12     A. To answer that, I've got to pull it out.           12    A. Yes, that's correct.
   13 Hold on just a second. Yes, that's correct.               13    Q. What does the findings with regard to --
   14     Q. Are you aware that she's an expert, as you         14 with and without endometriosis contribute to your
   15 are, in the MDL litigation?                               15 opinions in this case?
   16     A. No, I don't know the names of all the              16    A. I haven't formed an opinion one way or the
   17 other experts.                                            17 other that -- about endometriosis by itself. So
   18     Q. If you look at the author's disclosure on          18 you -- I would defer you to the epidemiologists that
   19 page 1667, her disclosure says (as read) "P. G.           19 I know are addressing those other risk factor
   20 Moorman reports grants from Duke University during        20 issues.
   21 the conduct of the study, as well as personal fees        21          MR. HEGARTY: We've been going about
   22 from Law Firm submitted -- Law Firm outside the           22 another hour and ten minutes. Let's go ahead and
   23 submitted work."                                          23 take another break.
   24           Do you see that?                                24          Go off the record.
   25     A. Yes.                                               25          THE COURT REPORTER: All right. We're


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    1 off the record at 11:53 a.m.                                    1 there that they knew existed.
    2            (A recess was taken from 11:53 a.m. to               2    Q. And do you intend to testify that the --
    3             12:02 p.m.)                                         3 that Johnson's Baby Powder should have listed on its
    4            THE COURT REPORTER: All right. We're                 4 labeling asbestos, fibrous talc, nickel, chromium,
    5 back on the record at 12:02 p.m.                                5 and cobalt?
    6            MR. HEGARTY: Dr. Plunkett, please                    6    A. That is not what I'm stating here. I
    7 turn to paragraph 105 of your report.                           7 would -- I would -- again, I would point you to what
    8     A. (Complied.) Yes, I'm there.                              8 I've specific -- what I'm specifically saying.     I'm
    9 BY MR. HEGARTY:                                                 9 specifically -- specifically saying to you with --
   10     Q. The last sentence of that paragraph makes               10 with the issue of these toxic constituents that
   11 reference to the terms or phrases "misbranded                  11 their presence is consistent with the FDA's
   12 product" or "adulterated product."                             12 definition of a misbranded or adulterated product.
   13            Do you intend to testify in this case               13           Where I have stated for you a more
   14 that Johnson & Johnson's talcum powder products met            14 positive or a, I guess, a more -- a different
   15 the regulatory definition of "misbranding"?                    15 opinion about what's on the labeling, as I've told
   16     A. I don't know what questions I'll be asked               16 you, that they should have added -- at least to add
   17 at trial, so I can't answer that.                              17 a warning to their product based on what they knew
   18            If asked the question, I would say                  18 many, many, many years ago, back in the ...
   19 that -- that the weight of the evidence, the                   19           Oh, gosh. I think I've -- we've --
   20 information have I -- that I have seen as I describe           20 we've talked about what they knew as far back as the
   21 here, would be consistent with the FDA definition.             21 1930s, '40s, and '50s in terms of what could go on
   22 That's the word I would use.                                   22 the label.   And I still stand behind all those
   23     Q. Well, let me -- let me go to what you did               23 opinions I've expressed at trial and deposition
   24 say.                                                           24 about the warnings that needed to go on.
   25            Are you saying in this paragraph that               25    Q. Can you cite for me any cosmetic product
                                                          Page 135                                                         Page 137
    1 Johnson & Johnson's talcum powder products met the              1 that -- that makes reference to any of the toxic
    2 regulatory definition of "misbranding"?                         2 constituents you reference in this paragraph?
    3    A. I'm saying that -- that the -- as I have                  3
                                                                  A. That's beyond the scope of what I did.
    4 discussed here, the -- the talc constituents, the               4
                                                                  Q. Can you cite for me any food or beverage
    5 fact that the -- those talc -- toxic constituents     5 product that makes reference to any of the toxic
    6 are not on the label would be consistent with the     6 constituents you reference in this product -- in
    7 FDA's definition of a misbranded product as well as   7 this paragraph?
    8 an adulterated product. I would state it              8     A. That was also beyond the scope of what I
    9 specifically how I have it here.                      9 did.
   10    Q. Do you intend to testify by this statement     10     Q. Is it your opinion -- let me -- let me
   11 that Johnson & Johnson violated FDA regulations with 11 restate that.
   12 regard to labeling or content of its talcum powder   12           Are you saying by this paragraph that
   13 product?                                             13 Johnson & Johnson Baby Powder and Shower to Shower
   14    A. So that's not typically the way the            14 since the 1950s have been misbranded under FDA's
   15 question would be asked of me. And so, as you would 15 cosmetic regulations?
   16 see here, I don't believe that that is something I   16     A. No, that's not what I'm stating for you.
   17 have expressed at this period -- at this point in    17           Go to what I am stating. I am telling
   18 time, no.                                            18 you that -- that I -- I am very specific in -- in --
   19    Q. What should the label have said with           19 about what I am stating here based upon my opinions
   20 respect to each of these "constituents," as you call 20 that I have formed to date.
   21 them?                                                21           And my opinion would be that the
   22    A. So I haven't formed an opinion what the        22 presence of these toxic constituents, such as -- I
   23 label language specifically should state, as I've    23 list them for you -- in Johnson & Johnson's Baby
   24 told you before. But in the issue of the             24 Powder and their failure to list them would be
   25 constituents, it's the issue of listing what was     25 consistent with the definition.




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    1      Q. Can you cite for me any published             1 done today.
    2 authority that you rely on to say that having         2           Is it possible that the answer to that
    3 asbestos, fibrous talc, nickel, chromium, and cobalt  3 question be yes? But it's beyond what I've done.
    4 in the amounts you say in your report and not having  4     Q. If there is a cosmetic product that
    5 them listed in the label meet FDA's definition of     5 contains any level of these constituents that's not
    6 misbranding?                                          6 referenced in the label, is that product misbranded?
    7      A. I can't -- I haven't done a look for such.    7     A. Say that again.
    8 I -- I don't know that there would be such.           8     Q. If there is a cosmetic product that had
    9            All I can tell you is that in my           9 any level of the toxic constituent you reference in
   10 original report for the MDL, in paragraph 19 -- and  10 this label and that those constituents are not
   11 it's also in this report -- I define for you what    11 listed in the label, is that product misbranded?
   12 misbranding and adulteration are.                    12     A. I haven't formed that opinion.
   13            And I'm observing for you here, based     13           Again, I would say to you that the
   14 upon -- stating for you here, based upon what we     14 presence of these toxic constituents, if they
   15 know, that the presence and the lack of description  15 weren't in a label, could meet or would potentially
   16 would -- would be consistent with the definition     16 meet the FDA definition of misbranding. But I
   17 that FDA gives to miss -- a misbranded product or an 17 haven't formed an opinion as you're stating it.
   18 adulterated product.                                 18     Q. Have you ever published a paper or an
   19            And that's all I'm trying to say.         19 article describing when a consumer product is
   20      Q. What is your standard for the volume of      20 misbranded?
   21 each of the -- each of these constituents in a       21     A. I don't think the -- the papers and
   22 product that constitutes adulteration?               22 articles or book chapters I've written on regulatory
   23      A. So for any particular constituent, it may    23 matters address this specifically, no.
   24 or may not be a volume. It depends on what that      24     Q. Same question as to adulterated: Have you
   25 constituent does. So if it's a constituent --        25 ever written -- have you ever published any paper or
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    1 and -- and what kind of a product it is.                 1 article -- or article describing when a product, in
    2           So, again, I haven't formed an opinion         2 particular a cosmetic product, is adulterated?
    3 about any particular constituent in any known volume     3    A. I don't think I have. I -- I'd have to go
    4 at this particular point in time.                        4 back and look at what I said in some of my papers
    5           But, again, the mere presence of               5 where I talked about silicone products.   But I don't
    6 these -- of a known carcinogen, such as asbestos,        6 recall that, no.I think that probably the answer
    7 for example, and the presence of known carcinogens       7 to that is probably no.
    8 that are certain heavy metals -- and, again, I've        8     Q. Have you ever lectured to your -- your
    9 talked about this at trial before, what we know          9 peers the standards for when a cosmetic is
   10 about those and the hazards they posed.                 10 misbranded?
   11           Again, it would be consistent with the        11     A. I have given lectures to students on
   12 FDA definition of a misbranded and/or adulterated       12 misbranding in either -- graduate students or
   13 product, regardless of --                               13 actually even -- we -- I talked about this years ago
   14     Q. Is it your opinion -- I'm sorry to               14 in some of the classes I did for law students and
   15 interrupt.                                              15 graduate students around products of biotechnology
   16     A. Okay. Regardless of what particular level        16 because I -- we talk about adulteration and
   17 you want to point to, if what you're asking me, are     17 misbranding for all classes of compounds, not just
   18 there standards put in certain products for certain     18 cosmetics. All classes of products, not just
   19 things, there are. Not for asbestos, however, in        19 cosmetics.
   20 terms of consumer products.                             20     Q. Outside of the classwork you just
   21     Q. Is it your opinion that any cosmetic             21 referenced, have you ever lectured to your peers the
   22 product that contains any of these constituents at      22 standards for when a cosmetic is misbranded or
   23 any level is adulterated?                               23 adulterated?
   24     A. Could be, yes. I -- I haven't formed that        24     A. I don't think I have, no.
   25 opinion. You're asking something beyond what I've       25     Q. Has the FDA ever -- ever determined that


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    1 any Johnson & Johnson talcum powder product contains           1 authority now, but they've never been able to
    2 asbestos?                                                      2 require it. But certainly, I -- I am sure they have
    3    A. Well, they detected it in their testing in               3 had conversations, based on what the company did
    4 at least one lot in 2019.                                      4 with the voluntary recall of the products in the
    5            Is that what you're asking me?                      5 past.
    6            So they did. And I think they                       6     Q. My question is --
    7 discussed some of this at -- I'd have to go back and           7     A. So I can't answer -- I can't answer that
    8 pull the transcripts from the February 2020                    8 specifically without looking to see if there's an
    9 workshop. I -- there were some people from the                 9 e-mail communication or something that -- that uses
   10 agency -- or experts from the agency that were                10 the words you're using.
   11 talking about this issue of contamination of the              11     Q. Has the FDA ever -- ever determined any
   12 products with asbestos or asbestos-like materials.            12 Johnson & Johnson talcum powder product ever
   13 But that's what I would point you to.                         13 contained nickel, chromium, or cobalt?
   14     Q. Has FDA ever found that any Johnson &                  14     A. I don't know. I haven't seen FDA testing
   15 Johnson talcum powder product was misbranded?                 15 for heavy metals. I know the company has found it
   16     A. I haven't seen evidence for that, but I                16 in their own testing.
   17 can't tell you that they haven't ever gotten a                17     Q. Is it your opinion that the components you
   18 letter from FDA about something. I don't know.                18 list that you say adulterated Johnson & Johnson's
   19            Because you're asking me about --                  19 talcum powder product can cause a user to develop
   20 generally about this branding for the products, and           20 ovarian cancer?
   21 I don't know. I'd have to go back. That's a --                21     A. Say that again.
   22 that's a search I'd have to do in Johnson &                   22     Q. Is it your opinion that the "toxic
   23 Johnson's own files to answer that.                           23 constituents" that you reference in this paragraph
   24     Q. Has FDA ever found that any Johnson &                  24 that you say constituted or made Johnson & Johnson's
   25 Johnson talcum powder product was adulterated?                25 talcum powder products misbranded or adulterated can
                                                         Page 143                                                         Page 145
    1     A. Well, when they suggested a voluntary          1 cause ovarian cancer?
    2 recall with asbestos, I would say that was a finding  2           MR. MEADOWS: Objection. It's not --
    3 that if they hadn't have recalled, they would have    3 misstates her testimony.
    4 potentially gotten a warning letter.                  4     A. So I was gonna say: I'm not a causation
    5           That's my understanding of the              5 expert, so I wouldn't have stated anything like
    6 process. But they did a voluntary recall, which is    6 that. What I said instead is that the presence of
    7 all FDA could you actually ask for at that            7 the toxic constituents are consistent with a product
    8 particular time in 2019, so ...                       8 that poses a hazard for cancer and that overall
    9     Q. My question is -- my question is               9 the -- the talcum powder product exposure in women
   10 specifically as to whether you're aware if FDA ever  10 has been shown to increase the risk of ovarian
   11 made a determination that any Johnson & Johnson      11 cancer.
   12 talcum powder product was adulterated?               12           But there is -- if -- if you ask me
   13     A. And I'm stating for you that that -- that     13 about individual data points, there is data on all
   14 finding would be consistent with the testing that    14 of those toxic constituents individually showing
   15 FDA did. And then the voluntary recall that          15 that they can lead to tissue changes, cellular
   16 happened, I'm not aware of the specific conversation 16 changes.
   17 they may or may not have had with FDA around that 17              Or even there's studies in animals on
   18 time. I'd have to go look and see if there's any     18 some of those as isolated constituents to show that
   19 internal company documents where there was a         19 they're carcinogenic. But the animal studies and
   20 communication about that with them.                  20 the tissue studies obviously are not human
   21     Q. Did FDA ever request -- has FDA ever          21 epidemiological studies.
   22 requested a recall of any Johnson & Johnson talcum 22             And the human epidemiological studies
   23 powder product?                                      23 have looked at the whole product, not just at an
   24     A. Well, they can't -- they can't require it     24 individual constituent, except for -- as I pointed
   25 or -- well, they're supposed to be able to have more 25 out in my -- in my report and also in my discussions




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    1 at trial -- with the issues related to the findings               1 their evaluation of the -- of the science and the
    2 in the 1950s with asbestos and ovarian cancer.                    2 literature in this particular document.
    3          Asbestos itself has been identified as                   3    Q. Are you saying that the document you're
    4 a human carcinogen, and ovarian cancer is one of the              4 looking at includes a evaluation by EPA of the
    5 types of cancer that has been linked to exposure to               5 literature on asbestos and ovarian cancer?
    6 asbestos.                                                         6    A. Well, it's their summary under
    7 BY MR. HEGARTY:                                                   7 "Background" of where they talk about what is
    8    Q. Can you cite for me any authorities that                    8 asbestos and what do we know about it.        So they
    9 have determined or concluded that nickel, chromium,               9 don't give all the details with all the references.
   10 or cobalt are carcinogenic with regard to ovarian                10           But I -- I can tell you there are
   11 cancer?                                                          11 other documents that EPA has authored in the past
   12    A. I'd have to go back and look at my files.                  12 and other regulatory authorities have authored in
   13 I would say to you I can't answer that without                   13 the past where it's very clear that asbestos poses a
   14 looking at this point in time.                                   14 risk of cancer.
   15          And I -- let me -- and can I add one                    15           And ovarian cancer is one of those
   16 more thing, Mr. Hegarty?                                         16 risks that the regulatory authorities are -- are
   17          When we were talking about the ovarian                  17 aware of in terms of risk to humans.
   18 cancer and -- and asbestos a minute ago, the --                  18    Q. Please turn onto paragraph 121 of your
   19 during the break, I did look at the EPA rule, and it             19 report.
   20 does mention ovarian cancer in it.                               20     A. (Complied.) Okay I'm there.
   21    Q. What does it say?                                          21     Q. You added into that paragraph a reference
   22    A. It says, (as read) "Asbestos is a hazard                   22 to "failure to meet the CIR standard."
   23 to human health. Some of the health effects caused               23           Do you see that?
   24 by exposure to asbestos are: Lung cancer; Ovarian                24     A. Yes.
   25 cancer; Laryngeal cancer; and Mesothelioma, a cancer             25     Q. And why did you add that reference?
                                                    Page 147                                                             Page 149
    1 of the thin lining -- lining of the lung, chest and               1
                                                                 A. To give clarity to things I've already
    2 the abdomen and the heart." And this is on page      2 said at trial before in another testimony. Almost
    3 27063 of --                                          3 every time I testify about talc, I talk about what
    4     Q. Is there any citation -- I'm sorry. Go        4 they knew over time. And the fact that they were
    5 ahead?                                               5 aware that -- I -- and I shouldn't say they are --
    6     A. And that's of the proposed rule.              6 that Johnson & Johnson show -- the documents show
    7     Q. Is there any citation to authority for        7 that Johnson & Johnson was -- was well aware that
    8 that statement as it relates to ovarian cancer?      8 corn starch was a safer alternative.
    9     A. It's through EPA's authority based on         9            They even did studies and did -- did
   10 their review of the evidence.                       10 work in order to look at the difference between
   11           I mean, I would say to you -- are         11 those and talk about in documents the differences
   12 you -- you're asking me do they state to studies?   12 between talc and corn starch. So that is -- that
   13           I -- I have given you have those          13 part of the sentence is something that's been in my
   14 studies in my report because in my report, I have a 14 testimony for a very long period of time.
   15 specific section on asbestos -- and we've talked    15            And I added this sentence because
   16 about this at trial -- and ovarian cancer. And      16 of -- at -- what was in the report before talks
   17 there are scientific studies that describe that.    17 about the -- the CIR standard states there is no
   18           Does -- does the case --                  18 evidence to -- to demonstrate grounds.
   19     Q. I did not ask you that question,             19            And so I'm tying this in up now with
   20 Dr. Plunkett.                                       20 what I have said at trial, which is the issue of the
   21           My question was: Does EPA cite to any 21 product was unsafe. The product posed a hazard.
   22 scientific or medical authorities in support of the 22 And it didn't even meet the CIR standard of no
   23 statement you said as it relates to ovarian cancer? 23 evidence because we obviously know there's lots of
   24     A. They are citing their own authority;         24 study of evidence that I cite in my report.
   25 they're not citing to an authority. They're citing  25            So I think I'm trying to bring in here


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    1 at this time a very specific statement that is               1 Johnson determined to no longer sell Johnson's Baby
    2 consistent with things I've said and -- and                  2 Powder, did you ever make a request to CIR to
    3 testified to -- to before.  I don't believe it's a           3 re-review talcum powder?
    4 new opinion.     I believe it is a description of what       4    A. No. And the answer I gave you before was
    5 I've -- I've said in the past.                               5 any point in time.  No, I have not.
    6     Q. Who besides you, that you're aware of,                6    Q. Please look at paragraph 123 of your
    7 have -- has ever concluded that talcum powder                7 report.
    8 products do not meet the CIR standard for safety?            8    A. (Complied.) Yes.
    9     A. I haven't done a look to see if there's a             9    Q. Is there anything with regard to this
   10 variety of authorities. I can tell you, however,            10 paragraph that we did not talk about earlier as it
   11 that it's not needing an authority to say it. If            11 relates to your opinions on the issue of misbranding
   12 the standard has no evidence and I can point you to         12 and adulteration?
   13 lots of evidence about a hazard, then it makes no           13    A. No. Actually, I believe this is bringing
   14 sense.                                                      14 the same concept back. This section -- this
   15            If you read the CIR report on talc,              15 paragraph is -- is occurring in what I call my
   16 the reason that they draw the conclusions that they         16 "Conclusion" section. So I'm trying to bring out
   17 do is because they assume that there is no                  17 the big points I think that I have covered in my
   18 possibility of exposure. And that is just not true,         18 report. And so I bring it forward here as well.
   19 as I also spent a whole lot of time in my report            19    Q. Turning back to paragraph 111 of your
   20 talking about how we know that exposure can occur.          20 report.
   21            So if you -- so the issue here is just           21    A. (Complied.) Almost there. Yes.
   22 an understanding -- this is not rocket science.             22    Q. You added at the end of this paragraph a
   23 This doesn't even take a lot of toxicological               23 couple lines with regard to corn starch, but you
   24 expertise to understand what no evidence means.             24 mentioned previously that that's referenced in your
   25            And then we have a -- you know, I've             25 previous reports.
                                                       Page 151                                                   Page 153
    1 laid out for you in my report.   And you and I have          1           Why did you add these two lines at
    2 talked about it a lot of times all the evidence that         2 this part of your report then?
    3 I believe shows that there's a hazard.                       3     A. So it has to do with the fact that -- what
    4     Q. Here today, have you communicated your                4 happened in 2022. So I'm updating this paragraph to
    5 findings or your opinions as a regard -- with regard         5 link it into the issues with corn starch that --
    6 to the CIR report to CIR?                                    6 that have now occurred.
    7     A. No, I have not.                                       7     Q. Do you intend to testify that there were
    8     Q. The public can make a request for a                   8 Johnson & Johnson employees as of 2022 who believed
    9 subsequent review to CIR of an ingredient like talc,         9 that corn starch was safer than talcum powder?
   10 correct?                                                    10     A. Well, I -- I cannot speak for Johnson &
   11     A. That's possible. They could, yes.                    11 Johnson employees unless I have a document to speak
   12     Q. Had you made a request that CIR review               12 to it. I would say that the documents that I have
   13 talc again?                                                 13 seen in the past show that they were aware of the
   14     A. No, I have not.                                      14 issues.
   15     Q. Do you have any plans to do so?                      15           And, in fact, in the patent
   16     A. Not with the situation that exists today             16 application from the -- the 1950s, they talk about
   17 where we know that Johnson & Johnson is no longer           17 looking for an alternative to talc based on safety
   18 selling talc-based body powder and also has                 18 concerns for patients.
   19 replaced, based on the -- the most recent, is               19           So I -- I mean, again, it's -- it -- I
   20 transitioning away from talc to corn starch, which I        20 don't think I'll find the exact statement as you
   21 believe is the safer alternative.                           21 just stated it. But certainly, I think there are
   22     Q. You've been testifying in talc cases since           22 documents I can point to that are Johnson & Johnson
   23 2016, correct?                                              23 documents that are consistent with my opinion and
   24     A. I have.                                              24 would support the way I'm expressing it.
   25     Q. And between 2016 and when Johnson &                  25     Q. You made reference earlier to an


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    1 April 2022 press release by Johnson & Johnson.         1 replace it.
    2            What did that press release say?            2    Q. Is corn starch safe to use in the perineal
    3     A. That they were transitioning to talc            3 layer?
    4 based -- they were transitioning to corn starch for    4    A. It's -- according to Johnson & Johnson's
    5 their body powders.                                    5 own research, they believe it's safer in terms of --
    6     Q. Did that statement say why they were doing      6 of the adverse tissue reactions to use.
    7 that?                                                  7          (Speaking simultaneously.)
    8     A. I have need to pull it to answer that.          8     Q. I did not ask -- I asked --
    9 I'm sure it does. I'm sorry. Got to take a second      9     A. I don't know if that answers your
   10 to find it. Oh, here it is.                           10 question.
   11            So do you want me to read what they        11     Q. It did not.
   12 say, or just tell you that they do give a reason,     12          I asked: In your opinion, is corn
   13 yes?                                                  13 starch body powder safe to use in the perineal area?
   14     Q. Yeah, what's the reason -- what's the          14     A. I haven't done a full evaluation of corn
   15 reason given?                                         15 starch other than to tell you it definitely is safer
   16     A. They -- well, do you want me to read it?       16 than talc in terms of the tissue toxicity
   17 That might be easiest. I mean, I don't know how       17 comparisons that we have and the fact that it can be
   18 earlier --                                            18 absorbed into -- other than sit in the tissue.
   19     Q. Yes, go ahead and read it. Read it.            19          So from that aspect, I would, yes, I
   20     A. They say that they (as read) "continuously     20 believe my evaluation shows that it's a safer
   21 evaluate and optimize their portfolio for the best    21 alternative.
   22 position the business for long-term growth." And      22     Q. I didn't ask you that question.
   23 they say, "The transition will help simplify our      23          My question is: Do you have an
   24 product offerings, deliver sustainable innovation,    24 opinion as to whether corn starch body powder is
   25 and meet the needs of our consumers, customers and    25 safe to use in the perineal area?
                                                 Page 155                                                     Page 157
    1 evolving global trends."                               1   A. I already answered that for you. I
    2     Q. Do you intend to testify why Johnson &        2 thought I did. I told you that --
    3 Johnson made the transition in 2022 beyond what is   3     Q. Well, you --
    4 stated in that statement?                            4     A. My opinion is -- well, I'm stating for you
    5     A. Well, so that's an intent. And I'm not        5 the opinion as I would expect to express it. My --
    6 allowed to talk about intent. I can tell you what    6 my opinion would be that the replacement of corn
    7 my -- what my opinion is based on what the evidence 7 starch in the talc-based body powders, which were
    8 shows in that particular point in time. But I can't  8 being used -- which can be used perineal, are a
    9 talk about their intent. That is -- that is up to    9 safer -- or are safer for the -- for the person
   10 Johnson & Johnson to speak to.                      10 who's using them. It's a safer alternative to talc.
   11     Q. Well, do you intend to say that Johnson &    11     Q. I'm not asking you if it's a safe --
   12 Johnson may -- took this action because it believes 12     A. All of the -- all -- all exposures can
   13 that corn starch is safer that than talcum powder?  13 have risks. But in the terms of ovarian cancer
   14     A. I would state as I have said right here in   14 risk, what we know about -- about corn starch, I
   15 this report. I would say that these -- the actions, 15 believe there's a difference, a big difference,
   16 as I go through, by Johnson & Johnson as early as   16 between what we know about corn starch and what we
   17 the '50s indicate the company was aware there was a 17 know about talc.
   18 safer product.                                      18           But my risk assessment and safety
   19           And I have documents where they talk      19 assessments have focused on the hazards and the
   20 about the difference between corn starch and talc.  20 actions of the company around talc itself.
   21 There's one from the '60s, and there's also the     21     Q. Does use of corn starch in the perineal
   22 patent application where they talk about the        22 area increase the risk of ovarian cancer?
   23 comparisons in terms of safety and toxicity.        23     A. None of the data that I have seen
   24           And then I -- then I say, "Yet, it        24 indicated that it does based upon the literature
   25 wasn't until 2022" that they took the action to     25 that's out there.




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    1     Q. Can corn starch cause inflammation if it         1           THE WITNESS: The paper by -- I'll
    2 reaches the ovaries?                                    2 spell the name for the court reporter -- Phung,
    3     A. If it was to reach -- could -- you asked         3 P-h-u-n-g, et al., 2022.
    4 me could -- could it?                                   4           MR. HEGARTY: Mark that as Exhibit 9.
    5     Q. Yes.                                             5           (Exhibit 9 marked.)
    6     A. I don't know. I haven't looked to see            6           THE WITNESS: And I have attached --
    7 whether there is any literature to show that it --      7 just to be clear, I have attached to that the
    8 that it would do that. I would argue that -- being      8 supplemental materials, too, as one file.
    9 that it's absorbed and doesn't sit on the surface       9           MR. HEGARTY: Okay.
   10 like a particle that I believe it would not. You're    10           THE WITNESS: The Davis paper --
   11 asking for things that were beyond the -- the scope    11 Colette Davis paper from 2021.
   12 of what I did at this point in time.                   12           MR. HEGARTY: We'll mark that as
   13     Q. Can corn starch cause inflammation if it        13 Exhibit 10.
   14 reaches the abdominal cavity?                          14           (Exhibit 10 marked.)
   15     A. All powders can cause inflammation if the       15           THE WITNESS: The Emi paper from 2021.
   16 powder particles are sitting within the abdominal      16           MR. HEGARTY: Mark that as Exhibit 11.
   17 cavity. But that -- but as far as corn starch, it      17           (Exhibit 11 marked.)
   18 tends to be absorbed and doesn't sit as a particle.    18           THE WITNESS: A paper by Wentzensen
   19            But corn starch, if you're talking          19 and O'Brien dated 20 -- I'm not sure. 2021, I'm
   20 about the global literature, you're exactly right.     20 sorry.
   21 There's some literature out there that talks about     21           MR. HEGARTY: Mark that Exhibit 12.
   22 gloves and powders generally, potentially leading to   22           (Exhibit 12 marked.)
   23 adverse tissue reactions surgically, internally.       23           THE WITNESS: The printout of the
   24 I -- but I agree with you. That does exist.            24 FDA's website of the "Compliance Policy Guide for
   25     Q. Just a little bit of housekeeping.              25 Facilities" dated November 2023.
                                                  Page 159                                                 Page 161
    1           Tell me again or walk me through again     1            MR. HEGARTY: We'll designate that as
    2 each of the documents that you brought with you to   2 Exhibit 13.
    3 today's deposition. I want to designate each one as  3            (Exhibit 13 marked.)
    4 an exhibit.                                          4            THE WITNESS: The paper by -- in
    5     A. Are you gonna do them individually or --      5 British Medical Journal by the author Dyer, D-y-e-r.
    6 or together?                                         6            MR. HEGARTY: Mark that as Exhibit 14.
    7     Q. Individually. Individually.                   7            (Exhibit 14 marked.)
    8     A. Okay. So I -- I have them mixed up. So        8            THE WITNESS: The paper by Goodman,
    9 I'm just -- they're just gonna go in my pile.        9 et al., 2020.
   10           Is that all right?                        10            MR. HEGARTY: We'll designate that as
   11     Q. That's fine.                                 11 Exhibit 15.
   12           THE WITNESS: Okay. So the EPA             12            (Exhibit 15 marked.)
   13 Federal Registry Notice.                            13            THE WITNESS: The paper by Lynch,
   14           MR. HEGARTY: We'll mark that as           14 et al., from 2023.
   15 Exhibit 6.                                          15            MR. HEGARTY: Designate that as
   16           (Exhibit 6 marked.)                       16 Exhibit 16.
   17           THE WITNESS: The Johnson & Johnson 17                   (Exhibit 16 marked.)
   18 August 11, 2022, press release.                     18            THE WITNESS: The paper by Micha,
   19           MR. HEGARTY: We'll mark that as           19 et al., 2022.
   20 Exhibit 7.                                          20            MR. HEGARTY: Designate that as
   21           (Exhibit 7 marked.)                       21 Exhibit 17.
   22           THE WITNESS: May 19, 2020, Johnson & 22                 (Exhibit 17 marked.)
   23 Johnson press release.                              23            THE WITNESS: The paper by Harper,
   24           MR. HEGARTY: Mark that as Exhibit 8.      24 et al., 2023.
   25           (Exhibit 8 marked.)                       25            MR. HEGARTY: Designate that as


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    1 Exhibit 18.                                            1        THE WITNESS: And I brought the
    2           (Exhibit 18 marked.)                       2 page -- selected pages from my 2017 deposition on
    3           THE WITNESS: A paper by Ding, et al.,      3 three different days that discuss misbranding.
    4 2021.                                                4          MR. HEGARTY: So we'll mark that as
    5           MR. HEGARTY: Designate that as             5 Exhibit 26.
    6 Exhibit 19.                                          6          (Exhibit 26 marked.)
    7           (Exhibit 19 marked.)                       7          THE WITNESS: And -- oh, I brought
    8           THE WITNESS: The paper by O'Brien and 8 the -- the notice for the deposition.
    9 JAMA in 2020.                                        9          MR. HEGARTY: And we'll mark that
   10           MR. HEGARTY: We'll designate that as      10 notice as Exhibit 27.
   11 Exhibit 20.                                         11          (Exhibit 27 marked.)
   12           (Exhibit 20 marked.)                      12 BY MR. HEGARTY:
   13           THE WITNESS: And the paper by Woolen, 13         Q. And do you have that notice with you as
   14 et al., 2022.                                       14 you read this?
   15           MR. HEGARTY: We'll designate that as      15     A. Yes.
   16 Exhibit 21.                                         16     Q. Have you read through all of the
   17           (Exhibit 21 marked.)                      17 paragraphs in that notice?
   18           THE WITNESS: And let me see if I've       18     A. I have.
   19 gotten all of it.                                   19     Q. Have you seen the plaintiffs' objections
   20           MR. HEGARTY: You also have your           20 and their responses to that notice?
   21 reports, your reliance list, those types of things? 21     A. No. I talked about it with them, about it
   22           THE WITNESS: Yes, I think that's all      22 in terms of what I had and what I didn't have. But
   23 the publications or papers or documents other than  23 I did not see that document.
   24 my report and reliance materials.                   24     Q. And have you provided the documents that
   25           MR. HEGARTY: Let's designate your         25 you have that are described in these paragraphs
                                                  Page 163                                                       Page 165
    1 report that you have with you that you've marked on    1 subject to the objections that -- that had been
    2 as Exhibit 22.                                         2 asserted?
    3           (Exhibit 22 marked.)                       3     A. Yes.
    4           MR. HEGARTY: You also said you             4     Q. Another document I have not mentioned
    5 brought your reliance list; is that correct?         5 previously was Appendix D, "Chemicals in the
    6           THE WITNESS: Yeah -- well, no. I           6 Johnson & Johnson Body Powder Fragrant With Irritant
    7 didn't bring the whole reliance list. I brought      7 Properties."
    8 pages that were changed. So if you want to mark      8           Do you have a copy of that document,
    9 that as an exhibit.                                  9 or is that attached to your -- to the report you
   10           Do you want me to tell you what pages     10 brought with you?
   11 it was?                                             11     A. I don't have that attached, no, because
   12           MR. HEGARTY: No. No, we'll just mark      12 there were no changes to that. So I didn't --
   13 that as Exhibit 23.                                 13 didn't print it out.
   14           (Exhibit 23 marked.)                      14     Q. That was gonna be my next question.
   15           MR. HEGARTY: What other papers,           15           Did you make any changes to Appendix D
   16 documents do you have with you that we had not just 16 to your amended report?
   17 gone through and marked as exhibits?                17     A. No, I did not.
   18           THE WITNESS: I brought my bills.          18     Q. And with regard to the articles we just
   19           MR. HEGARTY: We'll mark those as          19 went through, besides those we've talked about that
   20 Exhibit 24.                                         20 you referenced in your report -- that's Harper, Emi,
   21           (Exhibit 24 marked.)                      21 Ding, O'Brien, Woolen, Davis, and Phung -- do you
   22           THE WITNESS: I brought a copy of my       22 intend to make reference to or otherwise comment on
   23 CV, which you have, but I brought a copy of it.     23 those articles as part of your opinions in this
   24           MR. HEGARTY: Mark that as Exhibit 25. 24 case?
   25           (Exhibit 25 marked.)                      25     A. It depends upon what questions are asked


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    1 at trial. I don't -- I can't predict that. I mean,    1 when I edited it, I dropped the dates for the -- for
    2 I would be prepared to do that if counsel asks        2 depositions.
    3 questions consistent with how I have described or     3           And so if there's confusion, you want
    4 used the papers in my report.                         4 me to tell you what those are so that you'll know?
    5     Q. You did not specifically reference that        5           They were in my original report
    6 other set of papers in your report, correct?          6 from -- well -- and they were in the June 2021
    7     A. The others that we -- you didn't just          7 report cited properly, but for some reason, the
    8 list, that is correct.                                8 dates got dropped.
    9     Q. Why did you not do that? In other words,       9    Q. Let me ask it in a different way.
   10 why are those different than the ones you included   10           Are there any additional authorities
   11 in your report?                                      11 or citations in support of your opinions that you
   12     A. Well, some of them are ones that I felt       12 have referenced in your second amended MDL report
   13 like were beyond the scope of what I was asked to    13 that we have not talked about here today?
   14 do. In other words, I'm not a causation expert. So   14    A. No, I believe we've gone through all of
   15 my goal was not to find every paper, for example,    15 those.
   16 that might be used by a causation expert to -- to    16           MR. HEGARTY: Let's go off the record.
   17 build a story for causation. So that explains some   17           THE COURT REPORTER: Off the record at
   18 of the papers.                                       18 12:41 p.m.
   19            I've already talked about the Goodman     19           (A recess was taken from 12:41 p.m. to
   20 paper at -- at -- actually at length, I thought,     20            12:57 p.m.)
   21 with Ms. Davidson in my earlier testimony. And I -- 21            THE COURT REPORTER: We're back on the
   22 again, it's a -- it's a review paper of someone else 22 record at 12:57 p.m.
   23 doing causation. So that's beyond the scope of --    23 BY MR. HEGARTY:
   24 of, you know, again, what I -- what I am doing.      24    Q. Going back to paragraph 29 of your report,
   25            And one thing that I -- we didn't         25 Dr. Plunkett, where you made reference to EPA's
                                                     Page 167                                                 Page 169
    1 mention, the ones that we just listed, the published       1 "proposed" and then "final" rule?
    2 articles, you should also mention the EPA document         2     A. (Complied.) Yes.
    3 because that one is actually discussed specifically        3     Q. Are you there?
    4 in my -- in my report.                                     4     A. I am.
    5     Q. Okay.                                               5     Q. As for lung and mesothelioma risks
    6     A. So if asked about that one, I would be              6 reported by EPA in its risk evaluation, would use of
    7 prepared to address that.                                  7 Johnson's Baby Powder reach the levels discussed by
    8     Q. You mentioned that you marked in your               8 FDA in that risk evaluation?
    9 report the substantive areas of changes from your          9     A. I haven't done that analysis because I
   10 previous MDL report.                                      10 haven't done an analysis of mesothelioma risk.
   11           Do you recall telling me that?                  11           But do you want me to look and see
   12     A. Actually, I tried to mark everything that          12 what they say? I'd -- I'd have stop and go back and
   13 was different, even a one-word change. Like on the        13 look.
   14 first page, I highlighted the word "second," and I        14     Q. I'm not sure we're connecting.
   15 highlighted the date. So, yeah, I tried -- I              15           With regard to my question, as far as
   16 attempted to do that, yes.                                16 the asbestos levels evaluated by EPA in its risk
   17     Q. Are there any changes that to -- let me --         17 evaluation, would a user of Johnson's Baby Powder
   18 let me restate that.                                      18 ever reach those -- that level of asbestos through
   19           Are there any additions to your                 19 use?
   20 testimony, from a substantive standpoint, that you        20     A. And I'm at -- I'm saying that I -- it's
   21 have marked in your report that we have not talked        21 beyond the scope of what I have done. But I would
   22 about?                                                    22 have to go look and see if they have any statements.
   23     A. So there is the typo I gave you on Harper.         23 I can't recall that.
   24 It should be 2023, not 2021. And there are two            24           I did not do -- I'm not a case-
   25 places, I believe, in my report. For some reason          25 specific person, so I wasn't gonna do an exposure




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    1 assessment. And if you're asking me about -- you're       1 time.
    2 asking me about inhalation pathway, that's beyond         2    A. That's what I'm trying to answer for you.
    3 the scope of the work I've done for sure.                 3 I obviously hadn't decided at the time how I was
    4     Q. But do you know if any user of Johnson's           4 going to describe it in my report. So that's -- I
    5 Baby Powder has ever been exposed to the levels and       5 mean, I don't know if that's an opinion. But that
    6 types of asbestos as EPA discusses in its risk            6 is what is stated in my report is how I describe it.
    7 evaluation document?                                      7 I think that opinion I expressed at the time is
    8     A. It's beyond the scope of what I did. But           8 consistent with what is in my report. So I guess it
    9 I can -- what I can tell you is we do know that in        9 is not new.
   10 the trials I've been involved in, that users of baby     10    Q. Is that opinion -- are the opinions that
   11 powder have detectable levels of not only talc           11 you testified in October 2023 consistent with what
   12 fibers, but some of them asbestos, in their tissues      12 you told me today about your opinions concerning the
   13 of their ovarian tumors. That's all I can tell you.      13 Woolen study?
   14 I -- I -- it's beyond the scope of what I did.           14    A. Well, I said more -- different things, I'm
   15     Q. We talked earlier about the Woolen                15 sure. But, yes, I think it's consistent. I mean, I
   16 article, and you also were asked about the Woolen        16 don't require -- I don't remember the exact -- I
   17 article at your October 2023 deposition.                 17 answered a number of very specific questions from
   18             Do you recall that?                          18 Ms. Davidson about the paper.
   19     A. Yes.                                              19            And so obviously you haven't asked
   20     Q. I'm not sure if I asked you this question,        20 those same ones. But, I mean, I -- I don't -- I
   21 and I apologize if I already have.                       21 wouldn't -- there's nothing else I would add. Maybe
   22             Have you done any further analysis of        22 that's the way to answer it for you.
   23 the Woolen paper since your October 2023 deposition?     23    Q. Do you have any intent -- intention here
   24     A. Excuse me. No. Other than to use it and           24 today to do any further analysis of the reviewer
   25 write the sentence -- I mean, I did compose a            25 comments to the Harper paper than you made at the
                                                   Page 171                                                            Page 173
    1 sentence on it to put in my report.  So -- and that       1 time of your October 2023 deposition?
    2 was after my depo, I decided how to describe it.          2    A. No, because I consider that inappropriate
    3          So that I did do, as far as made a               3 based on the fact that those are confidential
    4 decision how I would describe the results. But I          4 comments between the reviewers and the author. And
    5 didn't do any analysis, if you're asking, or didn't       5 I typically would not do that. So I haven't planned
    6 make any phone calls to anybody or discussed the          6 to -- I don't think I even have a -- I don't even
    7 paper with anybody else. No.                              7 have a copy of those. I mean, maybe they were
    8     Q. Let me ask in a little bit different way.          8 marked as an exhibit to the depo, but I -- I don't
    9          Do you have any opinions about the               9 have those.
   10 Woolen paper that you have developed -- that you         10    Q. Have there been any studies that have been
   11 developed since October -- since your October 2023       11 published in the medical literature since August
   12 deposition? In other words, opinions that you            12 of 2021 that included findings that did not show an
   13 didn't have as of that time?                             13 association between talc use in any type of ovarian
   14     A. Only -- only the opinions as -- that I            14 cancer?
   15 expressed it specifically in my report. How it fits      15    A. Are you asking me for epidemiological
   16 into my report. And then I think I have a sentence       16 studies? What are you asking me for? So I --
   17 if you want me to find it. There's a sentence where      17    Q. I'll be more specific. Epidemiologic
   18 I describe the results.                                  18 studies.
   19          Do you want me to find it, or you know          19    A. So I -- I need my pile of papers back. I
   20 where that is?                                           20 think that's the -- maybe -- let me look at one of
   21     Q. No. My question is a little more general          21 the ones that's in my pile. (Examined exhibit.)
   22 than your report.                                        22 No, the ones that I have in my pile are not
   23          My question is whether you have formed          23 individual studies. There are some -- some review
   24 any opinions as to the Woolen paper since your           24 papers but not individual studies.
   25 deposition October 2023 that you didn't have at the      25    Q. So are your notes about --


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    1     A. So I can't -- I did not do -- I did not do            1     Q. All right. Turn to paragraph 110.
    2 it -- again, I wasn't a causation expert, so I               2     A. (Complied.) Okay.
    3 wasn't attempting to identify every study out there.         3     Q. You added a reference in this paragraph
    4 I'm aware of the fact that there was some positive,          4 to -- that added to your statements about other
    5 and I've testified to this.                                  5 manufacturers' talc-based body powders and adding
    6            There are some positive epi. There's              6 warnings to their labels.
    7 some negative epi. But that's -- I believe that              7           Do you see that addition?
    8 is -- is the additional information around that              8     A. Yes, that was something that I had
    9 would be something that the epidemiologist would             9 testified to at trial.
   10 address.                                                    10     Q. Since August of 2021, have you reviewed
   11     Q. Since August of 2021, have you done any              11 any additional manufacturers' labels of any talcum
   12 research or analysis into the creation of the NCI           12 powder product for any warnings with regard to
   13 PDQ® on ovarian cancer?                                     13 ovarian cancer?
   14     A. I don't believe I've done that since                 14     A. I have -- every time I go out to the
   15 August of 2- -- of 2021. I know we did do that and          15 store, I do look at -- at what I can find on the
   16 talked about that at trial before that time.                16 shelf. But it's not been a directed review in terms
   17     Q. Since August of 2021, have you done any              17 of like I did back then where I was going to find as
   18 research or analysis into the editorial boards for          18 many products as I could in looking at websites and
   19 the NCI PDQ®?                                               19 trying to determine when things were added.
   20     A. I don't think there's been anything since            20     Q. Since August of -- I'm sorry.
   21 then. But I -- again, that's something that we did          21     A. So not -- I could say to you, no, it would
   22 talk about at trial and maybe even in an earlier            22 probably be different other than having, you know,
   23 deposition. I don't know. I don't recall anything           23 aware of the fact that there are products that still
   24 that I've done since August of 2021 in that.                24 carry a label.
   25     Q. Have you done any type of work with                  25     Q. Since August 2021, have you found any
                                                       Page 175                                                    Page 177
    1 respect to the NCI PDQ® and its -- in terms of               1 additional talcum powder products that contain a
    2 evaluating it and otherwise assessing it since               2 warning with regard to ovarian cancer besides what
    3 August 2021?                                                 3 you list in your second amended report?
    4    A. I have looked at it. I have looked at                  4     A. I don't believe so, no.
    5 them on the -- I mean, I've gone and looked at               5     Q. Since August of 2021, have you done any
    6 different websites since then, yes.                          6 additional research, analysis, or undertaken any
    7    Q. Do you have any current opinions about the             7 effort to determine the reasoning for each
    8 NCI PDQ® that you have not previously testified to?          8 manufacturer's addition of any warning referring to
    9    A. I don't think so. I mean -- I mean, I                  9 ovarian cancer to their talcum powder product label?
   10 would be prepared to testify as I have in the past.         10     A. I looked for -- well, back in -- before
   11 And I haven't cited any new documents at this point.        11 2021, I looked for publicly available information
   12          So I'd say that my previous testimony,             12 and didn't find such. I haven't done any -- for
   13 I would have -- be prepared to testify as I did in          13 example, I don't have -- I don't have -- haven't
   14 the past because my issues with it have been mainly         14 done -- or the attorneys I've worked with, I
   15 related with the changes that occurred in, what,            15 don't -- I'm not aware of them having done discovery
   16 2014 and --                                                 16 or subpoenas or anything to try to get information.
   17          (Speaking simultaneously.)                         17           So, no, I -- I have no additional
   18    Q. And I'm not asking for anything you've                18 research I've done because I don't have access to
   19 already said or anything you have already testified         19 where that information would come from, which would
   20 to or reported.                                             20 be typically internal company files.
   21          My question is really limited to:                  21     Q. You were asked at, I believe, the Giese
   22 Sitting here today, are you aware of anything else          22 trial about websites looking for these
   23 you would -- you would say about the NCI PDQ® that          23 manufacturers.
   24 you have not previously said?                               24           Do you recall that?
   25    A. I don't believe so, no.                               25     A. I don't -- sorry, I don't remember a


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    1 discussion at the Giese trial.  But if you -- I       1 the past; is that fair?
    2 mean, I believe you that we probably -- we discussed 2      A. Yes. And I kind of say it -- I -- I kind
    3 it at every trial. So I'm sure we did do something    3 of allude to that in that paragraph before I added
    4 like that.                                            4 that. But I know this is a very specific
    5     Q. Turn to paragraph 117, please.                 5 description I've had at trial.
    6     A. (Complied.) Yes, I'm there.                    6           So, again, this is another example of
    7     Q. The footnote at the end of that paragraph      7 I'm trying to incorporate what I've said at trial to
    8 is new, Footnote 68.                                  8 make it very clear. Although I'm sure, Mr. Hegarty,
    9            Why did you add that footnote?             9 you know what my opinion is.
   10     A. Because it's consistent with something        10           But to make sure that anybody who
   11 I've said at trial. So I believe at trial when I     11 reads this report understands that some of the
   12 was asked about or answered questions either on      12 nuances around some of the statements I make.
   13 direct or cross about CDRH's actions versus          13     Q. The Federal Register you cite states the
   14 Cosmetics actions, I pointed out that there's        14 following as to the risk addressed. It says, quote,
   15 different regulatory authority and different         15 "In aggregate, the risk of powdered gloves include
   16 requirements.                                        16 severe airway inflammation, hypersensitivity
   17            And so I'm just -- there -- again,        17 reactions, allergic reactions (including asthma),
   18 this is -- several times in my report, I attempted   18 allergic rhinitis, conjunctivitis, dyspnea, as well
   19 to make sure that I included the types of            19 as granuloma and adhesion -- adhesion formation when
   20 clarifications or discussion that were specific to   20 exposed to internal tissue." Does that -- close
   21 trial testimony as well. And that's one of them.     21 quote.
   22     Q. Well, you go out -- you actually say it's     22           Does that sound familiar to you?
   23 important to realize that the group at FDA that      23     A. Yes, it does.
   24 banned, et cetera.                                   24     Q. And is that a listing of the risks that --
   25            Why did you use that language, and how    25 that led to FDA to ban the use of powder on surgical
                                                         Page 179                                                      Page 181
    1 does that factor into your opinions as referenced in           1 gloves?
    2 this paragraph?                                                2       A. I can't -- I can't get to the minds of the
    3     A. Because it has to do with the way that                  3 FDA and tell you that that specifically is what led
    4 devices are looked at versus -- so it's a different            4 to it.   But I would argue that when you read the --
    5 regulatory standard and different regulatory                   5 the notice, that certainly that information you've
    6 authority. So CDRH has the authority and has had               6 just read was part of the -- of the thought process
    7 the authority for years to actually ban substances.            7 for why they took the action.
    8           And it's a much easier process versus                8            They also had a lot of, actually,
    9 the rulemaking processes that the cosmetics group              9 patient adverse experience reports that they talk
   10 would have to go through. So it's the idea that an            10 about those.    I mean, it -- there's a -- and they
   11 action taken -- and I talk -- I talked about this,            11 also were aware that there was -- there was other --
   12 that I know, at trial.                                        12 the -- the gloves didn't have to have the powder on
   13           An action taken by CDRH and what they               13 it.
   14 can and can't do is very different than the -- than           14           In other words, there's something you
   15 the fact that in the cosmetics world, the -- the              15 could do.   It's not like you're gonna say, "If we
   16 responsibility is solely on the company to make sure          16 ban the powder on the gloves, we still can't use
   17 that if there's any possibility of a hazard, that             17 sterile surgical gloves," because you could.
   18 they either warn or don't have something in their             18     Q. Since August of 2021, as part of your
   19 product. That is their sole responsibility.                   19 literature -- you're -- you're keeping yourself
   20           Whereas at CDRH, devices have both                  20 updated as far as literature.
   21 risks and benefits. And certain decisions can be              21           Did you find any articles discussing
   22 made by -- by companies or by FDA weighing more than          22 asbestos in ovarian cancer? That is, articles you
   23 just the risks.                                               23 found for the first time after August 2021?
   24     Q. The reason you added this footnote was to              24     A. New articles? So I -- I did not do a
   25 make your report consistent with your testimony in            25 directed search on that, although I am aware that




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    1 some of those exist.   And because I've heard them            1 in my report, I did add a sentence about I would
    2 discussed just kind of, you know, in conversation.            2 anticipate and plan to look at defense expert
    3 But I have not, no. I -- there's a -- from my                 3 reports, if there's any amendments made.    So
    4 understanding of what's there, there is some                  4 absolutely that is one thing I would plan to do.
    5 literature that causation experts rely upon that is           5          I would -- I do plan, as I typically
    6 post 2021.                                                    6 do on at least a monthly basis, to continue to watch
    7     Q. And without disclosing any conversation                7 to see if there's any changes in terms of FDA
    8 you've had with counsel, what articles are you aware          8 regulation of cosmetics or anything about talc that
    9 of that exist?                                                9 FDA puts out.
   10     A. I don't know the name of the article. I               10           And I do do literature searches, which
   11 just happen to know that there -- in conversations           11 I will continue to do.   Maybe not on a monthly, but
   12 I've had that there is some additional literature in         12 every other month basis, to look at what's new
   13 this area.                                                   13 that's directly relevant to my report.
   14     Q. Same question as to heavy metals: Have                14           But it's not like I can say to you, "I
   15 you found any articles since August of 2021 that             15 plan to amend my report." At this point in time, I
   16 you've not seen before concerning heavy metal                16 have no plans to do that unless something very
   17 exposure and risk of cancer?                                 17 important or different comes out.
   18     A. No. And on the heavy metals and actually              18     Q. Couple additional questions as it relates
   19 on the asbestos as well, don't forget that in my             19 to the Ding and Emi studies.
   20 discussion of my opinions, the issue is having               20           Do you have Ding and Emi there handy?
   21 exposure to the entire mixture, not just to one              21     A. I can get them. Just a second.
   22 particular constituent.                                      22 (Complied.) I have them, yes.
   23           So the epidemiological literature                  23     Q. Looking first at the Ding study, the first
   24 related to perineal use of talc, it's talc with all          24 page, there's a reference to -- let me -- let me be
   25 the things in it. And the asbestos literature is             25 specific.
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    1 important in terms of notice and hazard, absolutely,          1           You look at the second column, first
    2 with my regulatory opinions.                                  2 paragraph on the first page that begins, "Oxidative
    3          But there is different issues if I was               3 stress"?
    4 doing causation analysis, which I'm not doing.                4     A. Yes, I'm there.
    5     Q. Just to circle --                                      5     Q. That paragraph then below lists certain
    6     A. So I haven't done that because I was not               6 reactive oxygen species.
    7 doing a causation analysis for -- for a particular            7           Do you see those -- that listing?
    8 constituent only.                                             8     A. I do.
    9     Q. Just to circle back to the asbestos and                9     Q. Are you aware of any studies that look at
   10 ovarian cancer literature that you said you heard            10 levels for the reactive oxygen species in women
   11 about, do you recall anything that you heard about           11 using talcum powder?
   12 with regard to that asbestos and ovarian cancer              12     A. I doubt you can do that study based upon
   13 literature?                                                  13 the invasive nature of the study in order to do --
   14     A. Not -- no, not as I sit here. No, I                   14 but I am aware that such studies have been done in
   15 just -- I remember there being a conversation about          15 isolated cell tissues in animals looking at reactive
   16 something.                                                   16 oxygen species. So there is -- there is -- these
   17     Q. Do you have any intent to go and find                 17 kinds of studies would typically be done either in
   18 any -- that article or any other articles as part of         18 cell, tissues, or in animals, not in humans.
   19 your work on the MDL?                                        19     Q. Are you aware of any animal studies that
   20     A. No, I don't at this point in time.                    20 have looked at these specific reactive oxygen
   21     Q. Do you have any additional plans, that you            21 species? That is, those listed in that first
   22 know of sitting here today, as far as additional             22 paragraph on the right-hand column?
   23 research you're going to do for purposes of your             23     A. I'd have to go look, but it's possible. I
   24 opinions in the MDL?                                         24 note some of these are from cells and tissue
   25     A. I -- I would expect -- as I said earlier              25 studies. It's possible that some of the animal




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    1 studies may have looked at SODs, superoxide              1 focusing not on mutagenic events but on
    2 dismutate levels, enzyme levels.    But I don't know     2 transcription and epigenomic changes, which is
    3 that we've looked at the anions themselves.              3 different than mutagenesis.   But maybe if there's
    4     Q. And my question was specific as to the            4 something you're -- you're pointing to.
    5 listing of reactive oxygen species on page 1 and         5     Q. Please look in the abstract towards the
    6 that paragraph on the right-hand side.                   6 end.   This is on the first page. It says, "We found
    7           It doesn't refer to SOD, right?                7 a few loci where both the transcriptional changes
    8     A. I don't think -- well, that SOD is what           8 and epigenetic changes occurred in the pathways
    9 forms some of these. The activity of that forms          9 involving immune and inflammatory signaling."
   10 some of those. So I'm just trying to explain that       10            Do you see where I'm reading?
   11 that's what the endpoint you might find versus the      11     A. I do.
   12 actual measurement of -- of the species.                12     Q. What does that sentence mean, from your
   13           But to answer -- I can't answer               13 reading of this paper?
   14 without looking at my animal studies. I -- it's         14     A. It's -- so to be simplistic, it means they
   15 been a while since I've looked at -- at each of them    15 found changes in these cells in pathways that are
   16 for all of the endpoints that are there. Some of        16 involved with immune and inflammatory signaling.
   17 them do address this hypothesis, so I'd have to go      17            And that the endpoints they're looking
   18 look.                                                   18 at is at the level of the cell as in gene
   19     Q. If you would next turn to the Emi paper.         19 transcription -- taking the gene and producing a
   20     A. (Complied.) Okay.                                20 protein -- or some other -- some other substance.
   21     Q. In the Emi paper, did the authors use the        21 And then looking at epigenetic changes, they're
   22 same size of titanium dioxide particles as they used    22 looking at changes downstream from that gene
   23 for talc particles?                                     23 transcription.
   24     A. I've had -- I'll have to look. Just a            24            So looking at changes within the cell
   25 second. (Examined exhibit.) No, it has to do with       25 itself, like the methylation, those kinds of things.
                                                   Page 187                                                    Page 189
    1 the source.                                              1           But essentially, to me, the most
    2    Q. Can the size of the particle have an               2 important thing in that sentence is telling me what
    3 effect on epigenetic changes in the cell?                3 they found was they found places and changes in the
    4     A. It can.                                           4 cells that -- and the -- the changes they were
    5     Q. What does "methylization" mean?                   5 seeing related to pathways for immune and
    6     A. Demethylation, are you asking me? Where           6 inflammatory signaling. Which is consistent with
    7 are -- where are you reading?                            7 the things that I've talked about in terms of what
    8     Q. Well, I'm asking you the term,                    8 the changes in the macrophages would be and their
    9 methylization, is that not a proper term?                9 inability to -- or either their -- their ability to
   10     A. Well, methylization -- methylization             10 release a molecule or attract molecules that are
   11 versus demethylization, demethylization is -- is        11 linked to inflammation and immune system changes or
   12 removal of methyl groups. Methylization would be        12 their inability to function properly to engulf
   13 the addition of methyl groups just generally.           13 particles and remove them from the site of action.
   14          But where are you looking at in this           14     Q. From your reading of this paper, what did
   15 paper?                                                  15 the authors mean when they say a "few loci"?
   16     Q. What does "demethylization" mean with            16     A. Well, looking at places, so they're --
   17 respect to the findings in this study?                  17 they have a very specific analytical method where
   18     A. Has to do with changes in DNA, if I              18 they're looking at different clusters of changes,
   19 remember correctly, but let me find it.                 19 and they're finding the places where those changes
   20     Q. Well, let me change my question. Let me          20 are occurring in the genome.
   21 withdraw that question.                                 21           So it's -- it's an idea of mapping,
   22          Did this study find any mutations in           22 right? They do some mapping, and they're looking --
   23 cells?                                                  23 in those places, they're finding some of these
   24     A. I don't think they looked for that. But          24 changes are places that are related to inflammation
   25 let me look. Where are -- I mean, they were             25 and -- and inflammatory signaling pathways.




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    1           So things that when you alter those         1 literature on that issue of if you change
    2 locations in the genome, you could get functional     2 proliferation profiles, you can lead to something
    3 changes potentially in the cells as well.             3 different.
    4     Q. Did the authors quantify the -- what they      4           But, no, these are different
    5 characterize as "few loci"?                           5 endpoints. These are not cancer endpoints. And
    6     A. I have to look. I don't know. That's a         6 this glove literature is talking about more of the
    7 detail I can't tell you without rereading the paper.  7 acute responses that you get with surgical exposure
    8 If you -- if there -- if you want me to do that, I    8 to powder on gloves. Or to the physician's exposure
    9 can take a minute to do that.                         9 to the gloves. Or the nurses in the -- in the suite
   10     Q. Well, in the -- in stating -- in staying      10 exposure to the powder on the gloves when they take
   11 within the abstract, it refers to the author as      11 the gloves out of the box and put them on and off
   12 using "epigenome-wide bisulphite sequencing."        12 and -- and doff and don and all those things.
   13           Do you see that?                           13           So it's different. It a different --
   14     A. Looking at DNA methylation, yeah. The way     14 definitely a different endpoint. It's a different
   15 they looked at it, yes. That's correct.              15 exposure pattern. All those things that would occur
   16     Q. What is "epigenome-wide bisulphite            16 based upon a different way being exposed than we're
   17 sequencing"?                                         17 talking about here with ovarian cancer and perineal
   18     A. So that's looked across the genome of the     18 exposure to talc.
   19 cell. And they're looking for, again, patterns in    19     Q. Please look at paragraph -- again at
   20 the sequencing and whether or not they have these -- 20 paragraph 111 of your report.
   21 bisulphite sequencing crossed it has to do with      21     A. (Complied.) Okay.
   22 changes that would be related to methylation         22     Q. Again, looking at the last couple of lines
   23 patterns of the genome -- of the genes.              23 that you added to that paragraph beginning, "These
   24           MR. HEGARTY: Let's go off the record.      24 actions by Johnson & Johnson"; do you see those two
   25           THE COURT REPORTER: We're off the 25 sentences?
                                                  Page 191                                                Page 193
    1 record at 1:25 p.m.                                    1  A. Yes.
    2           (A recess was taken from 1:25 p.m. to    2      Q. And with regard to the reference to
    3            1:26 p.m.)                              3 Johnson & Johnson being aware that -- that corn
    4           THE COURT REPORTER: We're back on the 4 starch was a safer alternative product, what was
    5 record at 1:26 p.m.                                5 that awareness as far as how it was safer?
    6 BY MR. HEGARTY:                                    6      A. Because it was a product that wasn't
    7     Q. Going back to your report at paragraph 117  7 associated with the toxic tissue responses that --
    8 where we were talking about the footnote that you  8 that the company was aware of.
    9 added?                                             9            So there you go back to -- let me see
   10     A. Yes.                                       10 what document is in this paragraph I'm talking
   11     Q. I read to you a list of conditions         11 about. Hold on a second.
   12 referenced by FDA. Those are airway inflammation  12            So above, I had talked about internal
   13 hypersensitivity reactions, allergic reactions    13 corporate documents earlier. But now I'm talking
   14 (including asthma), allergic rhinitis, conjuncti- 14 about the 1964 memo where they say that in -- in
   15 vitis, dyspnea, granuloma, adhesion formation.    15 condoms, corn starch replaced talc because it was
   16           Can you cite any medical or scientific  16 found to be safely absorbed when talc was not.
   17 literature linking any of those conditions to     17            So that's the issue of -- of a safety
   18 ovarian cancer?                                   18 profile. Something that can be removed away from
   19     A. Before adhesions, what did you list?       19 the site. It isn't gonna lead to a long-term
   20     Q. Granuloma.                                 20 irritative response or even exposure beyond the
   21     A. So granuloma is -- granuloma is not a --   21 vagina, which is what they're talking about there.
   22 is not an ovarian cancer response. But granulomas 22            In the next one, they're talking --
   23 are changes in tissue leading to proliferative    23 it's an internal document where they're talking
   24 changes, which could, in some cases, be a lead to 24 about evidence that they -- they followed. And then
   25 changes in nearby cells to -- there's some        25 in this particular memorandum, they say that that --




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    1 they talk about the -- their concern over the                   1           To do the things on synthetic talc
    2 conclusions drawn.                                              2 that they were looking at, as well as on corn starch
    3            So, I mean, I'm -- I'm pointing you to               3 as a replacement indicate they were aware that there
    4 a variety of bullets that are gonna -- oh, I'm                  4 was safer -- there was a safer alternative product.
    5 sorry.   I'm on paragraph -- wrong paragraph. I                 5           And corn starch was something they
    6 apologize.                                                      6 were looking at over and over again.
    7       Q. Yeah, I was trying to follow where you                 7     Q. Do you have any additional comments or
    8 were on, where you were on.                                     8 testimony about the amendments to your last report
    9     A. Yeah, I know. I'm sorry. I -- I put this                 9 that you had anticipated talking about or planned on
   10 together in a backwards way.     Okay. Here we go.             10 talking about or expected to talk about that we have
   11 I'm sorry.                                                     11 not discussed today?
   12           So we're in 111; is that correct?                    12     A. I don't think I understand your question.
   13     Q. Yes. And to be -- and perhaps focus your                13           Are you asking me just I'm -- I'm not
   14 response, you made a reference to a phrase called              14 going to be -- might be long.
   15 "toxic tissue responses" to how Johnson & Johnson              15           You're asking me is there anything --
   16 believed corn starch was safer. It was a safer                 16     Q. You can repeat it back to me.
   17 alternative.                                                   17     A. Okay. Is there anything that you -- we
   18           What do you mean by "toxic tissue                    18 have talked -- we haven't talked about today that I
   19 response"?                                                     19 would expect to talk about based upon what is in my
   20     A. So that comes from the 1953 patent                      20 report? Is that what you're asking me?
   21 application where they talk about the toxic tissue             21     Q. That's another way to phrase my question.
   22 reactions to talc versus corn starch. And that's               22     A. Okay. I think we've covered what I had --
   23 why they developed an alternative and patented an              23 had anticipated covering. And we've -- I think
   24 alternative dusting powder internally for its --               24 you've been through almost every change I made. And
   25 it -- how -- how the tissue internally reacted to              25 I've talked to you about it.
                                                          Page 195                                                  Page 197
    1 it.                                                             1           The only thing you missed is, like I
    2           So that's what I'm talking about in                   2 told you, there are a couple of places where I have
    3 the first part of paragraph 111. I also cite to a               3 left out dates that go to depositions. So if you
    4 variety of documents. And if you look at -- and                 4 have any question, that will be in this copy of
    5 I -- I -- by looking at the numbers, I can't tell               5 exhibit that I'm gonna send you. I handwrote those
    6 you which ones they are.                                        6 in.
    7           But there's a number of documents                     7     Q. And would you just take a moment with our
    8 in -- in this period of time in the '60s and '70s               8 last time to just flip through the highlighted
    9 where the company is looking to replace talc with               9 portions of your -- of your report, which I -- I
   10 corn starch.                                                   10 don't have the opportunity to see. And just confirm
   11           And they -- they are doing the --                    11 that, as far as any substantive areas of your
   12 they're doing that type of research. And we have               12 testimony -- of your report, that we -- you added,
   13 that statement from '64 with the safe absorption in            13 that whether there's any of those we haven't talked
   14 the vagina where talc is not, right? So that --                14 about.
   15 that also kind of goes back to where I'm going.                15     A. (Examined exhibits.) So I would just -- I
   16           And then I -- I go on here then into                 16 will just point out that at page 58, paragraph 75, I
   17 this -- the FDA OTC Monograph where corn starch is             17 think I've said all these things that are in this
   18 listed as GRASE for use in OTC being -- and it was             18 paragraph where I mentioned specifically a sentence
   19 noted to be "superior to talc in terms of safety and           19 about Davis, one about Woolen, about -- one about
   20 efficacy." And I refer to documents there.                     20 Phung. But I would make sure you know that -- that
   21           So, I mean, I don't know. This                       21 those are my opinion.
   22 paragraph speaks for itself. So I point to the                 22     Q. I did not stop at that paragraph because I
   23 evidence above as to why I believe I'm saying to you           23 believe we had covered those opinions elsewhere.
   24 in that paragraph later on that these actions by --            24           Is that a fair statement?
   25 that they took to -- to study it.                              25     A. Yes, I think we have. But I just -- that


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    1 was the paragraph I was -- that I said to you                    1           CHANGES AND SIGNATURE
    2 earlier, "I think I can find it for you," that was               2 WITNESS NAME: LAURA MASSEY PLUNKETT, PH.D.
    3 it.                                                              3 DATE: DECEMBER 21, 2023
    4           (Examined exhibits.) No, I think            4 PAGE/LINE CHANGE                REASON
    5 we've covered everything that I had highlighted.      5 ____________________________________________________
    6 We've touched on it or I've -- or you have -- you've  6 ____________________________________________________
    7 gone there or I've said it's there, so ...            7 ____________________________________________________
    8    Q. Okay.                                           8 ____________________________________________________
    9           MR. HEGARTY: Those are all the              9 ____________________________________________________
   10 questions I have for you, then, Doctor.              10 ____________________________________________________
   11           Thank you.                                 11 ____________________________________________________
   12           MR. MEADOWS: Mark, if you'll give me       12 ____________________________________________________
   13 about five minutes.                                  13 ____________________________________________________
   14           MR. HEGARTY: Sure.                         14 ____________________________________________________
   15           MR. MEADOWS: I may have some               15 ____________________________________________________
   16 questions. I may not, but ...                        16 ____________________________________________________
   17           MR. HEGARTY: Okay. All right.              17 ____________________________________________________
   18           Thank you.                                 18 ____________________________________________________
   19           THE COURT REPORTER: All right. We're 19 ____________________________________________________
   20 off the record at 1:37 p.m.                          20 ____________________________________________________
   21           (A recess was taken from 1:37 p.m. to      21 ____________________________________________________
   22            1:40 p.m.)                                22 ____________________________________________________
   23           THE COURT REPORTER: We're back on the 23 ____________________________________________________
   24 record at 1:40 p.m.                                  24 ____________________________________________________
   25           Go ahead and close us out, Ted.            25 ____________________________________________________
                                                           Page 199                                                           Page 201
    1           MR. MEADOWS: No questions on behalf     1     I, LAURA MASSEY PLUNKETT, PH.D., have read the
    2 of plaintiffs.                                    2 foregoing deposition and hereby affix my signature
    3           I do think that Dr. Plunkett, in her    3 that same is true and correct, except as noted
    4 typical practice, is to read and sign, so ...     4 above.
    5           THE WITNESS: Yes, I would like to,      5
    6 please.                                           6                ____________________________
    7           THE COURT REPORTER: Yes, ma'am. I'll    7                LAURA MASSEY PLUNKETT, PH.D.
    8 notify the office.                                8
                                                          THE STATE OF __________)
    9           And, Mr. Meadows, would you like a      9
                                                          COUNTY OF _____________)
   10 copy?                                            10
   11           MR. MEADOWS: Yes, I would like a       11     Before me, ___________________________, on
   12 copy.                                            12 this day personally appeared LAURA MASSEY PLUNKETT,
   13           MR. HEGARTY: All right. Well, thank    13 PH.D., known to me (or proved to me under oath or
   14 you, everyone.                                   14 through ___________________________) (description of
   15           THE COURT REPORTER: Thank you. With 15 identity card or other document) to be the person
   16 that, that concludes our deposition at 1:40 p.m. 16 whose name is subscribed to the foregoing instrument
   17                                                                 17 and acknowledged to me that they executed the same
   18          (Remote deposition concluded at                        18 for the purposes and consideration therein
   19           1:40 p.m., December 21, 2023.)                        19 expressed.
   20                                                                 20     Given under my hand and seal of office this
   21                                                                 21 __________ day of ________________________, 2023.
   22                                                                 22
   23                                                                 23              ___________________________
   24                                                                 24              NOTARY PUBLIC IN AND FOR
   25                                                                 25              THE STATE OF _______________



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    1        IN THE UNITED STATES DISTRICT COURT                         1 FOR THE DEFENDANTS:
              FOR THE DISTRICT OF NEW JERSEY
    2                                                                    2    MARK C. HEGARTY, ESQUIRE
      IN RE JOHNSON & JOHNSON  §                                              SHOOK, HARDY & BACON L.L.P.
    3 TALCUM POWDER PRODUCTS      § MDL NO.:                             3
      MARKETING, SALES      §
    4 PRACTICES, AND PRODUCTS   § 16-2738(MAS)(RLS)                      4    I further certify that I am neither counsel
      LIABILITY LITIGATION   §
    5                                                                    5 for, related to, nor employed by any of the parties
    6                                                                    6 in the action in which this proceeding was taken,
    7     *******************************************                    7 and further that I am not financially or otherwise
    8       REMOTE VIDEOCONFERENCED DEPOSITION OF                        8 interested in the outcome of the action.
    9          LAURA MASSEY PLUNKETT, PH.D.                              9
   10              DECEMBER 21, 2023                                    10    Subscribed and sworn to on this the 7th day of
   11     *******************************************                   11 January, 2024.
   12                                                                   12
   13            CERTIFIED STENOGRAPHIC                                 13
   14          COURT REPORTER'S CERTIFICATE                             14
   15                                                                   15
   16      I, Karen L. D. Schoeve, RDR, CRR, RSA,                       16 __________________________________
   17 residing in the State of Texas, do hereby certify
                                                                           Karen L.D. Schoeve, RDR, CRR, RSA
                                                                        17 NCRA Exp. Date:     09-30-24
   18 that the foregoing proceedings were reported
                                                                           Litigation Services
                                                                        18 Firm Registration No. 726
   19 remotely by me and that the foregoing transcript
                                                                           3960 Howard Hughes Parkway, Suite 700
                                                                        19 Las Vegas, Nevada 89169
   20 constitutes a full, true, and correct transcription
                                                                           T: 877.370.3777
                                                                        20 F: 917.591.5672
   21 of my stenographic notes, to the best of my ability               21
   22 and hereby certify to the following:                              22
   23      By agreement of all attending attorneys, the                 23
   24 witness, LAURA MASSEY PLUNKETT, PH.D., was remotely               24
   25 duly sworn by the officer and that the transcript of              25 Job No. 348854
                                                             Page 203
    1 the oral deposition is a true record of the
    2 testimony given by the witness;
    3       That the original deposition was delivered to
    4 Mark C. Hegarty, custodial attorney;
    5       That a copy of this certificate was served on
    6 all parties and/or the witness shown herein on
    7 __________________________.
    8       I further certify that the signature of the
    9 witness was requested by the witness or a party
   10 before the completion of the deposition and the
   11 signature is to be returned within 30 days from date
   12 of receipt of the transcript.
   13       If returned, the attached Changes and
   14 Signature Page contains any changes and the reasons
   15 therefor.
   16       That pursuant to information given to the
   17 deposition officer at the time said testimony was
   18 taken, the following includes counsel for all
   19 parties of record:
   20
   21 FOR THE PLAINTIFFS and THE WITNESS:
   22   TED G. MEADOWS, ESQUIRE
   23
        BEASLEY ALLEN, P.C.
   24
      FOR THE PLAINTIFFS:
   25
        CHRISTOPHER V. TISI, ESQUIRE
        LEVIN PAPANTONIO RAFFERTY


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